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                                                                           426
                              sealed and confidential

    1                         IN THE UNITED STATES DISTRICT COURT

    2                         IN AND FOR THE DISTRICT OF DELAWARE

    3                                    - - -
          SILVERGATE PHARMACEUTICALS, INC.,     :            CIVIL ACTION
    4                                           :
                      Plaintiff,                :
    5     v                                     :
                                                :
    6     BIONPHARMA, INC.,                     :            NO. 18-1962-LPS
                                                :            NO. 19-1067-LPS
    7                 Defendant.                :
          -------------------------------------
    8     SILVERGATE PHARMACEUTICALS, INC.,     :            CIVIL ACTION
                                                :
    9                 Plaintiff,                :
          v                                     :
   10                                           :
          AMNEAL PHARMACEUTICALS, LLC,          :
   11                                           :            NO. 19-678-LPS
                      Defendant.
   12                                    - - -

   13                                Wilmington, Delaware
                                   Tuesday, February 2, 2021
   14                     Bench Trial - Volume B - Sealed Portions

   15                                          - - -

   16     BEFORE:           HONORABLE LEONARD P. STARK, Chief Judge

   17                                          - - -
          APPEARANCES:
   18

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   20
                              and
   21
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                              KRISTINA M. HANSON, ESQ.
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   24                         and

   25     Valerie J. Gunning                    Brian P. Gaffigan
          Official Court Reporter               Official Court Reporter
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                                                                           427
                              sealed and confidential

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    1                                     - oOo -

    2                             P R O C E E D I N G S

    3                    (Following portion ordered sealed by the Court,

    4     contained herein.)

    5                    THE TRIALanywhere HOST:      Okay.   So the public is

    6     in the waiting room.       I pushed them out as well as

    7     Mr. George.    And that is the extent; correct?

    8                    THE COURT:    I believe.   Is that correct,

    9     Mr. Alul, as you understand it?

   10                    MR. ALUL:    Yeah.    If that includes -- as well as

   11     if it includes any Silvergate fact witnesses, which I

   12     presume are probably gone by now, but yes.

   13                    THE COURT:    Okay.

   14                    THE TRIALanywhere HOST:      Okay.   The Court is

   15     sealed.

   16                    THE COURT:    Okay.   Go ahead.

   17                    MR. ALUL:    Good morning, Dr. Byrn.      Welcome

   18     back.

   19                    THE WITNESS:    Thank you.    Good morning.

   20                    ... DR. STEVEN R. BYRN, having been previously

   21     affirmed, was examined and testified further as follows ...

   22                       CROSS-EXAMINATION (Continued)

   23     BY MR. ALUL:

   24     Q.        I'd like to take you back to PTX-3, the '745 patent,

   25     and specifically the Example C formulations we were looking
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    1     at in Columns 33 and 34.

    2     A.        Okay.    I'm there.

    3     Q.        I believe you testified yesterday that these

    4     formulations were inoperable because of their pHs; correct?

    5     A.        That was my understanding; that the pHs outside the

    6     range are inoperable.

    7     Q.        Okay.    If you turn to the claims, you will agree that

    8     asserted claims 4 and 10 have no pH restriction; correct?

    9     A.        Hang on just a minute.

   10                       That's correct.

   11     Q.        Okay.

   12     A.        But they are -- that's correct.      They don't.

   13     Q.        Okay.

   14     A.        It's just those words in those claims.

   15     Q.        Okay.    I'd like to take you to PTX-4.     It's the '987

   16     patent.    I don't have a copy of it in my cross binder, but I

   17     believe it's in plaintiff's binder.         They went over it with

   18     you.

   19     A.        Okay.

   20     Q.        And I just want you to confirm there that the

   21     asserted claims, 20, 23, and 30, have no pH restriction.

   22     A.        Sorry.    Claim 28, did you say?

   23     Q.        No.   20, 23 and 30.      Those are the asserted claims.

   24     A.        Oh, okay.

   25                       Although it's correct they don't have pH, they
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    1     derive --

    2     Q.       Okay.    Thank you.   That's all.    That's all.    That's

    3     all I have.

    4                      Okay.   Can you please turn to Column 13 of

    5     PTX-3, the '745 patent.

    6                      I'm sorry -- yes, PTX-3.

    7     A.       Okay.

    8     Q.       And I'd like you to focus on, I believe it's line

    9     17 where it says "pH of enalapril oral liquid formulations."

   10     A.       Yes, I see it.

   11     Q.       Do you see right below that where it describes what

   12     buffering agents do and it gives examples of what buffering

   13     agents are?

   14     A.       I think I see what you are referring to.         How many

   15     lines are you going down?

   16     Q.       Well, I am just talking generally about that

   17     paragraph at lines 18 through 43.

   18     A.       Okay.

   19     Q.       In this list of examples of buffering agents, you

   20     don't see maleic acid anywhere in here; correct?

   21     A.       That's correct.     I don't see the words "maleic

   22     acid."

   23     Q.       Okay.    And there aren't any examples provided in the

   24     common specification of oral liquid enalapril formulations

   25     where a salt of enalapril went in a solution and dissociated
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    1     to form a buffer; correct?

    2     A.      That's correct.

    3     Q.      Okay.    And you have never formulated a pharmaceutical

    4     liquid dosage form where the only buffer in there was acid

    5     dissociated from a salt of the active ingredient; correct?

    6     A.      I believe that we're doing the formulation that I

    7     mentioned in my deposition, our company is doing one right

    8     now, where the buffer -- where there is a formulation like

    9     that.

   10     Q.      Okay.    That's not how you testified at your

   11     deposition; correct?

   12     A.      That's correct.      I think that's correct.

   13     Q.      Okay.    So let's just, for clarity sake, let's go to

   14     your deposition at DTX-1108.       It's in your exhibit binder.

   15     A.      Okay.

   16     Q.      Let's go to page 121.

   17     A.      Okay.

   18     Q.      Lines 12 through 20.

   19                     Do you see where it says:

   20                     "Question:   Have you ever formulated a

   21     pharmaceutical liquid dosage form with the only buffer in

   22     there being dissociated acid from a salt of the active

   23     ingredient?

   24                     "Answer:   No."

   25                     Did you give that question at your deposition,
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    1     and did you provide that answer?

    2     A.      Yes.    Right before that, I said, "No, not that I can

    3     think of."     I just -- as I just testified, I think I did

    4     think of one now.

    5     Q.      Okay.    You agree that the pKa of the first acidic

    6     hydrogen on maleic acid is 1.97; correct?

    7     A.      Correct.

    8     Q.      And you agree that the Henderson-Hasselbalch Equation

    9     tells us that in a liquid formulation where the pH equals

   10     the pKa of the first acidic hydrogen on maleic acid, the two

   11     species, maleic acid and maleate anion, are at a ratio of

   12     approximately 1:1; correct?

   13     A.      Correct.

   14     Q.      Therefore, a pH of 1.97, the malic acid and maleate

   15     are in equal concentrations approximately; correct?

   16     A.      Approximately correct.

   17     Q.      But, of course, the pH of Bionpharma's ANDA product

   18     is not 1.97; correct?

   19     A.      Correct.

   20     Q.      In fact, according to Bionpharma's ANDA, the pH of

   21     its ANDA product is controlled between 3.2 and 3.6; is that

   22     correct?

   23     A.      Correct.

   24     Q.      And as the pH of an aqueous solution with malic acid

   25     increases from 1.97 to 2.9, there are more maleate species
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    1     than malic acid species in the solution; correct?

    2     A.      Correct.

    3     Q.      Okay.    And if the pH increases to 3.3, there are even

    4     more maleate species and proportionally less maleate acid

    5     species in the solution; is that correct?

    6     A.      Correct.

    7     Q.      As the malic acid portion of the species decreases,

    8     the solution's ability to resist the change in pH on the

    9     addition of a base such as sodium hydroxide decreases; is

   10     that correct?

   11     A.      Correct, but as I correct, but as I testified --

   12     Q.      You can qualify your answers and get into more detail

   13     and expound on them on redirect.        I have a limited amount of

   14     time, please.

   15                     You admit that based on the malic acid sodium

   16     maleate buffer system you allege is present in Bionpharma's

   17     ANDA product, find Bionpharma's ANDA product buffering

   18     capacity for acid would be higher than its capacity for

   19     base; correct?

   20     A.      Could you state that one more time?

   21     Q.      Sure.    You admit that based on the malic acid sodium

   22     maleate buffer system you allege is present in Bionpharma's

   23     ANDA product, Bionpharma's ANDA product formulation's

   24     buffering capacity for acid would be higher than its

   25     capacity for base; correct?
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    1     A.      Correct.

    2     Q.      Okay.

    3                     MR. RUEDY:   Alex, can you put up PDX-243?       It's

    4     a slide that was used during Dr. Byrn's direct examination

    5     yesterday.

    6     BY MR. RUEDY:

    7     Q.      Dr. Byrn, you relied on this slide yesterday in

    8     connection with your direct examination; is that right?

    9     A.      That's right.

   10     Q.      And if I'm understanding this slide correctly, the

   11     vertical brackets represent a range of pH in which an acidic

   12     hydrogen on either citric acid or maleic acid will serve as

   13     a useful buffer; is that correct?

   14     A.      Can I hear that question one more time?

   15     Q.      Sure.    If I'm understanding this slide correctly, the

   16     vertical brackets represent a range of pH in which an acidic

   17     hydrogen on either citric acid or maleic acid will serve as

   18     a useful buffer; is that correct?

   19     A.      Well, I would just say that a maleic acid or citric

   20     acid will serve as a useful buffer just generally.

   21     Q.      Okay.    But I would like to get a better understanding

   22     of what these brackets mean.       So, for instance, less focus

   23     on the bracket you have for the first acidic hydrogen on

   24     maleic acid, the one that's labeled PTX-197, the bracket on

   25     the right-hand side closest to the pH scale.
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     1    A.       Yes.

     2    Q.       So, for instance, for this acidic hydrogen on maleic

     3    acid, the middle of your bracket lines up that pKa for that

     4    hydrogen 1.97 with a pH of 1.97; is that correct?

     5    A.       Correct.

     6    Q.       And then you have plus or minus two pH units around

     7    that; correct?

     8    A.       Correct.

     9    Q.       And so the information you have in this slide is

   10     based on your opinion that a weak acid will serve as a

   11     useful buffer when the pKa of its acidic hydrogen is within

   12     plus or minus two of the formulation's pH; correct?

   13     A.       Yes, that's correct.

   14     Q.       But you came forward with no evidence to support that

   15     opinion yesterday; correct?

   16     A.       No, that's not correct.

   17     Q.       Okay.   Well, in fact, your opinion -- what evidence

   18     did you come forward with?

   19     A.       The Henderson-Hasselbalch equation I believe is on

   20     the next slide or the second slide after this.

   21     Q.       Okay.   In fact, your opinion on this issue is

   22     contradicted by documentary evidence that Dr. Moreton came

   23     forward during his discovery in this case in the form of

   24     prior art literature; isn't that correct?

   25     A.       I don't, I don't recall that.
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     1    Q.        Okay.    You reviewed the references that Dr. Moreton

     2    relied on in connection with the rebuttal report he served

     3    in this case; is that correct?

     4    A.        Correct.

     5    Q.        Okay.

     6                      MR. RUEDY:   Alex, can you please pull up

     7    DTX-1086.

     8                      THE WITNESS:   I don't have a copy of that.

     9    BY MR. RUEDY:

   10     Q.        I know you don't and I apologize because I didn't

   11     anticipate we were going to go down this line of questioning

   12     when I put your exhibit binder together.

   13                       MR. RUEDY:   Alex, can you take away the -- there

   14     you go.

   15     BY MR. RUEDY:

   16     Q.        Do you recall seeing this reference, reviewing it in

   17     connection with reviewing Dr. Moreton's rebuttal report, Dr.

   18     Byrn?

   19     A.        Yes.

   20     Q.        Okay.    This is a reference by Glasstone.      It's an

   21     excerpt from a book and it's entitled Elements of Physical

   22     Chemistry; is that correct?

   23     A.        I see the title, yes.

   24     Q.        All right.    Let's go down to and I'm going to use the

   25     Bates numbers on the bottom right-hand corner.           Let's go to
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     1    DTX-4.    Okay.

     2                   MR. RUEDY:    And, Alex, if you could enlarge the

     3    bottom paragraph.

     4    BY MR. RUEDY:

     5    Q.        Do you see where the bottom where it says, It

     6    follows, therefore, from the equation 53.17, which is the

     7    Henderson-Hasselbalch equation, that a particular acid can

     8    be employed for making a useful buffer solution of pH lying

     9    within the range of pKa minus one to pKa plus one?

   10     A.        Yes, I see that.

   11     Q.        All right.   And that certainly contradicts your

   12     opinion that a weak acid can serve as a useful buffer if

   13     its pKa isn't within plus or minus two of the pH of

   14     formulation?

   15     A.        It's different.    My analysis is based on the fact

   16     that if you go to plus or minus two, the amounts of acid or

   17     base are one percent.       This is ten percent.     So it's simply

   18     a matter of the amounts of acid and base available to form a

   19     buffer.

   20                    MR. RUEDY:    Alex, can you please put up

   21     DTX-1087.

   22     BY MR. RUEDY:

   23     Q.        Dr. Byrn, do you recognize this as another reference

   24     Dr. Moreton relied on during expert discovery?

   25     A.        Again, I don't have this document.       I can't recall
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     1    for sure this one.

     2    Q.       Okay.    For the record, this is a reference by Daniel

     3    C. Harris.     It's entitled exploring chemical analysis.

     4                     MR. RUEDY:   Alex, can you take us over to

     5    DTX-1087, page 12 of the DTX, the one that starts with, In

     6    choosing a buffer.

     7    BY MR. RUEDY:

     8    Q.       Dr. Byrn, I would just like to read for the record

     9    the first few sentences of that paragraph.

   10                      It says, in choosing a buffer, you should seek

   11     one whose pKa is as close as possible to the desired pH.

   12     The useful pH range of a buffer is approximately pKa plus or

   13     minus one pH unit.      Outside this range, there is not enough

   14     of either the weak acid or the weak base to react with added

   15     base or acid.

   16                      Do you see that?

   17     A.       I see those statements, yes.       I see those words.

   18     Q.       Okay.    Now, you agree that maleic acid has no acidic

   19     hydrogen within a pKa -- I'm sorry, strike that.

   20                      You agree that maleic acid has no acidic

   21     hydrogen with a pKa within plus or minus one of the pH of

   22     Bionpharma's ANDA product; correct?

   23     A.       Although that's correct, I give the same answer I

   24     gave previously.

   25     Q.       All right.    Now, you issued two expert reports in
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                                      Byrn - cross

     1    this case; is that correct?

     2    A.       Correct.

     3    Q.       And you never calculated the ratio of maleic acid and

     4    maleate species in Bionpharma's ANDA product and included

     5    that ratio in either of your reports; correct?

     6    A.       I don't believe so, no.

     7    Q.       Okay.   Okay.   The calculation of the ratio between

     8    maleic acid and maleate in Bionpharma's ANDA product is

     9    pretty easily done; correct?

   10     A.       Correct.

   11     Q.       Okay.   And you could have experimentally confirmed

   12     your opinion that the amount of maleate in Bionpharma's ANDA

   13     product is completely dissolved and dissociated in solution;

   14     correct?

   15     A.       I could have, but it wasn't necessary.

   16     Q.       Okay.   I didn't ask you whether it was necessary or

   17     not, I just asked if you could have done it.           That's all I

   18     asked, sir.

   19     A.       Yes.

   20     Q.       And you did not do that calculation; is that correct?

   21     A.       I thought you were asking me about experimental.

   22     Q.       I'm sorry.    You did not -- you did not carry out

   23     those experiments; correct?

   24     A.       Correct.

   25     Q.       Okay.
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     1                      MR. RUEDY:       Your Honor, at this point in time we

     2    can unseal the courtroom for a few minutes.

     3                      THE COURT:       Okay.   Let us know when you are

     4    going back to a sealed portion.

     5                      (End of portion under seal.)

     6                           *       *      *.

     7                      MR. ALUL:    Okay.       Your Honor, at this point I'd

     8    like to respectfully request the courtroom be resealed

     9    again.

   10                       THE COURT:       Okay.   Mr. English.

   11                       THE TRIALanywhere HOST:        The courtroom is

   12     sealed.

   13                       THE COURT:       Thank you.

   14                                   CROSS-EXAMINATION

   15     BY MR. ALUL:

   16     Q.        Okay.    Dr. Moretan, you understand -- I'm sorry.

   17     Dr. Byrn.    Apologies.

   18                       Dr. Byrn, you understand that Dr. Moretan,

   19     Bionpharma's expert, disagrees with your opinion that any

   20     maleic acid/sodium maleate present in Bionpharma's ANDA

   21     product is equivalent to the claim citric acid/sodium

   22     citrate buffer limitations; correct?

   23     A.        Correct.

   24     Q.        And in support of his opinion on this issue, you will

   25     recall that Dr. Moretan calculated the buffer species
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     1    concentration for the buffer limitations of the asserted

     2    claims and for the maleic acid/sodium maleate that you

     3    allege is present in Bionpharma's ANDA product; correct?

     4    A.       I believe that is correct.       Yes.

     5    Q.       And you never contested the accuracy of Dr. Moretan's

     6    calculations; correct?

     7    A.       Correct.

     8    Q.       Okay.   And you understand that Dr. Moretan has

     9    opined in this case that the buffer limitations of the

   10     asserted claims have over twice to over 10 times the buffer

   11     species concentration of the maleic acid/sodium maleate

   12     buffer that you allege is present in Bionpharma's ANDA

   13     product; correct?

   14     A.       I can't recall those numbers.

   15     Q.       Okay.   You never disputed the accuracy of

   16     Dr. Moretan's conclusion regarding the relative buffer

   17     species concentration of the buffer limitations of the

   18     asserted claims and the maleic acid/sodium maleate you

   19     allege is present in Bionpharma's ANDA product; correct?

   20     A.       That is correct.     I showed some numbers on direct

   21     from my own calculations.

   22     Q.       Okay.   You agree that the buffer species

   23     concentration of what you allege is the buffer in

   24     Bionpharma's ANDA product is less than the buffer species

   25     concentration of the buffer limitations of the asserted
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     1    claims; correct?

     2    A.       I never did a direct comparison.        I focused on the

     3    titration curve which showed substantial buffering in the

     4    maleic acid formulation.

     5    Q.       But you testified at your deposition that the buffer

     6    species concentration of what you allege is the buffer in

     7    Bionpharma's ANDA product is numerically less than the

     8    buffer species concentration of the buffer limitations of

     9    the asserted claims; correct?

   10     A.       Correct.    I think I showed that in my direct also.

   11     Q.       Okay.   You didn't do a full literature study in this

   12     case on how preservatives work; correct?

   13     A.       That's correct.

   14     Q.       Okay.   You understand that Bionpharma's expert,

   15     Dr. Moretan, has opined in this case that parabens and

   16     sodium benzoates have different mechanisms of action with

   17     respect to antimicrobial activity; correct?

   18     A.       Correct.

   19     Q.       You didn't dispute the accuracy of Dr. Moretan's

   20     statements regarding the mechanisms of action for

   21     antimicrobial activity of methylparaben, propylparaben, and

   22     sodium benzoate; correct?

   23     A.       Correct.    I testified that --

   24     Q.       Okay.   That's it.    That's all.    That's all I need to

   25     know, Dr. Byrn.     You can clarify or expound further on
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     1    redirect.

     2                   You also understand that Dr. Moretan opined in

     3    this case on the chemical and physical property differences

     4    between methylparaben and propylparaben on the one hand and

     5    sodium benzoate on the other; correct?

     6    A.       Correct.

     7    Q.       And you never disputed the accuracy of those opinions

     8    in this case; correct?

     9    A.       Again, I said they weren't relevant, but I didn't

   10     dispute them.

   11                    MR. ALUL:    Your Honor, I'll yield the witness at

   12     this point.

   13                    I'd like to move in an exhibit at some point,

   14     but I'll yield the witness back for redirect.

   15                    THE COURT:    Okay.    Thank you.   We'll have

   16     redirect.

   17                    MR. ALUL:    We can unseal the courtroom unless

   18     Ms. Morgan wants to keep it sealed.

   19                    THE COURT:    Right.   It's up to her what you

   20     intend to explore starting out.

   21                    Go ahead.

   22                    MS. MORGAN:    It does not need to be sealed, Your

   23     Honor.

   24                    THE COURT:    Okay.    Then let's give us a moment

   25     and, Mr. English, please -- you said it does not need to be
Case 1:18-cv-01962-LPS Document 196 Filed 03/02/21 Page 19 of 181 PageID #: 6199
                                  sealed and confidential
                                                                           444
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     1    sealed.    Is that what you meant?

     2                      MS. MORGAN:      Correct.     It does not need to be

     3    sealed.

     4                      THE COURT:       Thank you.   Okay.   Mr. English.

     5                      THE TRIALanywhere HOST:        The courtroom is open

     6    again and everybody is rejoined.

     7                      THE COURT:       Thank you.

     8                      Go ahead, please.

     9                      (Sealed portion ends.)

   10                            *       *      *

   11                       THE TRIALanywhere HOST:        The courtroom is

   12     sealed.

   13                       THE COURT:       Thank you.

   14                                DIRECT EXAMINATION

   15     BY MS. MORGAN:

   16     Q.        Okay.    What was your role in evaluating Amneal's ANDA

   17     product?    What were you asked to do?

   18     A.        I was asked to look at the product and the asserted

   19     claims and see if it infringed.

   20                       MS. MORGAN:      Okay.   Let's look at Amneal's

   21     accused product.

   22                       Let's look to PDX-419.

   23     BY MS. MORGAN:

   24     Q.        And what are we looking at here, which is from

   25     PTX-189 at AMN-EPA-277?
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     1    A.        This is from Amneal's ANDA, and it's a comparison

     2    between the Epaned referenced products and Amneal's drug

     3    products.

     4                   And what it shows is that everything is the

     5    same between the two -- well, essentially the same -- apart

     6    from the buffering agent, which is in the Epaned product is

     7    citric acid and sodium citrate and in the Amneal product is

     8    malic acid.

     9    Q.        Let's talk --

   10                    MS. MORGAN:      Actually, Your Honor, we are going

   11     to get now to public portion that the public can hear.            I

   12     apologize.     The sealing portion was so short.

   13                    THE COURT:       Okay.   Then we'll go ahead and

   14     reopen.

   15                    THE WITNESS:      You might want to take that off

   16     the screen before you reopen it.

   17                    MS. MORGAN:      Yes.    Yes.   Go to the next slide.

   18                    THE COURT:       Thank you, Doctor.

   19                    MR. MADDOX:      Okay.

   20                    (Sealed portion ends.)

   21                          *      *      *

   22                    THE TRIALanywhere HOST:         The courtroom is sealed.

   23                    THE COURT:       Thank you.     You may proceed.

   24                               DIRECT EXAMINATION

   25     BY MS. MORGAN:
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                                  sealed and confidential
                                                                           446
                                    Buckton - direct

     1    Q.       Are there any limitations of the accused claims

     2    that -- let me start again.        Are there any limitations of

     3    the asserted claims that Amneal literally infringes that are

     4    still contested?

     5    A.       My understanding is that there are no claim elements

     6    that are not -- no, there aren't.

     7    Q.       Let's put up PDX-433.      What's your understanding of

     8    literal infringement?

     9    A.       So my understanding is the claim must be properly

   10     construed to determine its scope and meaning and then it

   11     must be compared to the accused product.          And for literal

   12     infringement, the patentee must prove the accused product

   13     meets all limitations of the asserted claims.

   14     Q.       Okay.    Let's look at the next slide.

   15                      Looking at PDX-434, can you please explain what

   16     we're looking at here?

   17     A.       This chart is being produced showing each of the

   18     claim limitations.      So, for example, I will just do the top

   19     one, a stable oral liquid formulation.          That claim

   20     limitation is within the '008 patent.         It claims 3, 8, 9 and

   21     10.   The '442 patent at 9, 10 and 29.        The '745 patent at

   22     claims 4, 7 and 10.      The '907 patent at 7, 20, 23 and 30.

   23     And they are not in dispute.        I understand that they have

   24     been accepted by the parties that they are literally

   25     infringed.
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                                  sealed and confidential
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                                    Buckton - direct

     1    Q.       And the last column in the chart, what does that

     2    refer to?    I believe down below, it refers to DI 70-1,

     3    Exhibit 1.

     4    A.       I think -- they do, refer to paragraph numbers in the

     5    undisputed document.      Each of these claim limitations, it's

     6    undisputed by the parties that there is literal

     7    infringement.      That's my understanding.

     8    Q.       Okay.    And let's go to the next slide.       And are these

     9    additional claim elements that are literally infringed and

   10     not in dispute?

   11     A.       Yes, they are.

   12     Q.       And so what are the -- are there any limitations that

   13     are not on this slide?

   14     A.       The only limitation is the buffer limitation, which I

   15     understand is not agreed to be literally infringed, and is

   16     infringed by the doctrine of equivalents.

   17     Q.       Let's go to the next slide.

   18                      So looking at PDX-436, are these the buffer

   19     limitations you are referring to?

   20     A.       Yes.    So the one limitation is a buffer comprising

   21     about 1.82 milligrams per ml citric acid and about

   22     0.15 milligrams per ml sodium citrate dihydrate and that

   23     exits in the '008 patent, claims 3, 8, 9 and 10.

   24                           In the '442 patent, claims 9, 10, 21 and

   25     29.   The other limitation is a buffer comprising about 0.8
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                                  sealed and confidential
                                                                           448
                                    Buckton - direct

     1    to about 3.5 milligrams per ml citric acid, and about 0.1 to

     2    about 0.8 milligrams per ml sodium citrate.          And that

     3    appears in the '745 patent, claims 4, 7 and 10, and the 98

     4    patent, claims 7, 20, 23 and 30.

     5    Q.       Thank you, Doctor.

     6                    Let's go to PDX-437.     And what does PDX-437

     7    show?

     8    A.       This is the test I used for the doctrine of

     9    equivalents, which are function, way, result tests.

   10                           Does the accused element perform

   11     substantially the same function?        Does it do so in

   12     substantially the same way?        Does it obtain substantially

   13     the same result?

   14                     And the other test is the insubstantial

   15     differences test -- are the differences between the claimed

   16     element and the accused element insubstantial?

   17     Q.       Let's go to the next slide.

   18                     Looking at PDX-438, can you please summarize for

   19     us your conclusion regarding the doctrine of equivalents for

   20     the buffer limitations?

   21     A.       Yes.   Malic acid buffer performs the same function in

   22     the same way to reach the same result as the claimed citric

   23     acid/sodium citrate buffer and the differences between the

   24     malic acid buffer and the citric acid sodium citrate buffer

   25     are insubstantial.
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     1    Q.       Go to the next slide.

     2                   So looking at PDX-439, I'd like to start with

     3    the function.     In your opinion, what is the function that is

     4    the same between the citric acid sodium citrate buffer in

     5    the claims and the malic acid buffer in Amneal's ANDA

     6    product?

     7    A.       The function of the buffer is officially to adjust

     8    the pH to the required value and then stabilize the pH of

     9    the formulation at that required value.

   10     Q.       Let's go to the next slide.       Looking at PDX-440,

   11     which is from PTX-1 at column 20, lines 66 to 67, how does

   12     the patent describe the buffering agent?

   13     A.       It says a buffering agent will maintain the pH of the

   14     liquid enalapril formulation.

   15     Q.       And let's go to the next slide.

   16                    Looking at PDX-441, what in Amneal's ANDA

   17     supports your conclusion that the function between the two

   18     buffers is the same?

   19     A.       I will give examples in different areas of the ANDA.

   20     The quality summary, the product development report, the

   21     labeling history, batch data and also some of Mr. Patel's

   22     testimony.

   23     Q.       Let's go to the next slide.

   24                    AND looking at PDX-442, first, looking at

   25     PDX-442 -- first, looking at PTX-189, can you tell us what
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                                    Buckton - direct

     1    PTX-189 is?

     2    A.       This is part of the quality summary from Amneal's

     3    ANDA and it's the inactive ingredients selected for the

     4    formulation were based on Amneal's product except citric

     5    acid and sodium citrate are replaced by malic acid as a

     6    buffering agent.

     7    Q.       And is that from AMNEPA-2266 and 276, and 278?

     8    A.       Yes.   The second one, Amneal has used malic acid as a

     9    buffering agent.      Yes.

   10     Q.       Let's go to the next slide.       Looking at PDX-443, I

   11     believe we looked at this before; is that right?

   12     A.       It is.

   13     Q.       All right.    Can you tell us how this supports your

   14     opinion that the function is the same?

   15     A.       Yes.   I've already said that everything is the same

   16     in this apart from the buffer and here we see citric acid

   17     and sodium citrate and malic acid in the Amneal product,

   18     both buffering agents.

   19     Q.       Let's go to the next slide.

   20                     PDX-444, which refers to PTX-191.

   21                     Can you tell us first what PTX-191 is?

   22     A.       That's part of the ANDA, which is the product

   23     development report.

   24     Q.       And this is referring to pages AMNEPA-765, 766, 789

   25     and 794.
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     1                   Can you please tell us how -- what's on this

     2    slide supports your opinion that the function is the same

     3    between the two buffers?

     4    A.        There are many places where this kind of statement

     5    is present, but these are three examples where it says

     6    compared to the referenced product, citric acid and sodium

     7    citrate are replaced by malic acid as a buffering agent

     8    and there are actually three examples here, but there are

     9    others.

   10     Q.        Let's go to the next slide.

   11                    Looking at PTX-445, this refers to PTX-187.

   12                    First, can you tell us what PTX-187 is?

   13     A.        It's part of Amneal's ANDA in the labeling history.

   14     Q.        And referring to AMNEPA-130 and 133, can you tell us

   15     how this supports your opinion regarding function?

   16     A.        It says that Amneal as used malic acid as a buffering

   17     agent.

   18     Q.        Let's go to the next slide.      Looking at PDX-446.      It

   19     refers to PTX-204 and PTX-205.        Can you tell us what those

   20     two documents are?

   21     A.        Amneal's ANDA batch records, so showing two batches

   22     of material.

   23     Q.        And how does what we're looking at, which is

   24     AMNEPA4461 and -- sorry.       Let me start again.      And how does

   25     what we're looking at, which is from PTX-204 at AMNEPA4461
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     1    and PTX-205 at AMNEPA469 support your opinion regarding

     2    function?

     3    A.       So these are storage data at five degrees plus or

     4    minus three degrees.      That's in the very top of the box.

     5    And what we have is a line for pH and the first value, the

     6    2.8 to 3.6, that's the specification.         That's the range that

     7    it has to be in for the pH.

     8                    And then the following columns describe samples

     9    from three months, six months and nine months, and for each

   10     of these conditions the pH remains essentially unchanged,

   11     and that's true for both of the batches that we see here,

   12     that there's no change in pH over time of storage.

   13     Q.       And did you also consider the testimony of one of

   14     Amneal's witnesses, Mr. Patel?

   15     A.       Yes.

   16     Q.       Let's go to the next slide.       Actually, I may have

   17     jumped the gun it looks like.        PDX-447.

   18                     Can you tell us, first, what PTX-203 is?

   19     A.       This is a table from the batch records as well.          What

   20     this shows is storage for five degrees C plus or minus 3 and

   21     25 degrees C plus or minus two degrees.          And going from 0 to

   22     6 months for these different set of results, different

   23     batches, different storage conditions, and we see for all of

   24     them, even at 25 degrees C, the pH is unchanged or the pH is

   25     maintained by the buffer.
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     1    Q.       And is this from AMNEPA2128?

     2    A.       Yes, it is.

     3    Q.       Now let's go to the next slide.        Looking at PDX-448,

     4    can you please tell us how Mr. Patel's testimony supports

     5    your opinion that the -- regarding the function prong?

     6    A.       So he was asked as a buffering agent were there

     7    changes in pH in the formulation.         He answered the buffering

     8    agent will avoid any change in pH.         And then was asked the

     9    malic acid in the formulation of Amneal's product avoids or

   10     resists changes in the pH; is that correct?

   11                     He answered yes.

   12                     And Amneal replaced the citric acid and sodium

   13     citrate with malic acid.       Is that correct?

   14                     The answer is yes.

   15                     MS. MORGAN:   Next slide, please.

   16     BY MS. MORGAN:

   17     Q.       All right.    So looking at PDX-449, we've just

   18     discussed function.      Let's move on to way.

   19                     Can you please tell us the way in which the

   20     Bionpharma buffer -- I'm sorry, the Amneal buffer and the

   21     claimed buffer functions that is the same?

   22     A.       Yes.   The way a buffer behaves, it must adjust the

   23     pH with a design value, and then neutralize ions that are

   24     generated on storage in order to keep the hydrogen ion

   25     concentration correct and to keep the pH of the desired
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     1    value.

     2                   MS. MORGAN:    Let's go to the next slide.

     3                   Looking at PDX-450.

     4    BY MS. MORGAN:

     5    Q.       What -- can you please tell us -- well, what were

     6    your reasons for concluding that malic acid adjusts and

     7    stabilizes pH in the same way as the claimed buffer?

     8    A.       Right.   I mean, the adjusting pH, undoubtedly because

     9    they get to the same pH.

   10                    And what I have shown on here, I've written this

   11     as citric acid, and it is citric acid and sodium citrate,

   12     and I'm not ignoring the sodium citrate on this slide.            It

   13     is just as I have explained already.         Everything on this

   14     slide is the same, the citric acid and the sodium citrate,

   15     because the pKas are the same.        They are identical.

   16                    In the top half of this slide, I have already

   17     talked to and talked about the three acid groups on the

   18     citric acid with their different pKas and said that the pKa

   19     at 3.1 will be at the region of pH 3 to 3.5 will be about

   20     half and half ionized and unionized.         And that the pKa at

   21     4.8 of citric acid will be involved in the buffering process

   22     because it overlaps at 3 to 3.5.

   23                    Whereas the citric acid pKa in 6.4 will not

   24     be involved in the buffering process because it was well

   25     removed from the pH 3 to 3.5.        It will not be significantly
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     1    ionize in that region, and, therefore, will not conjugate at

     2    all.

     3                   Malic acid I haven't talked to yet, but malic

     4    acid is a structure of the two carboxylic acids rather than

     5    the three carboxylic acids of citric acid.          The structure is

     6    shown there.

     7                   And the two carboxylic acids, the most specific

     8    one has a pKa of 3.4, which is really quite similar to the

     9    pKa of 3.1 for citric acid.

   10                    That one will also be about half and half

   11     ionized and unionized in the region of 3 to 3.5.

   12                    Which undoubtedly, the heavy lifting of the

   13     buffering will be that group, and the citric acid comparison

   14     will be the group with the pKa of 3.1.

   15                    But also involved in the buffering will be

   16     the malic acid with the pKa of 5.1 because it is at least

   17     partially ionized within the range of 3 to 3.5, and that is

   18     analogous to the citric acid group which is a pKa of 4.8.

   19                    In summary, we have for both of these, one

   20     group which is ideal for buffering, citric acid pKa 3.1 and

   21     malic acid pKa 3.4, one group which is also involved in the

   22     buffering, which is citric acid pKa 3.8 and malic acid pKa

   23     5.1, and one group which has nothing to do with it at all,

   24     which is the pKa 6.4 for citric acid.

   25                    When I say they function in the same way, it's
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     1    because they do.      You know, that's what we see here on this

     2    slide.

     3                   MS. MORGAN:    Okay.   Let's go to the next slide.

     4                   Looking at PDX-451.

     5    BY MS. MORGAN:

     6    Q.       Can you please explain what we're looking at here,

     7    which appears to be more of a molecular level, and tell us

     8    how this supports your opinion that the buffers function in

     9    the same way.

   10     A.       It's a horribly complicated slide.        I apologize.

   11                    But all I'm trying to show on this is the HA in

   12     equilibrium with hydrogen ions and A-, which I've talked

   13     about as the general case.

   14                    So for citric acid and malic acid, on the

   15     left-hand side of this we have unionized form.           And that is

   16     clear for both of them.       There was an unionized form because

   17     the pKa is in the middle of the pH range.          That is one of

   18     the groups.

   19                    And for both of them, citric acid and sodium

   20     citrate and the malic acid buffer, we will have hydrogen

   21     ions there in a concentration.        And the concentration of

   22     hydrogen ions is the pH.       So if their pH is the same, they

   23     have the same hydrogen ion concentration.

   24                    And then we will have the ionized groups.

   25                    Now, the ionized groups will either be the acid
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     1    group 1 is ionized, and that can be true for both citric

     2    acid, sodium citrate, and malic acid;

     3                     Or the acid group 2 is ionized, and that can be

     4    true for both citric acid and sodium citrate and malic acid;

     5                     Or on occasions, both the acid group 1 and acid

     6    group 2 are ionized, and that could be true for the citric

     7    acid, sodium citrate, and malic acid.

     8                     And almost -- well, absolutely

     9    inconsequentially, in citric acid there it could be modest

   10     but very, very trivial amount of the acid group 3 ionized.

   11     But that will not be of any significance, it will not

   12     contribute to anything at all.

   13                      So for each of these systems at a molecular

   14     level, we have a range of ionizations across two acid

   15     groups, and that is all in equilibrium with hydrogen ions

   16     and the unionized form.        So on a molecular level, they're

   17     behaving the same.

   18     Q.       Okay.    Did the Amneal ANDA evidence we looked at

   19     regarding the function support also your opinions regarding

   20     that the way is the same as well?

   21     A.       Yes, it did.    The same -- rather than go through it

   22     all again, the same things that we already talked about the

   23     function can be equally true.

   24                      MS. MORGAN:   And let's look at the next slide.

   25                      Looking at PDX-452.
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     1    BY MS. MORGAN:

     2    Q.       Can you please tell us how Mr. Patel's testimony also

     3    supports your conclusion regarding way?

     4    A.       Yes.   So the question was what happens to the malic

     5    acid on a chemical level when it gets dissolved in the

     6    formulation of the ANDA product.

     7                    And Mr. Patel answered that it wasn't heard.

     8                    So he repeated his answer, and his answer was:

     9    So when malic acid is dissolved in any given solution, it

   10     would exist in an equilibrium between ionized and unionized

   11     form.

   12     Q.       And this is from the Patel transcript at pages 93,

   13     starting at line 24, to page 94, line 12.          Is that right?

   14     A.       That's right.

   15                     MS. MORGAN:   Let's go to the next page.       The

   16     next slide.

   17     BY MS. MORGAN:

   18     Q.       All right.    We just discussed the function, we

   19     discussed the way.      Let's move on to the results.

   20                     Can you please tell us how the result is the

   21     same of the two buffers in the respective products?            Or the

   22     patent versus the ANDA product.

   23     A.       Yes.   The -- maintaining a certain pH must maximize

   24     the chemical stability during shelf life.

   25                     MS. MORGAN:   Let's turn to the next slide.
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     1                    Looking at PDX-454, which refers to PTX-203 and

     2    PTX-191.

     3    BY MS. MORGAN:

     4    Q.       How does evidence from Amneal support the results

     5    that the same?

     6    A.       So there is a couple of cites there from Amneal's

     7    ANDA.    The first one mentions the degradants and says the

     8    degradants will remain with specifications limits; that the

     9    proposed shelf life is 24 months.

   10                     The second one says that the malic acid is

   11     compatibility and suitable to use as a buffering agent in

   12     the formulation.

   13                     And put more significantly, there is the

   14     agreement, the stipulation, where it is hereby stipulated

   15     and agreed that Amneal's ANDA product meets each and all of

   16     the stability claim limitations of the asserted claims.

   17                     So it isn't disputed that the stability is

   18     achieved.

   19     Q.       And that's from PTX-203 at AMEN-EPA-2119, PTX-191,

   20     AMEN-EPA-803, and PTX-25 at page 2?

   21     A.       Yes.

   22                     MS. MORGAN:   Let's go to the next slide.

   23                     Looking at PDX-455.

   24     BY MS. MORGAN:

   25     Q.       Can you please tell us how Mr. Patel's testimony
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     1    supports your conclusion regarding the function prong.            I'm

     2    sorry, regarding the results prong.

     3    A.       This is about maintaining the pH.        So he was asked:

     4                    "Question:    So then the results of having the

     5    malic acid in the formulation of the ANDA product is to

     6    maintain the pH of the formulation; is that correct?"

     7                    And the answer is:

     8                    "Answer:   Yes."

     9                    And, obviously, it is important to maintain the

   10     pH of the formulation in order to have the stability that we

   11     just talked about.

   12     Q.       And this is from Mr. Patel's transcript at page 94,

   13     lines 17 to 22?

   14     A.       Yes.

   15                     MS. MORGAN:   And let's go to the next slide.

   16                     And we're looking at PDX-456.

   17     BY MS. MORGAN:

   18     Q.       So can you please just summarize, wrap up your

   19     opinions regarding the function-way-result test for us?

   20     A.       Yes.   I think it's, in my opinion, clear that the

   21     malic acid and the sodium citrate -- citric acid buffers

   22     function in the same way to adjust and stabilize the pH.

   23                     That they perform in the same way by adjusting

   24     the pH and neutralizing ions generated in storage.

   25                     And the result is that they maintain the pH and
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     1    maximize the chemical stability.

     2    Q.       Just one follow-up question.

     3                     Does your opinion with respect to the Doctrine

     4    of Equivalents render sodium citrate in the claims

     5    meaningless?

     6    A.       No, not meaningless.      I have made full assessment of

     7    it.

     8                     MS. MORGAN:   Let's go to the next slide.

     9                     Looking at PDX-457.

   10     BY MS. MORGAN:

   11     Q.       Can you please explain for us how the claimed buffer

   12     compares to malic acid in the insubstantial differences test

   13     that you referred to earlier?

   14     A.       Yes.    Both buffer systems adjust and stabilize the pH

   15     by neutralizing acids or bases, if they arose, to maximize

   16     the chemical stability during chef life.

   17                      Both are frequently used as buffering agents and

   18     are soluble in water.

   19                      And the pKas for the two most acidic groups are

   20     similar.

   21     Q.       And so what is your conclusion under the

   22     insubstantial differences test?

   23     A.       I believe there are insubstantial differences.          So

   24     they're similar to each other, very similar to each other.

   25     Q.       Okay.    And are you aware of Dr. Gemeinhart's claim
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     1    that malic acid and citric acid are substantially different

     2    with respect to their taste?

     3    A.       Yes, I believe he said that, and I don't think it's

     4    relevant.

     5                    Two reasons:   One, it's -- I don't know that

     6    they really are substantially different in terms of their

     7    taste.

     8                    And, secondly, these solutions have flavors

     9    added to them.     So by the time you've added a flavor, I

   10     don't regard that at all a significant difference.

   11                     MS. MORGAN:    Let's go to the next slide.

   12                     Looking at PDX-458.

   13     BY MS. MORGAN:

   14     Q.       What about the amount of citric acid/sodium citrate

   15     in the claims versus the amount of malic acid in Amneal's

   16     ANDA product?     Did you evaluate that in connection with your

   17     Doctrine of Equivalents opinions?

   18     A.       Yes.   So I looked at citric acid at about

   19     1.82 milligrams per mL, which on a molar basis would be

   20     0.0095 mols per liter.

   21                     I looked at sodium citrate at about

   22     0.15 milligrams per mL, which would be 0.00051 mols per

   23     liter.

   24                     And malic acid at 1.90 milligrams per mL would

   25     be 0.014 milligrams per liter.
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     1                    And if you look at the masses of citric acid and

     2    sodium citrate or the molar basis for citric acid and sodium

     3    citrate, the amounts are very similar to the malic acid on a

     4    mass base or a molar base.

     5    Q.       Are the amounts -- but when you consider the buffers

     6    and their amounts in comparison to one another, are they

     7    equivalent?

     8    A.       Yes.

     9                    MS. MORGAN:    And let's go to the next slide.

   10                     Looking at PDX-459.

   11     BY MS. MORGAN:

   12     Q.       Can you please explain how Mr. Patel's testimony

   13     supports your opinion that the amounts, when considering

   14     also the amounts of the citric acid/sodium citrate buffer

   15     in comparison to the malic acid buffer, that they are

   16     equivalent.

   17     A.       So Mr. Patel was asked:

   18                     "Question:    And what is the purpose of the malic

   19     acid in the formulation for the ANDA product?"

   20                     And he said:

   21                     "Answer:   The purpose of malic acid is to use as

   22     a buffering agent, to get the required pH."

   23                     And he was asked:

   24                     "Question:    And malic acid is a suitable

   25     alternative to citric acid and sodium citrate; correct?"
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     1                    And the answer was:

     2                    "Answer:   Yes."

     3                    And he was asked:

     4                    "Question:   So the amounts of the ingredients in

     5    the ANDA formulation were selected to be equivalent to the

     6    amounts in the RLD" -- that's the reference drug --

     7    "correct?"

     8                    And he answers:

     9                    "Answer:   So it was selected to provide an

   10     equivalent product to that of the RLD."

   11     Q.       And is this from Mr. Patel's testimony at page 92,

   12     lines 14 to 19, page 96, at lines 15 to 19, and page 103,

   13     line 24 to page 104, line 5?

   14     A.       Yes.

   15     Q.       So considering the function of the amount of claimed

   16     citric acid/sodium citrate in the claimed formulation, does

   17     the amount of buffer in Amneal's ANDA product perform that

   18     same function?

   19     A.       Yes.

   20     Q.       Are you aware that Amneal's expert, Dr. Gemeinhart,

   21     raised a few arguments against the applicability of the

   22     doctrine of equivalents?

   23     A.       Yes, I am.

   24     Q.       What is your response to his opinion that the number

   25     of pKas in citric acid and malic acid are different?
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     1    A.       Well, I've described that in some detail.

     2                    There are three acid groups in citric acid and

     3    two in malic acid.      But that has nothing to do with the way

     4    that they function, the function, way and result.

     5                    As I have explained, one of those acid groups is

     6    not involved in the buffering at this pH range, so I

     7    don't -- the carboxylic matters aren't meaningful

     8    criticisms.

     9    Q.       And are you aware of Dr. Gemeinhart's opinion that

   10     you've not offered any opinion that Amneal's ANDA product's

   11     pH stability is attributable solely to malic acid?

   12     A.       I'm aware of that opinion, yes.

   13     Q.       Does that matter for your opinion?

   14     A.       Everything else in the formulations are identical and

   15     the malic acid is equivalent to the buffer in the reference

   16     product.    The buffer will be the significant factor in

   17     controlling the pH and maintaining the pH, so I don't think

   18     that's significant at all.

   19     Q.       Can we go to PDX-460.

   20                     Are you aware that Dr. Gemeinhart has said the

   21     following:      Upon dissolution, citric acid is able to neutral

   22     size hydroxide ions while sodium citrate dihydrate is able

   23     to neutralize hydrogen ions?

   24     A.       Yes.

   25     Q.       Is that a correct statement?
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     1    A.       I want to be clear about the statement in terms of

     2    what it's saying and what it's not saying, because it seems

     3    to me that Dr. Gemeinhart has used this as kind of a

     4    foundation for a number of other points.

     5                   So what we're talking about here is the solid

     6    state material, because he's talking about sodium citrate

     7    dihydrate.     What he's saying is upon dissolution, the citric

     8    acid is able to neutralize hydroxide ions and sodium citrate

     9    dihydrate is able to neutralize hydrogen ions.

   10                    Can I have the next slide to try and explain

   11     that a bit more?

   12     Q.       Absolutely.

   13     A.       Just to be clear about that, there's a difference

   14     between the actual process of dissolution and the

   15     functioning of the buffer.       The process of dissolution is

   16     about adjusting the pH.       And Dr. Gemeinhart is saying that

   17     citric acid is able to neutralize hydroxide ions and

   18     sodium citrate dihydrate is able to neutralize hydrogen

   19     ions.

   20                            In effect, what he's saying is if you add

   21     citric acid to solution, it will lower the pH, and if you

   22     add sodium citrate dihydrate to a solution, it will raise

   23     the pH, and that's the solid state part of it.           That's the

   24     dissolving it up part of it.        And as I've already explained,

   25     you can achieve the desired pH by dissolving citric as its
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     1    own.    You can achieve the pH by dissolving citric acid and

     2    sodium citrate together.       After you've done that, the things

     3    that are in that glass are the same no matter whether you

     4    dissolved one component or two components and no matter

     5    whether they were citric acid or sodium citrate dihydrate.

     6    The things in the glass are the same.

     7                   So the important thing is that a statement can

     8    be fine for the dissolution process and both can achieve the

     9    correct pH on dissolution, but it isn't fine to then say,

   10     for example, that a one component buffer can't function in

   11     the same way as a two component buffer.          They function in

   12     exactly the same way because the species in solution are

   13     exactly the same.

   14     Q.       Thank you for that explanation.

   15                    Are you aware that Dr. Gemeinhart has accused

   16     you have rewriting the claim to require only a single buffer

   17     ingredient?

   18     A.       Yes, and I think that was an example of the kind of

   19     follow-on from the earlier statement that I highlighted in

   20     his report, and because if you understand or think about

   21     this buffer system and whether it's a one-component or a

   22     two-component, the species in solution are the same.

   23                    So I have not done a rewriting to require one

   24     component or two components.        If we understand how the

   25     buffer works, it doesn't matter if you dissolve citric acid
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     1    alone or citric acid and sodium citrate.          You end up with

     2    the same things in that glass.

     3    Q.       And are you aware of Dr. Gemeinhart's similar opinion

     4    that the way prong requires the addition of two separate

     5    ingredients, one of which can donate and one that can accept

     6    hydrogen ions?

     7    A.       Yes.   I think it's the same issue stemming from that

     8    same statement in his report of confusing what happens when

     9    you dissolve up the solid material and the one can reduce pH

   10     and one can increase pH.       The combination can get to the

   11     desired pH, the combination of that compared to how the

   12     buffer functions when it's dissolved.         And it seems to be a

   13     misstating carry-through of the dissolution aspect into the

   14     functioning of the buffer.

   15     Q.       And are you also aware of Dr. Gemeinhart's statement

   16     that your infringement theory would effectively mean any

   17     weak acid that lowers pH below 3.5 would supposedly

   18     infringe?

   19     A.       I'm aware of that, yes.

   20     Q.       Do you agree with that?

   21     A.       No, I don't.    To have the same function, for example,

   22     you would have to have an acid with a pKa that allowed for

   23     ionized and unionized material present in a way that could

   24     function as a buffer.       It's too broad a statement.       It

   25     wouldn't capture every acid.        It would capture acids which
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     1    can function as a buffer in the range pH 3 to 3.5.

     2    Q.       And are you aware of Dr. Gemeinhart's statement that

     3    stability cannot be a feature of the result prong of the

     4    function, way, result test because the claims include a

     5    stable formulation via a separate claim element?

     6    A.       I'm aware of that, yes.

     7    Q.       And do you agree?

     8    A.       No, I don't agree.     I agree there is a separate

     9    stability element in the claim, but the whole purpose of the

   10     buffer is to control the pH and to maintain stability.            So

   11     the function of the buffer has to be about that and the

   12     result of having the buffer there has to be maintaining

   13     stability.     There's no getting away from that.

   14     Q.       Are you aware that Dr. Gemeinhart also argued that

   15     the patent claims a solid form of citric acid in sodium

   16     citrate and that somehow distinguishes malic acid from the

   17     claimed buffer?

   18     A.       I'm aware he made points about the solid state form,

   19     yes.

   20     Q.       And does that matter for whether malic acid can be

   21     considered an equivalent?

   22     A.       Not at all.    The solid state form will be lost at the

   23     moment that it goes into solution and the buffer property is

   24     what is happening in solution, which is unrelated to the

   25     solid state.
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     1    Q.        And are you aware of Dr. -- that Dr. Gemeinhart also

     2    has asserted that you have to take into account stability in

     3    the patient's body in vivo?

     4    A.        I am.

     5    Q.        Does this have anything to do with the claims of the

     6    patent?

     7    A.        No, nothing to do with the claims of the patent at

     8    all.    The patent is very clearly and unambiguously in my

     9    view related to the stability of a formulation before it's

   10     given to a patient.       Everything in the patent talks about

   11     the stability of the formulation as it's a product and not

   12     as it's administered.

   13                       The only thing in the patent which is an in vivo

   14     piece of work is the bioequivalent study, and the

   15     bioequivalent study shows that the solution formulation is

   16     equivalent to the kit formulation, not the only in vivo

   17     aspect of the patent.

   18                       And the patent with the two -- the fact that

   19     there's no discussion about any discussion about superiority

   20     in vivo demonstrates this patent has nothing to do with in

   21     vivo but entirely has to do with what all of the

   22     specification is about, which is stability in the bottle.

   23     Nothing to do with stability in the patient.

   24     Q.        And let's turn now to Amneal's argument against the

   25     application of the doctrine of equivalents, specifically
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     1    prosecution history estoppel.

     2                          MS. MORGAN:    And I believe we need to keep

     3    the courtroom sealed for this discussion, Your Honor.

     4                   (The following portion of the transcript is

     5    sealed.)

     6    BY MS. MORGAN:

     7    Q.       And let's turn to PDX-462.       So what does this slide

     8    show?

     9    A.       This shows that Amneal is pretty forward on

   10     amendment-based prosecution, estoppel and an argument-based

   11     prosecution history estoppel.

   12     Q.       And what is your understanding of those two -- what

   13     is your understanding of those two legal theories?

   14     A.       Amendment-based prosecution history estoppel applies

   15     if the amendment is narrowing and is related to

   16     patentability with the exception of when the amendment is

   17     only tangentially related to be equivalent in question.             And

   18     argument-based prosecution history estoppel applies if the

   19     applicant clearly and unambiguously disavows claim scope.

   20     Q.       And did you come to any conclusions regarding these

   21     theories?    Do either apply?

   22     A.       My conclusion was that neither of these apply.

   23     Q.       Let's go to the next slide.       Looking at PDX-63, can

   24     you just remind us, what's the amendment that we're talking

   25     about for amendment-based estoppel?
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     1    A.       The and about not .15 milligrams per ml sodium

     2    citrate dihydrate.

     3    Q.       And let's go to the next slide.        Looking at PDX-64,

     4    can you please just summarize for us what you concluded with

     5    respect to each aspect of amendment based estoppel?

     6    A.       So the first one is on narrowing, and in my opinion,

     7    if you read the claims, which was originally a claim for a

     8    buffer comprising citric acid and became a buffer comprising

     9    citric acid in sodium citrate -- if you read them in

   10     isolation, that could be viewed as a narrowing amendment,

   11     but if you read them within the context of the specification

   12     and with the understanding of a person of ordinary skill in

   13     the art, you understand that they are two equivalent buffer

   14     systems, so they are described in some detail at a molecular

   15     level when you dissolve these things up, you will have the

   16     same things in solution and they will function in the same

   17     way.

   18                    So they are equivalent buffer systems of the

   19     specification and they function in the same way, and viewed

   20     in that context by a person of ordinary skill in the art, it

   21     wouldn't be a narrowing amendment.

   22                    The second one is, was the amendment made for

   23     the patentability or not, and I've talked about that

   24     already, that the claim, claim 20 had already got this

   25     amendment in it and therefore it wasn't possible to overcome
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     1    the obviousness objection by another claim, adding this

     2    amendment to claims 1 and 12.        And the claim amendment was

     3    unrelated to malic acid, so because of that reason, it is at

     4    most tangential.

     5    Q.       So are you aware that Dr. Gemeinhart's opinion is

     6    that he thinks amendment based estoppel applies in this

     7    case?

     8    A.       Yes.

     9    Q.       Let's go to PDX-65.

   10                     Are you aware of his opinion that the Examiner's

   11     comments regarding sodium citrate being part of an inventive

   12     example make the amendment related to patentability?

   13     A.       I'm aware of that, yes.

   14     Q.       And do you agree with that?

   15     A.       No.    First of all, there's no requirement that all of

   16     the claims in the patent should match the inventive example.

   17     There would have been no need to change the claim on that

   18     basis.

   19                     And, secondly, and as I've already said a number

   20     of times, the addition of the sodium citrate to the claim

   21     could not have overcome the obviousness objection because it

   22     was already, claim 20 already had that element in it, and

   23     claim 20 had been rejected as obvious.

   24     Q.       And what arguments did the applicants make to

   25     overcome the indefiniteness and obviousness invalidity
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     1    rejection?

     2    A.       In relation to indefiniteness, they put forward

     3    the stability amendment and I've described earlier on

     4    what argument they made in relation to that.           But in

     5    relation to -- and they put forward the unexpected results

     6    as well.

     7                   In relation to obviousness, they have said that

     8    there was no obviousness claim -- obviousness position to

     9    answer because, and the basis of the stability and the

   10     unexpected results, there was no obviousness and it hasn't

   11     been demonstrated.

   12     Q.       So when the applicants amended the claims to add

   13     sodium citrate, did they say the amendment was to overcome

   14     an invalidity rejection?

   15     A.       No, they didn't.

   16     Q.       Are you aware of Dr. Gemeinhart's opinion that aside

   17     from patentability, there are supposedly no other reasons

   18     for the sodium citrate amendment?

   19     A.       I am, yes.

   20     Q.       Do you think there is a reason other than

   21     patentability for the amendment?

   22     A.       Well, the amendment, for the reasons I've said,

   23     wasn't overcoming any obviousness rejection, but the

   24     amendment did express all of the claims in the same way in

   25     relation to the buffer, and that certainly is a reasonable
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     1    thing to do.

     2                    As I've described, the buffers are equivalent,

     3    but they can be expressed in the same way.

     4    Q.       Let's go back to slide 463.       PDX -- oh, sorry.     One

     5    after this.     Yes.   Thank you.

     6                    So looking at the amendment with respect to

     7    pre-existing claim 20, can you please just explain for us

     8    what you think the other reason is for the claim amendment

     9    other than patentability?

   10     A.       Well, as I just said, the addition of that claim

   11     element makes claims 1 and 12 read the same as claim 20.

   12     All of them are rejected as obvious, but the applicants

   13     argued that there was no case to be made in terms of

   14     obviousness and that the stability, an unexpected result,

   15     should be the reason for patentability.

   16     Q.       Are you also aware that Dr. Gemeinhart characterizes

   17     sodium citrate amendments as disclaiming all single

   18     component buffers?

   19     A.       Yes.

   20     Q.       Do you agree with that opinion?

   21     A.       No, I don't.

   22     Q.       Why not?

   23     A.       I've explained at great length that dissolving citric

   24     acid or dissolving citric acid in sodium citrate is the same

   25     thing in solution.      It's not disclaiming a single component
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     1    buffer system overall.         It doesn't disclaim any -- well, it

     2    doesn't disclaim the notion of the single component buffer.

     3    It certainly doesn't disclaim malic acid, an example of a

     4    single component.

     5    Q.        Are you aware that Dr. Gemeinhart points to certain

     6    statements in the prosecution history describing four

     7    ingredients?

     8                     Actually, sorry.    Yes.

     9                     Are you aware that Dr. Gemeinhart points to

   10     certain statements in the prosecution history describing

   11     four ingredients along with water as part of the present

   12     claims?

   13     A.        Yes.

   14     Q.        And that his -- in his opinion, these statements

   15     indicate that sodium citrate amendment was not tangential to

   16     malic acid?

   17     A.        Yes.

   18                      MS. MORGAN:    Let's look at one of those

   19     statements.

   20                      Can you please go to PDX-466.

   21     BY MS. MORGAN:

   22     Q.        In your opinion, does the applicant statement, such

   23     as this one here in PTX-5, SLVGT-EPA-873, about the claimed

   24     formulation, have any bearing on whether the sodium citrate

   25     amendment is tangentially related to malic acid?
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     1    A.       No, I don't think it has any bearing on that at all.

     2    These statements were made to argue.         There was no

     3    reasonable expectation of success.         They were relevant in

     4    determining the reasons why the claims were amended, and the

     5    statement was unrelated to the purpose of the amendment.

     6                   MS. MORGAN:    Can we go to PDX-467.

     7    BY MS. MORGAN:

     8    Q.       And what is your view on Dr. Gemeinhart's comment

     9    that because the buffer is part of the claim, the addition

   10     of sodium citrate cannot be a tangential amendment?

   11     A.       I understand that's a legal position.         And from

   12     discussions with counsel, I understand the question should

   13     not be whether the buffer was part of the claims but

   14     rather the question should be, what was the purpose of the

   15     amendment?

   16                    And was it related to malic acid?

   17                    And that's the inquiry I have taken as opposed

   18     to the inquiry Dr. Gemeinhart has taken.

   19                    MS. MORGAN:    Let's go to the next slide.

   20     BY MS. MORGAN:

   21     Q.       All right.    Let's turn now to argument-based

   22     prosecution history estoppel.

   23                    What is your understanding of the applicable

   24     standard there?

   25     A.       The applicable standard is it applies if the
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     1    applicant has clearly and unambiguously disavowed claim

     2    scope.

     3    Q.       And what is your conclusion with respect to whether

     4    argument-based prosecution history estoppel applies?

     5    A.       My conclusion is it doesn't apply.

     6                    MS. MORGAN:   Let's go to PDX-469.

     7    BY MS. MORGAN:

     8    Q.       Can you please explain why you concluded that

     9    argument-based prosecution history estoppel does not apply?

   10     A.       Because there is no clear and unambiguous disavowal

   11     of claim scope.     The applicant's arguments focused on

   12     stability and unexpected results.

   13                     The applicant argued the Examiner failed to

   14     establish a motivation to combine the prior art.

   15                     And no argument was made disclaiming a type of

   16     buffer, and certainly no argument was made disclaiming malic

   17     acid specific.

   18     Q.       Are you aware that Dr. Gemeinhart -- sorry, that

   19     argument-based estoppel does apply?

   20     A.       Yes.

   21     Q.       Let's talk about his opinions.

   22                     First, do you recall that Dr. Gemeinhart simply

   23     referred back to his amendment-based arguments in asserting

   24     that argument-based estoppel applied?

   25     A.       Yes, he did.
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     1    Q.       Can Dr. Gemeinhart's amendment-based arguments apply

     2    wholesale to this other theory of estoppel?

     3    A.       No.   Because there is -- as I -- to my analysis, they

     4    are under a different standard as to what we are looking to

     5    see.

     6    Q.       And how is the standard different again?

     7    A.       Well, this one is an unambiguous disavowal and the

     8    other one isn't.

     9                   MS. MORGAN:    Okay.   Let's look at PDX-470.

   10     BY MS. MORGAN:

   11     Q.       Are you aware of Dr. Gemeinhart's opinion that

   12     statements like that shown here in PTX-5 at SLVGT-EPA-874 in

   13     regard to the absence of -- well, let's me start over.

   14                    Showing you PDX-470, which refers to PTX-5 at

   15     SLVGT-EPA-874, are you aware that Dr. Gemeinhart relies on

   16     statements like this to single out components of the prior

   17     art and assert that these statements create a disclaimer, a

   18     clear and unambiguous disavowal of claim scope?

   19                    MR. MADDOX:    Objection.    Leading and compound.

   20                    THE COURT:    Let's try it again.     We'll sustain

   21     the objection.

   22                    Ask another question.

   23                    MS. MORGAN:    Okay.   I'll try it again.

   24     BY MS. MORGAN:

   25     Q.       Looking at PDX-470, which refers to PTX-5 at
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     1    SLVGT-EPA-874, are you aware of Dr. Gemeinhart's opinion

     2    that statements like this from the prosecution history, that

     3    refer to the combination of ingredients listed as shown on

     4    this screen, supposedly creates a disavowal of claim scope?

     5    A.       I'm aware of those opinions.

     6    Q.       And in your opinion, does the listing of formulation

     7    ingredients by the applicant clearly and unambiguously

     8    disavow claim scope?

     9    A.       No, it doesn't.       These are where the applicant has

   10     argued, there is no reason to combine the prior art and no

   11     expectation of success.

   12                      And in my opinion, identifying the formulation

   13     ingredients that provided the unexpected success does not

   14     narrow claim scope.

   15     Q.       Okay.

   16     A.       There are the cites on the page.

   17                      MS. MORGAN:    Let's go to the next slide.

   18                      Looking at PDX-471.    And this refers to PTX-5 at

   19     SLVGT-EPA-875.

   20     BY MS. MORGAN:

   21     Q.       Are you aware of Dr. Gemeinhart's opinion that

   22     statements made by the applicants and Dr. Mosher, such as

   23     the one showing here regarding stability, also supposedly

   24     create a disavowal of claim scope?

   25     A.       And I don't think it disavows claim scope at all.
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     1                   What is being argued here by the applicant is

     2    the claimed formulations are said to be dramatically much

     3    more stable than the extemporaneous enalapril preparations

     4    of Nahata and the reconstituted enalapril formulations of

     5    the '747 patent.

     6                   That is what is being said, and this is

     7    distinguishing the lack of stability in the prior art and

     8    comparing it to the stability of the claim scope.           That

     9    doesn't disavow any claim scope.

   10                    MS. MORGAN:    Let's look at the next slide.

   11                    Looking at PDX-472.

   12     BY MS. MORGAN:

   13     Q.       Are you aware that Dr. Gemeinhart points to this

   14     table, which is looking at prior art and the claimed

   15     formulation, and he asserts that this used by applicants

   16     in responding during prosecution history also creates a

   17     disavowal of claim scope with respect to excipients?

   18     A.       I'm aware of that.     Yes.

   19     Q.       And what is your opinion?       Does that create a

   20     disavowal of claim scope regarding excipients?

   21     A.       No, I don't think it does.       All this is saying is

   22     that, as the other examples I've been through, saying that

   23     they found a formulation which has surprising results in

   24     terms of stability and with a certain composition of that

   25     formulation.
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     1                      I don't think it disavows the fact that the

     2    large number of excipients in the prior art happened to

     3    exist.    And in any case, malic acid isn't found on the

     4    charts.    So there is certainly no disavowal of malic acid,

     5    and I don't think there is any disavowal of anything else.

     6    Q.        And for the record, this is referring to PTX-5 at

     7    SLVGT-EPA-857 and 873?

     8    A.        Correct.

     9                      MS. MORGAN:   Let's go to the next slide.

   10                       Looking at PDX-8 -- sorry.    PDX-473.

   11     BY MS. MORGAN:

   12     Q.        And let's talk about other arguments of

   13     Dr. Gemeinhart.       Do they proceed similarly to what we have

   14     just been discussing?

   15     A.        Yes.    This is a slide referring to the previous

   16     table, but I agree.       The other arguments do proceed in the

   17     same way.

   18     Q.        Okay.    And I'm sorry, Doctor, how does this relate to

   19     the prior table?

   20     A.        So this is a summary of what I said to the table of

   21     ingredients;

   22                       That the applicant had argued there was no

   23     reasonable expectation of success to combine the prior art.

   24                       And that identifying the formulation ingredients

   25     providing the unexpected results does not disavow claim
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     1    scope.

     2                    This is just a summary of what the applicant

     3    said in relation to the table as opposed to what

     4    Dr. Gemeinhart has said in relation to the table.

     5                    MS. MORGAN:   Okay.   And let's go to the next

     6    slide.

     7    BY MS. MORGAN:

     8    Q.       So regarding Dr. Gemeinhart's other arguments, can

     9    you please explain how he was using those other arguments?

   10                     MR. MADDOX:   Objection to form.

   11                     THE COURT:    In what sense?

   12                     MS. MORGAN:   Let me rephrase.

   13                     Looking at PDX-474.

   14     BY MS. MORGAN:

   15     Q.       I believe you said that these other arguments proceed

   16     similarity.

   17                     Can you please explain?

   18     A.       Yes.   Dr. Gemeinhart relied on similar statements

   19     from the prosecution history, which lists formulation

   20     ingredients and refer to formulation.          And in each of the

   21     other cases, which I'm not going through each one

   22     individually, there is no express or unequivocal disavowal

   23     of claim scope.

   24                     In each case, the applicant was arguing, no

   25     expectation of success.
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     1                   No motivation to combine.

     2                   Or unexpected results, stabilization of the

     3    products.

     4    Q.       All right.    In your opinion, was Dr. Gemeinhart

     5    taking the applicant's statements out of context?

     6                   MR. MADDOX:    -- again.

     7                   THE WITNESS:    Sorry, what?

     8                   THE COURT:    Is there an objection?

     9                   MR. MADDOX:    Yes.   Objection, leading.

   10                    THE COURT:    All right.    Sustained.

   11                    Ask a different question.

   12     BY MS. MORGAN:

   13     Q.       In your opinion, did Dr. Gemeinhart consider the full

   14     context of all of applicant's statements?

   15     A.       I -- well, as I've said through all of these ones, I

   16     think what was being described was all about expectation of

   17     success.

   18                    No motivation to combine in the literature.

   19                    And unexpected results.

   20                    So if you look at them in the context in which

   21     they're made, I don't think there's any disavowal of claim

   22     scope in any of them.

   23     Q.       Thank you.

   24                    MS. MORGAN:    Let's go to the next slide,

   25     PDX-475.
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     1    BY MS. MORGAN:

     2    Q.       So in your opinion, do either theory of estoppel,

     3    amendment-based or argument-based prosecution history

     4    estoppel apply?

     5    A.       No, they don't.

     6    Q.       Okay.    Have you reviewed Dr. Gemeinhart's deposition

     7    in this case?

     8    A.       Yes, I have.

     9                     MS. MORGAN:   Let's go to the next slide.

   10                      Looking at PDX-476.

   11     BY MS. MORGAN:

   12     Q.       In Dr. Gemeinhart's deposition, did he assert that

   13     he was setting forth any opinion that there has been a

   14     dedication of subject matter through disclosure called the

   15     dedication-disclosure doctrine?

   16     A.       No, he does not.

   17     Q.       And did he also admit that specification does not

   18     include malic acid as a buffer?

   19     A.       Yes.    In his deposition, he says, he says there was

   20     no legal standard in his reports on disclosure dedication

   21     doctrine.

   22                      And the last question there -- well, it said:

   23                      "Question:    Are you planning to offer any

   24     opinions at trial regarding the disclosure dedication

   25     doctrine?"
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     1                    And he said:

     2                    "Answer:   Not at this time."

     3                    At then the last question was:

     4                    "Question:    Do you agree, Doctor, that the

     5    common specification of the patents in this matter does not

     6    disclose malic acid as a buffer?"

     7                    And he answered:

     8                    "Answer:   The specification does not include

     9    malic acid as one of the buffers, no."

   10     Q.       And this is from Dr. Gemeinhart's transcript, page

   11     102, line 24 to 103, line 15?

   12     A.       Yes, it is.

   13                     MS. MORGAN:    All right.   Let's go to the next

   14     slide.

   15                     Looking at PDX-477.

   16     BY MS. MORGAN:

   17     Q.       Is malic acid mentioned at all in the specification

   18     as a buffer?

   19     A.       Not as a buffer, no.      It's mentioned once in the

   20     specification as an example of a possible preservative.             And

   21     this is shown in the slide just now.

   22     Q.       And we're look at PTX-1, Column 10, lines 5 through

   23     13?

   24     A.       Yes.

   25     Q.       And so just to recap, in your opinion, does any
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     1    theory of estoppel advanced by Amneal apply to preclude

     2    application of the Doctrine of Equivalents for infringement?

     3    A.        No, it doesn't.

     4    Q.        And is the buffer limitation we've been referring to

     5    today infringed under the Doctrine of Equivalents?

     6    A.        Yes, it is.

     7    Q.        And in your opinion, are all the asserted claims of

     8    all four asserted patents infringed by Amneal's ANDA

     9    product?

   10     A.        Yes, they are.

   11                    MS. MORGAN:      Thank you, Doctor.

   12                    THE COURT:       All right.   We'll reopen the court

   13     and then we're going to take a recess.          And then we'll be

   14     back to close.     Not close, cross.

   15                    THE TRIALanywhere HOST:       The Court is reopened.

   16                    THE COURT:       Okay.   Thank you.

   17                    (Sealed portion ends.)

   18                          *      *      *

   19                    THE TRIALanywhere HOST:       The courtroom is

   20     sealed.

   21                    THE COURT:       Thank you.

   22                                CROSS-EXAMINATION

   23     BY MR. MADDOX:

   24     Q.        Now, it's correct the way you say the claimed buffer

   25     performs that function is to neutralize additional protons
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     1    or hydroxides introduced into the solution; correct?

     2    A.       Correct.

     3    Q.       Okay.    And stepping out from that for a moment,

     4    because pH is a measure of protons, isn't it true that in

     5    general, buffers perform their functions by neutralizing

     6    additional protons and hydroxide introduced into solution.

     7    A.       In general, that's true.      And I'm talking

     8    specifically in relation to these claims and this product.

     9                     But in general, a buffer will function in that

   10     way.    That's -- you know, this is, we're talking about a

   11     buffer, it has to be what a buffer does.

   12     Q.       Okay.    So under your approach to the

   13     function-way-result analysis, the Doctrine of Equivalents

   14     here would encompass any buffer in the formulation so long

   15     as it kept the pH at about 3 to 3.5; correct?

   16     A.       Any reasonable buffer that you could put into a

   17     pharmaceutical composition of its claim that kept the pH at

   18     3 to 3.5 could be deemed to be equivalent in terms of

   19     functioning in that aspect of it.

   20     Q.       Okay.

   21     A.       It can then produce the required stability, and to --

   22     you know, it would need to do the other things as well.

   23                      MR. MADDOX:   Now, could we have DDX-401.      This

   24     is a demonstrative exhibit.

   25     BY MS. MORGAN:
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     1    Q.       It's merely -- I'm sure the left side will look very

     2    familiar to you.      Right?   That's the -- from the prosecution

     3    history.

     4    A.       Yes.

     5    Q.       Okay.    Right.

     6                     And now I've just on the right-hand side, I have

     7    eliminated that amendment so we basically end up with the

     8    pre-amendment version of a buffer.

     9                     Do you see that?

   10     A.       Yes.

   11     Q.       Okay.    Now, to illustrate your view of

   12     function-way-result, would it be, in your analysis, that the

   13     formulation here described on the right would be equivalent

   14     to the formulation on the left with respect to the buffer?

   15     A.       Well, it depends on which way you describe

   16     equivalent.      And then they all seem not the same because the

   17     one on the left has the sodium citrate dihydrate

   18     requirements in it, so they're inevitably different in terms

   19     of what you have to do.

   20                      On the left you have to dissolve two things.

   21                      On the right you have to dissolve only one

   22     thing.

   23                      I don't know if your question was more than

   24     that.

   25     Q.       My question is this.       You have performed the
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     1    function-way-result analysis for this case.          Yes?

     2    A.       In relation to the one on the left against malic

     3    acid, yes.

     4    Q.       Yes.    And I'm trying to understand the boundaries of

     5    your -- how your analysis works.

     6                     And I'm saying if you performed your same

     7    function-way-result analysis on just that amount of citric

     8    acid in the right here --

     9    A.       Yes.

   10     Q.       -- would you find that just that amount of citric

   11     acid is the equivalent for infringement of the limitation,

   12     the amended limitation?

   13     A.       You would have to go through the full analysis of

   14     what pH was achieved by adding that amount of citric acid.

   15     Q.       Well, actually here, on the claim on the bottom, it's

   16     going to stay at that pH of 3.5.

   17     A.       Well, I have seen this.      This is an artificial claim

   18     you put together.

   19     Q.       Well, actually, this is the claim as it was except

   20     this is the amended claim minus the buffer.          You can see at

   21     the bottom in the formulation is a pH of about 3.5.

   22     A.       Okay.    Yes, I understand what you are saying now.

   23     Okay.

   24                      If it's at a pH of about 3.5, I forgot what the

   25     rest of your question was.       Maybe I will let you ask it
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     1    again.

     2    Q.        Would you regard the buffer comprising

     3    1.82 milligrams of a layer of citric acid as to the

     4    equivalent, an infringing equivalent, of the amended claim?

     5    A.        Okay.   A pH of about less than 3.5 with that, and I

     6    think the same things will be in solution, so

     7    scientifically, what's in solution from the citric acid

     8    should be the same as what's in solution from the citric

     9    acid and the sodium citrate as I have described.           It would

   10     be reasonable that you would ultimately conclude that they

   11     were equivalent.      I agree.

   12     Q.        Okay.   Certainly, in your view, the citric acid would

   13     be performing the same function in the same way with the

   14     same pH result as the claimed buffer in the amended claim;

   15     is that correct?

   16     A.        Assuming that you -- out of that system, and I don't

   17     see why you wouldn't but assuming out of that system you've

   18     got to achieve the stability results, which is being added

   19     for this claim.

   20     Q.        It says you assume the pH of about 3.5 is what I'm

   21     asking.

   22     A.        But the stability bit wasn't in the claim.        So

   23     assuming, and I don't see any reason certainly why not,

   24     but you have to assume that it was to assume that stability.

   25     Q.        Yes.    Assuming all the other elements of the claim
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     1    are met, including pH and the stability, if essentially, you

     2    took out the sodium citrate dihydrate from the amended claim

     3    and left it at 1.82 milligrams of citric acid, you would say

     4    in your analysis, applying your analysis, you would view and

     5    say that that citric acid alone is an infringing equivalent?

     6    Yes?

     7    A.       It's an equivalent for sure and if it meets the

     8    stability at the bottom, it's equivalent.

     9    Q.       Yes.   Okay.     I would like to go to DDX-402.      This is

   10     a further diminution of what we just had.          Here, I've taken

   11     out of the buffer limitation on the right-hand side, I've

   12     taken out the citric acid and so now we have a buffer,

   13     simply a buffer, but it meets the other limitations.            It

   14     achieves a pH of 3.5 and the stability.

   15                              Under your function, way, result analysis,

   16     would the formulation on the right, in particular, with

   17     respect to buffer, be an infringing equivalent of the

   18     claimed buffer of citric acid and sodium citrate?

   19     A.       I have not done the analysis and I don't know that

   20     every buffer necessarily would.        But at the moment, I could

   21     see that it's possible that there could be buffers which

   22     would have to be something which would have a pKa at --

   23     Q.       Well, are there -- that's addressed by the fact that

   24     the pH of the formulation is 3.5, is it not?

   25     A.       No.    Sorry.    The pH of the formulation is 3.5.      You
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     1    earlier were saying you could have buffers anywhere, any

     2    place, any time that are any thing, and you could have a

     3    buffer in there under your definition of the huge wide scope

     4    of universal buffers.       It doesn't have a pKa in the range of

     5    3 to 3.5 and therefore isn't going to function in this

     6    product.

     7                           So what we have to be clear of is are we

     8    talking about things that specifically function in the

     9    claims of this product, which is what I was doing, or the

   10     open universe of buffer, which is what you were doing, and

   11     we can't do that.

   12     Q.       I'm not talking about an open universe, Doctor.          I'm

   13     talking about this claim I've written on the right-hand

   14     side.    A formulation that has all of these things and a

   15     buffer has the pH of 3.5 and has the stability there.            In

   16     that situation, applying your analysis, a buffer would be

   17     the equivalent of the claimed buffer; is that correct?

   18     A.       I disagree.    You're being too broad.

   19     Q.       How am I being too broad?       3.5 pH.   Whatever buffer

   20     it is is going to provide 3.5 pH; is that correct?

   21     A.       No.   It doesn't say at this moment in time any detail

   22     about what that buffer is or what's going on.           The buffer

   23     has to have a pKa in the correct region for it to function.

   24     And --

   25     Q.       And when you say for it to function, you mean to
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     1    maintain a pH of 3.5; is that correct?

     2    A.        Well, my functioning and -- function, way, result

     3    analysis requires the buffer to maintain a pH of 3.5 and to

     4    maintain the stability.       What you are putting to me is that

     5    any buffer could achieve that, anything at all, and I am

     6    I'm saying is that is not true.        There will be other

     7    things other than the ones that we've looked at that would

     8    achieve that, but it isn't going to be the universe of any

     9    buffer.

   10     Q.        And I'm saying when the buffer achieves a pH of 3.5,

   11     that is the major factor in driving the stability; is that

   12     correct?

   13     A.        No.    That's the first part.    You could put in

   14     hydrochloric acid.       You could get to a pH of 3.5.      It

   15     doesn't have a pKa in the region that we're interested in.

   16     It wouldn't be a buffer.       It's an unreasonable position that

   17     you are putting forward.       I disagree with that.

   18     Q.        So a buffer as I've got here on the right-hand side

   19     does, by definition, maintain a pH, a chosen pH; is that

   20     correct?    That's its function?

   21     A.        I agree.

   22     Q.        And the way it does that is neutralizing protons and

   23     hydroxides.       Yes?

   24     A.        Yes.

   25     Q.        Okay.    And the result here stated in this claim on
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     1    the right-hand side is a pH of 3.5 and stability as

     2    specified; is that correct?

     3    A.       And the requirement is that the buffer would have to

     4    function as a buffer in this system and that's the

     5    difference between my position and your position, I think.

     6    I'm limiting this to something that would function in the

     7    system and I think you're trying to suggest any buffer would

     8    function in the system and I don't agree with that.

     9    Q.       That's not what I'm trying to suggest.         I'm asking

   10     about this claim on the right-hand side.          It's a buffer that

   11     would perform the function of a buffer; correct?           That's

   12     what buffers do.

   13     A.       Well, we disagree.     If you are taking every buffer in

   14     the world, I would agree, if it's a limited subset of

   15     buffers which could do what you're putting forward.

   16     Q.       Okay.   And so you would have another requirement for

   17     this structure, just a buffer, you would have another

   18     requirement for that buffer that's not listed here in the

   19     claim; is that correct?

   20     A.       No.   I'm just saying it has to work in the claim.

   21     Q.       Okay.

   22     A.       And I believe --

   23     Q.       And I'm saying just like you assumed the claim on

   24     the left works, you must assume the claim on the right has

   25     the attributes that are claimed.        You must assume that,
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     1    Doctor.

     2    A.        I disagree.

     3    Q.        Well, we could ask His Honor.      I'm asking a

     4    hypothetical, Your Honor, where I'm asking him to assume

     5    that?

     6                   THE COURT:    Wait.   You're being ambiguous, Mr.

     7    Maddox.    When you say he must assume it, are you saying as a

     8    premise of my question?

     9                   MR. MADDOX:    Yes.   I beg your pardon.

   10                    THE COURT:    Okay.

   11     BY MR. MADDOX:

   12     Q.        As a premise of my question, I'm saying you must take

   13     the claim on the right just as you would the claim on the

   14     right to be what we're talking about.         It has all of these

   15     attributes.

   16     A.        Well, the function you're making, that is a buffer

   17     which will function in this formulation in the way that is

   18     necessary to maintain the stability.         And if we are making

   19     that assumption, if it's a specific limited group of things

   20     which could function as a buffer in this formulation to

   21     achieve that stability, I agree.

   22     Q.        Thank you.

   23                    Now, with respect to malic acid in Amneal's

   24     product, you never calculated the ratio of what malic acid

   25     alone, the malic acid and in the part that would be, as you
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     1    say, a base put in the water; correct?

     2    A.       I do specifically calculate the ratio.         I've

     3    described that it would be getting onto be 50/50 when the pH

     4    is equal to the pKa.

     5    Q.       Okay.    And so having not calculated it, you inferred

     6    that there was enough of both parts to buffer the solution

     7    to the less than 3.5 pH; is that correct?

     8    A.       Yes.    You can infer it if you want, but it's clear

     9    from the data that I've presented that the pH is maintained.

   10     Q.       And because it's maintained, you say there was both

   11     of these things going on; is that correct?           Moving hydrogens

   12     and taking the hydrogens.        Yes?

   13     A.       Because the stability is maintained, the pH is

   14     maintained, then the buffer is functioning as it should, I

   15     agree.

   16                      MR. MADDOX:   I pass the witness.

   17                      THE COURT:    Okay.    Thank you.   Any redirect?

   18                      MS. MORGAN:   Your Honor, I have nothing further

   19     except to read in exhibits.

   20                      THE COURT:    Okay.

   21                      MS. MORGAN:   For which we could unseal, I

   22     believe.

   23                      THE COURT:    Thank you for that reminder.     Can

   24     you let the public in?

   25                      (End of portion under seal.)
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     1                           *       *      *

     2                      (The following portion of the transcript is

     3    sealed.)

     4                      THE TRIALanywhere HOST:       The courtroom is

     5    sealed.

     6                      THE COURT:       Thank you.

     7    BY MR. RUEDY:

     8    Q.        Dr. Moreton, please turn to DTX-1079 in your exhibit

     9    binder.

   10     A.        Okay.

   11     Q.        Do you recognize this document?

   12     A.        Yes.    This is an excerpt from the Bionpharma ANDA.

   13     Q.        And what type of information does it provide?

   14     A.        This gives information on the composition of the drug

   15     product and obviously, related things, such as manufacture

   16     and things like that.

   17     Q.        Okay.    And with the asserted claims in mind, what is

   18     your understanding of Silvergate's doctrine of equivalents

   19     claims against Bionpharma?

   20     A.        It's my understanding that Silvergate is asserting

   21     infringement under doctrine of equivalents because they

   22     claim that the methylparaben, propylparaben preserved a

   23     system in the Bionpharma product, is equivalent to the

   24     sodium benzoate claim in the Epaned product and they also

   25     have alleged that the, or asserted that the sodium hydroxide
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     1    in the, as pH adjuster combines with the maleic acid from a

     2    enalapril maleate to form a buffer which is equivalent to

     3    the sodium citrate buffer in the Epaned product.

     4    Q.       Okay.   And just to clarify, their claims of doctrine

     5    of equivalents and infringement are based on the patent

     6    claims or on the product?

     7    A.       On the patent claims.      Sorry, yes.

     8    Q.       All right.    Now, in response to Silvergate's

     9    infringement allegations, do you understand that

   10     Bionpharma has pleaded both legal and factual

   11     noninfringement defenses?

   12     A.       Yes, I do.

   13     Q.       And I understand you have prepared some slides to

   14     assist the Court with your testimony today; is that correct?

   15     A.       That's correct.

   16     Q.       Okay.   Let's turn to DDX-1503.      Did this slide

   17     accurately reflect Bionpharma's defenses in this case as you

   18     understand them?

   19     A.       Yes, it does.

   20     Q.       Okay.   And after reviewing Silvergate's Epaned

   21     patents and Bionpharma's ANDA, have you formed an opinion as

   22     to whether or not Bionpharma's ANDA product infringes the

   23     asserted claims of the '745 and '987 patents?

   24     A.       Yes, I have.

   25     Q.       And I believe you have a slide summarizing your
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     1    opinions, so let's go to 1504.        And can you please walk the

     2    Court through this slide.

     3    A.        So in summary, my opinion is that methylparaben,

     4    propylparaben combination is actually disclosed in the

     5    common specification and it's therefore dedicated to the

     6    public.

     7                      Silvergate is estopped because it narrowed the

     8    claims during prosecution to require sodium citrate.

     9                      And Silvergate is further estopped because it

   10     disclaimed formulations beyond the claims in the, in

   11     arguments before the Patent and Trademark Office.

   12                       Factual defenses.   Maleic acid sodium maleate

   13     alleged in the, that is alleged to be buffer in the

   14     Bionpharma product is not equivalent to the buffer

   15     limitations in the patent.

   16                       And the methylparaben, propylparaben

   17     preservative system is not equivalent to the sodium benzoate

   18     limitations in the patent.

   19     Q.        Okay.    Let's first discuss your opinions regarding

   20     the first legal defense Bionpharma has raised, disclosure

   21     dedication.

   22                       Please turn to PTX-3, the '745 patent, in your

   23     exhibit binder.

   24                       Now, is it your understanding that Silvergate's

   25     Epaned patents share a common specification?
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     1    A.       Yes, that's correct.

     2    Q.       Okay.   And do all of the claims require a specific

     3    preservative?

     4    A.       Yes, they do.    They require sodium benzoate at

     5    specific concentrations.

     6    Q.       Okay.   And I believe you testified a few minutes ago

     7    that Bionpharma's ANDA product uses methylparaben and

     8    propylparaben; is that correct?

     9    A.       That's correct, yes.

   10     Q.       Not the claimed sodium benzoate; is that correct?

   11     A.       That's correct, yes.

   12     Q.       Okay.   Let's find out what the common specification

   13     tells us about preservatives for use in the claimed

   14     formulations.     Please turn to column ten at line 11 of the

   15     specification.

   16     A.       I'm there.

   17     Q.       And what does this section of the specification tell

   18     us?

   19     A.       Well, line 11 is sort of the subtitle of this section

   20     and it's talking about preservatives in enalapril oral

   21     liquid formulations and then it gives a list of exemplary

   22     preservatives that includes antimicrobial analysis,

   23     antioxidants and other things, but it also shows that it

   24     includes parabens such as methylparabens, ethylparabens,

   25     propylparabens and butylparabens and their salts and also
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     1    sodium benzoate.

     2    Q.       Okay.   What type of background knowledge would a

     3    person of ordinary skill in the art have about methylparaben

     4    and propylparaben prior to reading this portion of the

     5    specification?

     6    A.       They would know that the methylparaben and

     7    propylparaben are the most commonly used parabens and they

     8    are most often used together.

     9    Q.       Okay.   Let me stop you right there.       What is that

   10     opinion based on?

   11     A.       My experience of nearly 40 years as a formulation

   12     scientist and also the literature.

   13     Q.       Have you formulated pharmaceutical liquid

   14     formulations using paraben preservatives?

   15     A.       Yes, I have.

   16     Q.       Methylparaben and propylparaben in particular?

   17     A.       Yes, I have.

   18     Q.       Okay.   I understand we're going to get into this a

   19     little bit, in a little bit more depth later on, but why

   20     were methylparaben and propylparaben almost always used

   21     together or often used together?

   22     A.       Because they have complementary physical and

   23     antimicrobial properties.

   24     Q.       Okay.   And I understand you've prepared a slide

   25     comparing the structures of methylparaben and propylparaben
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     1    and sodium benzoate, so let's turn to DDX-1506.

     2                     What can you tell us as to why methylparaben --

     3    what else can you tell us as to why methylparaben and

     4    propylparaben were always -- were often used together?

     5    A.       Well, as you can see, the methylparaben and

     6    propylparaben are alkyl esters of parahydroxy benzoate

     7    acid.

     8                          And the thing about the paraben esters is

     9    that as you increase the chain lengths of the alkyl chain,

   10     the activity increases, but the solubility decreases.            So

   11     they are often used together because a methylparaben is more

   12     soluble but less active and the propylparaben is less

   13     soluble but more active.

   14                      Sodium benzoate, on the other hand, is just

   15     simple salt benzoic acid.       And I would also note that if the

   16     esters of the parabens are hydrolyzed, which can happen, the

   17     hydroxybenzoic acid is almost without antimicrobial

   18     activity, so they're rather different.

   19     Q.       Okay.    You mentioned that your -- you mentioned that

   20     your opinion on methylparaben and propylparaben being

   21     commonly or often used together is based on your own

   22     professional experience and also the literature, so let's

   23     take a look at some of the literature.

   24                      Please turn to DTX-1095 in your exhibit binder.

   25     Can you identify this document for the Court?
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     1    A.       Yes.    This document is the methylparaben entry

     2    from the Handbook of Pharmaceutical Excipients, Eighth

     3    Edition.

     4    Q.       Okay.    What is the Handbook of Pharmaceutical

     5    Excipients?

     6    A.       The Handbook of Pharmaceutical Excipients is a well

     7    recognized reference work on excipients.          The First Edition

     8    was published in 1986.       This Eighth Edition was published in

     9    2017.    There was a Ninth Edition published in November last

   10     year, actually, and there's also an online version

   11     available.      But it's generally a standard reference for

   12     formulation groups and formulation scientists.

   13     Q.       Are you a contributor to the Handbook of

   14     Pharmaceutical Excipients?

   15     A.       Yes, I am.    I'm also on the international steering

   16     committee for the handbook.

   17     Q.       And if you turn to the actual entry for

   18     methylparaben and look at the second paragraph in

   19     Section 7, does this paragraph in any way relate to your

   20     opinion on this issue?

   21     A.       Yes, it does, because it says in the bottom part of

   22     the, starting at antimicrobial, antimicrobial activity

   23     increases as the chain length of the alkyl moiety is

   24     increased, but aqueous solubility decreases; therefore, a

   25     mixture of parabens is frequently used to provide effective
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                                    Buckton - cross

     1    preservation.

     2    Q.       And if you look at the last paragraph in Section 7,

     3    what does this tell us?

     4    A.       This is telling us that methylparaben compare plus

     5    propylparaben has been used in the preservation of various

     6    parenteral pharmaceutical formulations and these parenteral

     7    formulations are liquid formulations, aqueous liquid

     8    formulations.

     9    Q.       And does that further impacted your opinion

   10     about methylparaben and propylparaben being often used

   11     together?

   12     A.       Yes.   It shows that they are frequently used

   13     together.

   14     Q.       If you turn -- please turn to DTX-1096 in your

   15     exhibit binder.     Can you identify this document for the

   16     Court?

   17     A.       Yes.   This is the propylparaben entry from the same

   18     edition of the handbook.

   19     Q.       And if we actually go to the entry in Section 7, does

   20     it also mention that propylparaben and methylparaben were

   21     used together in certain liquid formulations?

   22     A.       Yes, it's does.     It shows exactly the same type of

   23     information that was in the methylparaben entry and it also

   24     directly refers back to the methylparaben entry.

   25     Q.       Let's go back to the common specification of the '745
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                                    Buckton - cross

     1    patent, PTX-3.      And I would like to direct your attention

     2    specifically to column 12.

     3    A.       Okay.

     4    Q.       If you look at the first three full paragraphs in

     5    that column, what is the specification -- what does this

     6    portion of the specification tell the person of ordinary

     7    skill in the art?

     8    A.       It tells that in some embodiments, sodium benzoate is

     9    present in about a certain concentration as an oral --

   10     sorry, as an antimicrobial preservative.          And then in the

   11     third paragraph, it says in some embodiments, the

   12     preservative is a paraben and some embodiments, there's a

   13     mixture of parabens.      And then it goes on to give a list of,

   14     a list of concentrations.

   15     Q.       Okay.    Let's look at DDX-1507, where I believe you

   16     have the formulation of Bionpharma's ANDA product excerpted.

   17                      What is the concentration of methylparaben and

   18     propylparaben in Bionpharma's ANDA product?

   19     A.       The concentration of the both combined is

   20     1.26 milligrams per milliliter.

   21     Q.       And if you go back to Column 12 in the, in the second

   22     full paragraph, where I believe you testified it provided

   23     exemplary concentrations.

   24     A.       I think it's the third, the third full paragraph.

   25     Sorry.    Let's have a look.
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     1    Q.        Yes, you're right.    I apologize.     It is.

     2                   Is the total concentration of methylparaben and

     3    propylparaben that is used in Bionpharma's ANDA product,

     4    does that fall within any of the ranges described in that

     5    paragraph?

     6    A.        It falls -- yes, it falls in or between about

     7    1.2 milligrams per mL and about 1.3 milligrams per mL.

     8    Q.        Does this in any way support your opinion based on

     9    the disclosure dedication doctrine?

   10     A.        Yes, it does.    Because it shows that not only were

   11     the combination of parabens specifically mentioned, but also

   12     the concentration of the parabens as well was mentioned.

   13                    And they weren't claimed.

   14     Q.        Have you reviewed the examples in the common

   15     specification?

   16     A.        Yes, I have.

   17     Q.        Do they further support your opinion on this topic?

   18     A.        Yes, they do.

   19                    MR. ALUL:    Let's turn to Example C in Columns 33

   20     and 34.

   21     BY MR. ALUL:

   22     Q.        What does this example tell us?

   23     A.        Well, it tells us that Silvergate investigated

   24     formulations containing propyl -- methylparaben and

   25     propylparaben as their sodium salts.         And that the -- so
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     1    they did know about them, yes.

     2    Q.       Does the fact that methylparaben and propylparaben

     3    are used as sodium salts in the example formulations detract

     4    from your opinion that methylparaben and propylparaben

     5    themselves, the free acids, are disclosed and dedicated?

     6    A.       No, it does not.

     7    Q.       Why does it not?

     8    A.       Because they added them as sodium -- as sodium salts,

     9    which if you look at the pH, the measured pH is somewhere in

   10     the range 3.7 to 4.6.       And that those pHs, the

   11     methylparaben, propylparaben would be present as free acids,

   12     not the sodium salts.

   13     Q.       Do you understand that Silvergate's expert, Dr.

   14     Byrn, criticized you yesterday and today, in particular

   15     your reliance on the Example C formulations, because those

   16     formulations use sodium salts of methylparaben and

   17     propylparaben and not the non-salt or free acid compounds?

   18     A.       Yes, and I respectfully disagree.        Because I think he

   19     would recognize that at the pH that we're talking about,

   20     they would have been present as the free acids, not the

   21     salts.

   22     Q.       Do you understand that Silvergate's expert, Dr. Byrn,

   23     has criticized your reliance on the Example C formulations

   24     because those formulations each contain an additional

   25     preservative, either potassium sorbate or sodium benzoate?
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     1    A.       Yes, I do understand that.

     2    Q.       And do you have a response to that criticism?

     3    A.       Yes.    I disagree, respectfully.      There is nothing in

     4    the specification which says that the parabens have to be

     5    used with another preservative.

     6    Q.       And are you reading Example C in conjunction with

     7    other portions of the specification?

     8    A.       Yes.    Because we're told, I think it was Column 12,

     9    that -- at Column 10 and Column 12 that parabens were

   10     acceptable preservatives, and that at Column 12, in some

   11     embodiments, we could have a combination of parabens as

   12     preservative.

   13                      And so you add that into the equation, and --

   14     but they say -- they don't say that the parabens must be

   15     combined with any other preservative.

   16     Q.       Okay.

   17                      THE COURT:   Was that the end of disclosure

   18     dedication for now?

   19                      MR. ALUL:    I just have one -- I was just going

   20     to have him summarize it, Your Honor, but this is a good

   21     breaking point.      So this is perfectly fine.

   22                      THE COURT:   You can have him summarize if you

   23     want.    That's fine.

   24     BY MR. ALUL:

   25     Q.       Okay.    Dr. Moretan, I believe your slide 1508
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     1    summarizes your opinions on this issue.            If you could please

     2    provide that summary to the Court?

     3    A.       Yes.   So it's my opinion that

     4    methylparaben-propylparaben combination is specifically

     5    disclosed in the common specification as a suitable

     6    alternative to sodium benzoate.

     7                    A methylparaben and propylparaben preservative

     8    combination is not claimed.

     9                    And, therefore, formulations with the

   10     methylparaben-propylparaben preservatives are dedicated to

   11     the public.

   12                     MR. ALUL:    Okay.       Your Honor, at this point we

   13     can unseal the courtroom because my questioning after lunch

   14     is going to be not implicating Bionpharma's confidential

   15     formulation information.

   16                     THE COURT:       Okay.   Ms. Devine, any issue?

   17                     MS. DEVINE:      No issue.

   18                     THE COURT:       Okay.   We'll bring the public back

   19     in, and then we'll take our break.

   20                     (Sealed portion ends.)

   21                                  *      *      *

   22                     THE TRIALanywhere HOST:        The courtroom is sealed.

   23                     THE COURT:       Okay.   Thank you.

   24                              DIRECT EXAMINATION

   25     BY MR. ALUL:
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     1    Q.       Dr. Byrn --

     2                     THE COURT:   That's not Dr. Byrn.

     3                     MR. ALUL:    I'm sorry.   I was going to -- sorry

     4    about that.      Thank you, Your Honor.

     5    BY MR. ALUL:

     6    Q.       Dr. Moretan, you're aware that Silvergate's expert,

     7    Dr. Byrn, has opined in this case that amendment-based

     8    estoppel should not apply because the rationale underlying

     9    Silvergate's amendment to include sodium citrate into the

   10     claims were no more than a tangential relation to the maleic

   11     acid, sodium maleic buffer that Dr. Bryn alleges is present

   12     in Bionpharma's ANDA product; correct?

   13     A.       Yes, I am aware of that.

   14     Q.       Do you have an opinion in response to that?

   15     A.       I respectfully disagree with him.

   16     Q.       And why do you disagree with him?

   17     A.       Because in my opinion, the amendment is fundamental

   18     to the whole issue.      And the, the whole point is that the

   19     claimed inventions had an additional buffer over and above

   20     whatever else was there because in -- if it's -- let me

   21     start again.

   22                      The whole issue is down to whether or not the

   23     claims required a buffer over and above whatever else was in

   24     the formulation.      And they clearly do.

   25     Q.       Okay.    Let's go to -- I'm going to go jump back into
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                                    Moretan - direct

     1    your slide deck at DDX-1512, which summarizes your

     2    noninfringement opinions.

     3                     I believe the next one you've given is in

     4    connection with the legal defense Bionpharma has raised,

     5    which is argument-based estoppel.         Is that correct?

     6    A.       That is correct, yes.

     7    Q.       Okay.    What is that opinion based on?

     8    A.       The amendment we've just been looking at.

     9    Q.       So let's go back to 873 in the prosecution history.

   10                      And I'd like to, I'd like to focus on the

   11     paragraph right below the table.

   12                      And my question is, how would a reasonable

   13     competitor of Silvergate reading this paragraph understand

   14     what Silvergate is saying?

   15     A.       In my opinion, what Silvergate is saying and how the

   16     competitor would interpret this is that they're saying that

   17     the formulation of the present claims has only four

   18     ingredients along with enalapril and water.

   19                      And they also go on to say that moreover,

   20     additional ingredients in the other formulations are not

   21     needed or contemplated in the claimed enalapril liquid

   22     formulations because none of them are needed or necessary

   23     to produce an oral liquid formulation of the present claims

   24     that is stable and homogenous for at least 12 months.

   25                      I think that the competitor would interpret this
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                                    Moretan - direct

     1    that Silvergate is disclaiming anything other than that

     2    formulation containing the four ingredients along with

     3    enalapril and water.

     4    Q.       And if we go back to that paragraph on 874 that we

     5    looked at, the language there starting with "as such," did

     6    that in any way relate to your opinion on argument-based

     7    estoppel as well?

     8    A.       Yes.    Because it supports what I've been saying.

     9    Q.       Okay.    Let's go back to 1514 in your slide deck.

   10                      We can put that Volume 2 of your exhibit binder

   11     aside.

   12     A.       (Witness complies.)

   13     Q.       Okay.    I believe the next two opinions you have given

   14     are in connection with Bionpharma's factual defenses in this

   15     case.    And I believe the first one is in connection with a

   16     buffer limitation; is that correct?

   17     A.       That is correct, yes.

   18     Q.       Okay.    Now, you understand Silvergate's expert,

   19     Dr. Byrn, has testified that although Bionpharma's ANDA

   20     product does not contain citric acid or sodium citrate at

   21     the requisite concentrations, Bionpharma's ANDA product

   22     nonetheless satisfies the buffer limitations because maleic

   23     acid dissociated from enalapril maleate used to prepare

   24     Bionpharma's ANDA product, and sodium hydroxide added during

   25     the formulation process react to form a maleic acid/sodium
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                                    Moretan - direct

     1    maleate buffer system that is insubstantially different from

     2    the buffer limitations.       Correct?

     3    A.       Yes, I understand that is his position.

     4    Q.       Do you have an opinion in response to Dr. Byrn's

     5    opinion on this issue?

     6    A.       I respectfully disagree with Dr. Byrn.

     7    Q.       Okay.    And I believe you prepared some slides

     8    explaining why.

     9                     MR. ALUL:   Let's turn to DDX-1515.

   10     BY MR. ALUL:

   11     Q.       Can you please provide the Court with a brief

   12     overview of the reasons why you disagree with Dr. Byrn's

   13     opinion other buffer limitation?

   14     A.       Well, first, Dr. Byrn provided no evidence that

   15     maleic acid completely dissociates from enalapril and -- or

   16     that the sodium hydroxide completely reacts with maleic

   17     acid.

   18                      And, secondly, even if Dr. Byrn is correct

   19     regarding the presence of maleic acid/sodium maleate,

   20     it does not serve substantially the same financial in

   21     substantially the same way to achieve substantially the

   22     same result as the claimed buffer.

   23                      And maleic acid/sodium maleate is substantially

   24     different from the claimed buffer.

   25     Q.       Okay.    Now, I understand you've prepared a few slides
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     1    to provide the Court with a brief tutorial regarding the

     2    basics of pharmaceutical liquid formulations, acid-based

     3    chemistry, and buffers.       Is that correct?

     4    A.       That is correct, yes.

     5                    MR. ALUL:   Let's turn to slide 1516.

     6    BY MR. ALUL:

     7    Q.       Can you please provide the Court with an overview of

     8    liquid formulations and any considerations that are specific

     9    to liquid formulations that pharmaceutical formulators take

   10     into account.

   11     A.       Yes.   So we want to provide a stable bioavailable

   12     formulation that is easy to administer either by the patient

   13     or to the patient by a caregiver.

   14                     We want to have a vehicle, and that mostly is in

   15     terms of oral formulations a water-based vehicle, but it

   16     could contain cosolvents as well.

   17                     It will necessarily contain a preservative if

   18     it's a, what we call a multiple-dose container, so that

   19     there is more than one dose in the container, because

   20     although the preparations are not required to be sterile,

   21     the patients can accidently contaminate their medicines

   22     during use.     And so the preservative would mop up any

   23     stray microbes that would get in there.

   24                     There would probably be a buffer to maintain pH.

   25                     There would be probably a sweetener and/or
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     1    flavoring agent to mask the taste.

     2                     And then antioxidants would be included if

     3    necessary to reduce oxidated degradation.

     4                     And a humectant would be included to prevent the

     5    formulation from drying out.

     6    Q.        Let's look at the asserted claims for a second.

     7                     MR. ALUL:   Let's jump back to PTX-3, the '745

     8    patent.

     9    BY MR. ALUL:

   10     Q.        Now, I believe you testified earlier that all three

   11     asserted claims, 4, 7, and 10, depend from claim 1.            My

   12     question is, does claim 1 require any of the excipients you

   13     just mentioned?

   14     A.        Yes.   It requires a buffer, which is the citric

   15     acid/sodium citrate limitation.

   16                      It also requires a preservative, which is the

   17     sodium benzoate limitation.

   18                      And it also requires water, which is a vehicle.

   19     Q.        Can the formulations of the asserted claims of the

   20     '745 and '987 patents contain some of the other ingredients

   21     you mentioned that are often used in pharmaceutical liquid

   22     formulations?

   23     A.        Yes.   It's my understanding that using the term

   24     "comprising" in the -- in claim 1 means that the other

   25     materials can be included in the formulation and even --
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     1    even greater quantities of the components already listed.

     2    Q.       Okay.    So let's focus on the buffer limitations of

     3    the asserted claims because Silvergate is accusing

     4    Bionpharma's ANDA product of having an equivalent to this

     5    limitation.

     6                     Can you provide us with more insight on what a

     7    buffer is and why it is needed?

     8                     MR. ALUL:   And I believe you have some

     9    demonstratives on this, so let's go to DDX-1517.

   10     BY THE WITNESS:

   11     A.       So yes.    So if we start at the beginning, acids are

   12     generally substances that ionize in water and capable of

   13     donating hydrogen ions.

   14                      Bases are generally substance that's ionize in

   15     water to accept, and can accept hydrogen ions.

   16                      An acids and bases can combine to form a salt.

   17                      MR. ALUL:   Okay.   Let's go to your next slide,

   18     1518.

   19     BY THE WITNESS:

   20     A.       Here, we look at the neutralization reaction.          So

   21     we're reacting an acid, hydrochloric acid, with a base,

   22     sodium hydroxide quantitatively with each other, to form

   23     water and a salt.      Salt being the sodium chloride.

   24                      And this is a strong acid and a strong base, and

   25     they neutralize each other.
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     1                   MR. ALUL:    Okay.   I believe your next slide is

     2    1519.

     3    BY THE WITNESS:

     4    A.       So -- excuse me.

     5                   Here, we look at the pH scale, and the pH scale

     6    is a measure of the acidity or bases to an alkalinity of a

     7    solution.

     8                   It starts at 0 and it finishes at 14.         And so

     9    low numbers, it's more acidic; high numbers, it's more

   10     alkaline; and neutral is taken at pH 7.          That's the -- the

   11     bases of the scale.

   12                    And I think as Dr. Buckton mentioned, pH is the

   13     minus the log of the hydrogen ion concentration, and it was

   14     introduced by Sorenson to make the -- describing acidity and

   15     bases easier.

   16                    Buffering agents are simply, they maintain the

   17     pH of the liquid in the formulation.

   18                    MR. ALUL:    Okay.   Let's jump to 1520.

   19     BY MR. ALUL:

   20     Q.       Can you explain what is on this slide?

   21     A.       It is -- sorry.

   22     Q.       No, please.    No, proceed, please.

   23     A.       So here, we have a buffer system and buffers are

   24     traditionally weak acid in their conjugate bases, not really

   25     strong acids or strong bases.
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     1                      So we have here the dissociation of a weak acid

     2    into its hydrogen ion and its conjugate base.

     3                      So H goes to H+ and A-.   A- is the conjugate

     4    base, H+ is a hydrogen ion.

     5                      And then below that we have the

     6    Henderson-Hasselbalch Equation which relates pKa to --

     7    sorry, pH to pKa, pKa is a measure of the strength of the

     8    acid and the log of the ratio of the conjugate base divided

     9    by the amount of weak acid that is present in the system at

   10     that pH.

   11     Q.        Okay.    I believe you have some literature supporting

   12     your opinions on pH and buffers; is that correct?

   13     A.        That's correct, yes.

   14     Q.        Let's turn to DTX-1086 in your exhibit binder.         Can

   15     you please identify this reference for the Court?

   16     A.        Yes.    This is a reference from a textbook, Elements

   17     of Physical Chemistry by Drs. Glasstone and Lewis, and it

   18     relates to and it describes buffers and pH and what -- how

   19     the -- the optimum pH for a buffer.         Sorry.   PKa for a

   20     buffer.    Apologies.

   21     Q.        And what is that optimum pKa for a buffer?

   22     A.        The optimum pKa for a buffer is pH within plus or

   23     minus one unit, one pH unit of the pKa of the acid or base.

   24     Q.        Now, if you turn to, and I'm going to use the DTX

   25     numbers on the bottom right-hand corner.          If you turn to
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     1    DTX-4.

     2                   Did this portion of the document in any way

     3    relate to your opinion on this issue?

     4    A.       Yes, it does.    It describes buffer capacity and it

     5    states that buffer capacity is a maximum in a solution

     6    containing equivalent amounts of a weak acid and the weak

     7    base and its salt, and it falls off as the ratio of salt to

     8    acid changes in either direction.

     9                           And then it then goes on to describe

   10     further down, it follows therefore from the equation 53.17,

   11     which is just above, that a particular acid can be employed

   12     for making the useful buffer solutions of pH lying within

   13     the range of pKa minus one to pKa plus one, and then goes on

   14     to give some examples.

   15     Q.       Were you present for Dr. Byrn's testimony yesterday

   16     and this morning?

   17     A.       Yes, I was.

   18     Q.       Did you -- did you hear his testimony today opining,

   19     where he opined that a weak acid can serve as a useful

   20     buffer if the pKa of its acidic hydrogen is within plus or

   21     minus two of the pH of the liquid formulation?

   22     A.       Yes, I did.

   23                            TRIALanywhere HOST:    I'm sorry to

   24     interrupt.     Plaintiffs' video feed to the conference has

   25     been disconnected.      I'm trying to get them back on as soon
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     1    as possible.

     2                   THE COURT:    Okay.

     3                   (Pause.)

     4                   MS. DEVINE:    I apologize, Your Honor.       We're

     5    back.

     6                   THE COURT:    Okay.   Great.   Mr. English, you're

     7    there.    Right?

     8                   TRIALanywhere HOST:     Yes, sir.

     9                   THE COURT:    Does everyone seem okay from your

   10     perspective?

   11                    TRIALanywhere HOST:     Yes.   There's a slight

   12     echo.

   13                    MS. DEVINE:    Is the echo still there or is it

   14     gone?    It may have been because the door was opening.          Sorry

   15     about that.     Even though no one has worked in this office

   16     for a year, apparently, there's still automatically

   17     scheduled meetings that we weren't aware of.           Apologies.

   18                    THE COURT:    All right.    Mr. Alul, I suggest you

   19     ask the question again where you left off.

   20                    MR. ALUL:    Sure, Your Honor.

   21     BY MR. ALUL:

   22     Q.       Dr. Moreton, you were present during Dr. Byrn's

   23     testimony yesterday and this morning; is that correct?

   24     A.       Yes, I was.

   25     Q.       Did you hear Dr. Byrn opine that in his view, a weak
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     1    acid can serve as a useful buffer if the pKa of its acidic

     2    hydrogen is within plus or minus two of the pH of the

     3    formulation?

     4    A.       Yes, I did.

     5    Q.       Do you have any views on that opinion?

     6    A.       Yes.    I respectfully disagree with Dr. Byrn and here

     7    it's highlighted that pH of 2, plus or minus two, is too far

     8    away in my opinion to provide an effective buffer at, for a

     9    particular pH.

   10     Q.       Okay.   Let's turn to DTX-1087 in your binder.         Do you

   11     recognize this reference?

   12     A.       Yes.    This is an excerpt from another textbook by Dr.

   13     Harris exploring chemical analysis, and it goes into some

   14     detail of what buffers are and how they function and methods

   15     of measuring buffer capacity and the like.

   16     Q.       Can you turn to DTX-1087-11, page 11?         I'm using the

   17     DTX numbers.

   18     A.       Yes.

   19     Q.       And do you see where it says Section 9-5, buffer

   20     capacity?

   21     A.       Yes, I do.

   22     Q.       Can you explain to the Court what that is?         And I

   23     believe you have a slide, a particular slide on this as

   24     well, so let's go to that.       Let's go to 1521.

   25     A.       So this is -- Section 9.5 is describing buffer
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     1    capacity, and buffer capacity defines the amount of strong

     2    acid base that the buffer system can absorb before the pH of

     3    the buffer solution changes significantly.          And we use the

     4    Van Slyke equation to measure or to estimate buffer

     5    capacity, rather, and so beta is a buffer capacity.            C is

     6    the buffer species concentration.         And more buffer species,

     7    the greater the buffer capacity.

     8    Q.       And just sort of a practical consideration, are

     9    buffers included in liquid pharmaceutical products primarily

   10     to neutralize any acid or base that is added to the

   11     formulation after it's prepared, bottled and sealed?

   12     A.       No, they're not.     The reason buffers are included is

   13     that, particularly solution formulations are typically very

   14     complex systems, and things can change over time, and it may

   15     be that an excipient degrades slightly and produces acid

   16     moieties, which would, or basic moieties, which would shift

   17     a pH if there wasn't a buffer there.

   18     Q.       Can we go back to Harris DTX-1087 and look at page 12

   19     right in the middle, the paragraph starting with "In

   20     choosing a buffer," right in the middle?

   21     A.       Yes.

   22     Q.       There you go.

   23     A.       Yes.   So, again, this is Dr. Harris explaining that

   24     when you shoes a buffer, you are going to choose one where

   25     the pKa is close as possible to the desired pH, and the
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     1    useful pH range of the buffer is approximately pKa plus or

     2    minus one pH unit, and that supports the excerpt from

     3    Glasstone and Lewis textbook earlier.

     4    Q.       What about the sentence right below it?         Can you

     5    explain what the author is saying there?

     6    A.       Yes.   So it says very clearly, outside this range,

     7    there is not enough of either the weak acid or the weak base

     8    to react with acid -- added base or acid, because, you know,

     9    because if you don't have enough of the acid there, if you

   10     add more acid or more base or whatever, you just don't get

   11     the -- you exceed the capacity of the buffer system and then

   12     the pH starts to change markedly.

   13     Q.       I believe you had some prior art literature that

   14     discusses how buffer capacity is sometimes quantified; is

   15     that correct?

   16     A.       Yes, I do.

   17     Q.       Let's turn to DTX-1080 in your exhibit binder.          Can

   18     you identify this reference for the Court?

   19     A.       Yes.   This is an excerpt from another book by Dr.

   20     Chang, physical chemistry textbook with applications to

   21     biological systems and it describes buffers and buffer

   22     capacity.

   23     Q.       All right.    And can you turn to DTX-1081 in your

   24     exhibit binder.     Can you identify this reference for the

   25     Court?
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     1     A.      Yes.    This is a paper by Dr. Chiriac and Dr. Balea,

     2     where it discusses buffer index and buffer capacity for a

     3     simple buffer capacity and goes into some detail as to how

     4     you measure them.

     5     Q.      Okay.    I believe you had some additional slides on

     6     the concept of buffering and buffer capacity.          Let's turn to

     7     DTX-1512 in your slide deck.       I'm sorry.    1522.    I

     8     apologize.

     9                     Can you explain for the Court what you have

    10     here?

    11     A.      Yes.    So what we have here is a titration curve for a

    12     buffer system and the slight equation is on the right.            But

    13     if you look in the green box, as you start around pH of 4.5,

    14     there's a buffer, and then you add an amount of strong base

    15     added, and as you add it, it changes a little bit and then

    16     eventually, around about when it gets to about pH 5.5, maybe

    17     6, all of a sudden the amount of buffer is no longer

    18     sufficient to maintain the pH in the required region and the

    19     pH shoots up dramatically within very small changing,

    20     addition of buffer, and the, you know, because the buffer is

    21     exhausted at that lower pKa.

    22     Q.      Okay.    Let's turn to 1523 in your slide deck.        Can

    23     you explain to the Court what you have here?

    24     A.      Yes.    This is simply explaining what -- why pH only

    25     increases by a small amount, because the ratio is dampened
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     1     by the log factor in the Henderson-Hasselbalch equation.             So

     2     remember a change in pH of 1 on a log scale is a tenfold

     3     change.    PH change of two is a hundred fold change.

     4     (1 word) and, you know, I'm going all the way down to pH,

     5     you know, a log scale -- sorry, a log change of seven would

     6     be a 10 million fold change.       (1 word).

     7     Q.        Okay.    Let's turn to 1524 in your slide deck.      Can

     8     you explain for the Court what you have here?

     9     A.        Yes.    This is really illustrating the concept of

    10     buffer capacity and here, on the left hand curve is the one

    11     that we saw two slides ago, and that was a relatively small

    12     amount of buffer.       But as we increase the amount of buffer,

    13     it's the same buffer.       As we increase the amount of buffer,

    14     it takes more and more -- greater and greater volume of

    15     strong base to change the pH.       And whether we get down to

    16     curve E right at the bottom to the right, you see that the

    17     pH does not begin to change for quite a while, until

    18     gradually, very gradually, it changes, and at the end, when

    19     it hits the side of the graph, it may be just going to go

    20     towards the steep part of the curve.

    21                       But this is just differences in the

    22     concentration of the buffer, what we call the concentration

    23     of buffer species.       And so the more, the greater the

    24     concentration of buffer species, the more the system can

    25     absorb and the more, the better the buffer will protect
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     1     against the addition of the base.

     2                     MR. ALUL:   Let's go to 1525 in your slide deck.

     3     It's the excerpt of Bionpharma's formulation.

     4     BY MR. ALUL:

     5     Q.      You see where it says that the formulation contains

     6     hydrochloric acid and sodium hydroxide?

     7     A.      Yes, I do.

     8     Q.      Are those acids and bases?

     9     A.      Hydrochloric acid is a strong acid.         Sodium hydroxide

    10     is a strong base.

    11     Q.      Are they also buffers?

    12     A.      No, not in their own right.       They are added -- they

    13     are used to adjust the pH, and they would -- one or other

    14     would be used.     They wouldn't both be used.       And they are

    15     there in pure S, which is quantum satis, which is -- that's

    16     the Latin term for a sufficient quantity.          So you only add

    17     enough just to get the pH, the correct pH.

    18                     MR. ALUL:   Okay.   Let's go to 1526 in your slide

    19     deck, the reasons why you disagree with Dr. Byrn's opinion

    20     on whether Bionpharma's ANDA product contains an equivalent

    21     buffer -- contains an equivalence to the buffer limitation.

    22     BY MR. ALUL:

    23     Q.      I'd like to focus on the first reason you disagree

    24     only.

    25     A.      Okay.    So yes.
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     1     Q.       Yeah, I was just going to say.       If you can explain,

     2     can you explain in detail the first reason you have given

     3     for disagreement?

     4     A.       Well, Dr. Byrn didn't provide any evidence that the

     5     maleic acid completely dissociates from enalapril, or that

     6     the sodium hydroxide reacts completely with maleic acid and

     7     only with maleic acid.

     8                     (Pause.)

     9                     MS. DEVINE:    Is he still there?

    10                     THE COURT:    Is there an issue?

    11                     MR. ALUL:    I'm sorry.

    12                     Let's go to DTX-1092.

    13                     I apologize.   I was on mute, Your Honor.

    14                     MS. DEVINE:    Oh.   I'm thankful that it's not us

    15     again.

    16                     MR. ALUL:    All right.   Let's go to DTX-1092.

    17     BY MR. ALUL:

    18     Q.       Dr. Moretan, do you recognize this document?

    19     A.       Yes.   It's a copy of a development report for the

    20     Bionpharma enalapril maleate oral solution.

    21     Q.       What is a development report?

    22     A.       A development report is something that is filed

    23     together with the ANDA and describes how the product was

    24     developed, what -- the justification for the choice of

    25     excipients, explains how the manufacturing process was
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     1     developed, and it also probably provides -- or most of

     2     the ones I've seen provide stability information to show

     3     that the material joint development was designed to be

     4     stable.

     5                      MR. ALUL:    Let's go to -- and I'm going to use

     6     the DTX page numbers on the bottom.        Let's go DTX-50.

     7     BY MR. ALUL:

     8     Q.        Can you describe what this portion of the document

     9     is?

    10     A.        Yes.   So this is a manufacturing process overview, a

    11     process flow for the manufacture of the Bionpharma enalapril

    12     oral solution.

    13     Q.        And when is sodium hydroxide added during the

    14     formulation process for Bionpharma's ANDA product?

    15     A.        It's added just before the final dilution to weight

    16     or to volume.      And so it's -- they would either sodium

    17     hydroxide or hydrochloric acid to get to the pH which is 3.2

    18     to 3.4.

    19     Q.        Does this in any way have any relevance to the -- to

    20     your opinion on this issue?

    21     A.        Yes, it does.      Because it shows that when the acid or

    22     base is added, all the other components were in the

    23     formulation, and that the only thing that was missing was

    24     the final small quantity of water.

    25                      MR. ALUL:    I think you have a slide on this
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     1     particular issue.     It's DDX-1527.

     2     BY MR. ALUL:

     3     Q.      Can you explain to the Court what you have here?

     4     A.      Yes.    Well, what I'm trying to describe here is the

     5     fact that when sodium hydroxide is added or acid for that

     6     matter is added to the formulation, there are other

     7     components present which may interact with the, with the

     8     sodium hydroxide.

     9                    Yes, there is maleic acid.      But there is also

    10     enalapril itself which has a carboxyl acid group, and pKa is

    11     around about 2.97, I believe.

    12                    The mixed berry flavor may contain materials

    13     that -- or substances that would interact with sodium

    14     hydroxide.     We don't know because it's a proprietary

    15     form- -- excuse me, formulation.

    16                    Methylparaben and propylparaben may also

    17     interact but probably to a lesser extent because of the pH.

    18     Q.      How does this all, how does this all relate to your

    19     opinion that Dr. Byrn's assertion of an appreciable maleic

    20     acid/sodium maleate buffer in Bionpharma's ANDA product is

    21     unsupported?

    22     A.      Well, the point is that the pH of the system is pH 3

    23     to -- well, 3.3 approximately.

    24                    And maleic acid is a strong base, a strong acid,

    25     a stronger acid than even citric acid.
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     1                    Enalapril has its own acidic function.

     2                    And pKa is somewhere in the correct ballpark.

     3                    So Dr. Byrn hasn't really been able to provide

     4     any shred of information that maleic acid and sodium

     5     hydroxide are the only interacting species.          And if they

     6     aren't the -- they are all -- the only interacting species,

     7     then his whole argument about the buffer changes and

     8     becomes -- the amount of material that he alleges is present

     9     in the buffer is much reduced.

    10     Q.      And would that impact whether or not the buffer is a

    11     properly functioning buffer?

    12     A.      Well, it would react -- it would impact the amount of

    13     buffer and buffer species, so the amount of buffer activity

    14     that was present.     But it was also possibly impact the way

    15     that the whole formulation is acting.

    16                    MR. ALUL:   I'd like to turn to -- back to the

    17     development report we were looking at, DTX-1092; and in

    18     particular, with the portion that Dr. Byrn relies on to

    19     support his opinion regarding presence of a maleic

    20     acid/sodium maleate buffer system in Bionpharma's ANDA

    21     product.

    22                    It's formulation development study 3.        And it's

    23     at DTX-44 and 45 and DTX-1092.

    24     BY MR. ALUL:

    25     Q.      Do you have an opinion as to whether this study
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     1     proves the presence of a maleic acid sodium maleate buffer

     2     system in Bionpharma's ANDA product as Dr. Byrn alleges?

     3     A.      Yes, I do have an opinion.       I don't think it really

     4     supports Dr. Byrn's allegation.

     5     Q.      And why is that?

     6     A.      Sorry.    Go ahead.

     7     Q.      No, please, proceed.      Go ahead.

     8     A.      One thing, the study was just a study of enalapril

     9     maleate in simple water solution.        And it was actually twice

    10     the concentration of the enalapril maleate in the, in the

    11     finished product that we're talking about.

    12                   So there was more buffer there than -- if

    13     Dr. Byrn is to be believed, there was more buffer there than

    14     in the actual formulation.

    15                   Secondly, the whole -- as I've mentioned in my

    16     previous slide, the whole thing is that there are other

    17     components in the formulation that can interact with sodium

    18     hydroxide.

    19                   So this titration curve bears probably -- in my

    20     opinion bears little relation to reality and doesn't support

    21     Dr. Byrn's contention or allegation.

    22     Q.      Just for clarity, in this study design, it describes

    23     the actual experiment.      Is that correct?

    24     A.      Yes, it does.

    25     Q.      So what was added here, 2.084 milligrams per
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     1     milliliter of enalapril maleate in 15 ohms of water.

     2                     Was there anything else added?

     3     A.      No, that was it.     Then it was just adding in the

     4     base, or titrating the base, from the initial pH to pH 6

     5     using two normal sodium hydroxide, which is a concentrate --

     6     a standard concentration of strong base.

     7     Q.      So there weren't any other components or excipients

     8     in this experiment; is that correct?

     9     A.      That's correct, yes.

    10     Q.      Okay.    If you look at the top of 45, you see this

    11     curve that Dr. Byrn relied on yesterday and today.

    12                     Do you think this curve proves the presence of

    13     a appreciable maleic acid/sodium maleate buffer system in

    14     Bionpharma's ANDA product?

    15     A.      No, I don't.     Because as I said, the enalapril itself

    16     has a pKa around -- I think it's 2.97, and so that would

    17     kick in as well.

    18                     So this, this could be enalapril, it could be

    19     a combination of enalapril/maleic acid.         It could be a

    20     combination of enalapril and maleic acid and other

    21     components in the formulation which we don't know about.

    22     Q.      Okay.    Just for clarity, though, this titration curve

    23     doesn't represent -- the solution that was tested doesn't

    24     have any other excipients; correct?

    25     A.      No, it doesn't.
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     1     Q.      Okay.    Didn't this study conclude that the API does

     2     impact some buffering capacity?

     3     A.      Yes, it does.     It actually mentions that in the

     4     conclusions.

     5     Q.      Do you think that supports Dr. Byrn's allegation

     6     regarding the presence of an appreciable maleic acid/sodium

     7     maleate buffer system in Bionpharma's ANDA product?

     8     A.      No, I don't think it does because he totally ignores

     9     the enalapril component.

    10     Q.      Okay.    Let's go to DDX-1528 in your slide deck.

    11                     I think this summarizes your disagreements with

    12     Dr. Byrn's opinions on the buffer limitation.          Now I'd like

    13     to focus on the second reason you disagree.

    14                     So from here on out, let's just assume Dr. Byrn

    15     is correct regarding the presence of a appreciable maleic

    16     acid/sodium maleate buffer system in Bionpharma's ANDA

    17     product in the amount he says it is.          I think it is

    18     .236 milligrams per milliliter.

    19     A.      Yes.

    20     Q.      Now, you are aware that Dr. Byrn argues that the

    21     maleic acid/sodium maleate in, allegedly in Bionpharma's

    22     ANDA product perform substantially the same function in

    23     substantially the same way to yield substantially the same

    24     result as a buffer limitation; correct?

    25     A.      Yes, I am aware of that.       Yes.
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     1     Q.       Okay.    Let's focus on the function part of that.

     2                      Do you agree with Dr. Byrn that the maleic

     3     acid/sodium maleate he alleges is present in Bionpharma's

     4     ANDA product serves the same function as the buffer

     5     limitations of the asserted claims?

     6     A.       No, I do not.

     7                      MR. ALUL:   Let's -- I think you have a Slide

     8     1529.

     9     BY MR. ALUL:

    10     Q.       If you can explain what you have for the Court here?

    11     A.       Yes.    So buffer function is to maintain pH, which, in

    12     turn, as we've heard, protects enalapril during storage and

    13     also in the stomach beyond any pH maintenance provided by

    14     the maleic acid dissociated from enalapril maleate.           But the

    15     purpose of the maleate salt is to increase solubility of

    16     enalapril.      It's not there to be a buffer.

    17     Q.       Okay.    I'd like to focus on the part of your opinion

    18     regarding the function of the buffer limitations providing

    19     buffering effects beyond any effects provided by dissociated

    20     acid from an enalapril salt.

    21                      MR. ALUL:   Let's go to PTX-3, the '745 patent,

    22     and look at the claims.

    23                      And let's focus on claim 1, the independent

    24     claim.

    25     BY MR. ALUL:
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     1     Q.        Would a person of ordinary skill in the art

     2     understand the enalapril element as including enalapril

     3     pharmaceutically acceptable salts?

     4     A.        Yes, they would.

     5     Q.        Okay.    And a person of skill would understand that to

     6     include an enalapril maleate; correct?

     7     A.        Correct, yes.

     8     Q.        Same for the claims of the' 987 patent?

     9     A.        Yes.    Same for the claims of the '987 patent.

    10     Q.        And, in fact, for the two Epaned patents that

    11     Silvergate brought against Bionpharma, the '008 and '442

    12     patents, do you recall how the enalapril itself was claimed

    13     there?

    14     A.        Yes.    It was the enalapril maleate salt.

    15     Q.        Okay.    Back to claim 1.   Let me just get this

    16     straight.

    17                       Under Dr. Byrn's own theory, for formulations

    18     falling within this claim that use enalapril maleate as

    19     the active ingredient, those claimed formulations would

    20     inherently include a maleic acid/sodium maleate buffer

    21     system?

    22     A.        Yes, they would.

    23     Q.        So let's just play this out for the Court.

    24                       Under Dr. Byrn's own theory, for those

    25     formulations prepared with enalapril maleate, maleic acid
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     1     dissociated from enalapril in the claimed formulation could

     2     react with what to form a buffer?

     3     A.        Sodium citrate, sodium benzoate.

     4     Q.        Okay.    Despite that, despite that under Dr. Byrn's

     5     theory enalapril maleate formulations within the scope of

     6     claim 1 would inherently include a maleic acid/sodium

     7     maleate buffer, Element 2 of claim 1 describes what?

     8     A.        It describes a buffer comprising citric acid at a

     9     range of concentrations and sodium citrate at a range of

    10     concentrations.

    11     Q.        All right.    So by their plain language, does it seem

    12     like the claims themselves require a separate independent

    13     buffer?

    14     A.        Yes, it does to me, yes.

    15     Q.        Okay.    Let's take a look at the common specification

    16     of the '745 patent and I would like to direct your attention

    17     to column 13, starting at line 16.

    18                       Can you explain to the Court what this paragraph

    19     is describing?

    20     A.        Well, this paragraph is describing a pH of enalapril

    21     oral liquid formulations and the buffering agents maintain

    22     the pH of the liquid enalapril formulations and it gifts a

    23     list of non-limiting examples of buffering agents all the

    24     way down, different buffering agents.

    25     Q.        Do you see maleic acid described anywhere in this
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     1     list?

     2     A.      No, not maleic acid.

     3     Q.      And have you looked over the liquid formulations

     4     in the example starting at column 31 and going to column

     5     39?

     6     A.      Yes, I have.

     7     Q.      What is the form of the enalapril used to prepare

     8     each of those formulations?

     9     A.      The maleate salt.

    10     Q.      Do any of those calculations not include a separate

    11     buffer component beyond anything provided by enalapril

    12     maleate?

    13     A.      No, they do not.

    14     Q.      Do you see anywhere in the common specification a

    15     description suggesting that maleic acid dissociated from an

    16     enalapril salt can serve as a buffer suitable for use in the

    17     claimed formulations?

    18     A.      No, I do not.

    19     Q.      Do you see any discussion in the common specification

    20     suggesting that a separate buffer need not be included in

    21     the claimed formulations if enalapril maleate is used?

    22     A.      No, I do not.

    23     Q.      Okay.    I think your next slide is DDX-1530.

    24                     First of all, before we delve into this slide

    25     completely, can you explain to the Court once more what pKa
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     1     is?

     2     A.      pKa is a measure of the strength of the, of an acid

     3     or acidic, acidic group.

     4     Q.      Okay.    And if you could, just go ahead and explain

     5     this slide 1530 for the Court's benefit.

     6     A.      So we have to remember that the pH of the Epaned and

     7     Bionpharma's FDA product was about 3.3.         Now, when we talk

     8     about an acid, we're talking about citric acid or maleic

     9     acid, these have multiple ionizable groups.          And citric acid

    10     is what we call a tricrotic acid, so it has three ionizable

    11     groups, which can give up their hydrogen ions and it has

    12     three pKas, so 3.1, 4.7 and 6.4.        Maleic acid, on the other

    13     hand, is diprotic and it only has two ionizable groups and

    14     the pKas are 1.97 and 6.24.

    15                     So the first hydrogen ion of citric acid has a

    16     pKa of 3.1, which is very close pH of the enalapril liquid

    17     formulations.

    18                     Maleic acid, on the other hand, has neither of

    19     the hydrogen ion pKas that's within plus or minus one of the

    20     target pH range and this is explained on the, on the bottom

    21     in the graphic with the pH scale, citric acid at pKa 3.1,

    22     maleic acid at pKa 1.97, and the range of the -- and 3.3 is

    23     the target pH and the buffer would have to be within 2.3 to

    24     4.3.

    25     Q.      What does all of this tell you?
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     1     A.      It tells me that maleic acid is not an effective

     2     buffer for enalapril formulation.

     3     Q.      Okay.    I believe you have a slide specifically on

     4     this.   Let's turn to DDX-1531.       Can you explain to the Court

     5     what you have here?

     6     A.      Oh, yes.    At pH of 3.3, if we look at the left hand

     7     figure, the boxer has equal -- approximately equal amount

     8     of -- sorry, the boxer's arms represent the amount of citric

     9     acid, sodium citrate, so at 3.3, which is very close to the

    10     initial peak here of citric acid, there will be

    11     approximately equal amounts of the two components, so,

    12     you know, the arms are the same, approximately the same

    13     size.

    14                     Then the right-hand figure, this is the alleged

    15     buffer capacity in Bionpharma's ANDA product, and at the pH

    16     that we're talking about, 3.3, yes, most of the maleic acid

    17     would be in the sodium salt.       There will be very, very

    18     little of the maleic acid in the pre-acid form, which is why

    19     we have this kind of arm, red arm on the figure.

    20                     And also the boxer, you know, the size of the

    21     boxer represents the strength of the buffer and the citric

    22     acid, so the citric buffer, is a lot bigger, a lot stronger

    23     than the maleic acid sodium maleate buffer, which is

    24     represented by a much smaller figure.

    25     Q.      Okay.    Just one point of clarity.      I believe you
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     1     testified earlier that maleic acid is a strong acid; is that

     2     correct?

     3     A.        Yes, it is.    It's stronger than -- it has a lower

     4     pKa.   Therefore, it is stronger than citric acid.

     5     Q.        Okay.    But itself it's not a strong acid like

     6     hydrochloric acid; is that correct?

     7     A.        No, it's not.    No, it's not.

     8     Q.        Okay.    Let's go to DTX-1532 in your slide deck.

     9                       Are maleic acid and citric acid similar

    10     compounds?

    11     A.        In my opinion, no, they are not.      Yes, they're acids,

    12     but that's where the -- the similarities stop.

    13                       So if we look at the top structure, the maleic

    14     acid is on the right-hand side, and you have the two

    15     carboxylic acid groups and they are separated by a double

    16     bond and we call that a conjugated system.          Now, this is not

    17     to be confused with conjugated base in buffers.           Just

    18     another use of the term conjugation in chemistry.

    19                       Citric acid, on the other hand, is a triprotic

    20     acid and as you can see, it has three carboxylic acid

    21     groups.    It also has a citric acid -- sorry, a tertiary

    22     alcohol group.       It does not have any kind of olefinic double

    23     bonds like maleic acid does, and it's rather different and

    24     it's added separately from, in addition to whatever the

    25     enalapril maleate component would be.
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     1     Q.        Would you say the differences are substantial?

     2     A.        In my opinion, yes.

     3     Q.        Have you prepared any liquid formulations that use

     4     citric acid and sodium citrate as buffers?

     5     A.        Yes, I have.

     6     Q.        Now, you'll recall when we were talking about your --

     7     what you believe is the proper function of the buffer

     8     limitation, you mentioned that it was not only to protect

     9     the enalapril during shelf life, but also in the stomach; is

    10     that correct?

    11     A.        That's correct.

    12     Q.        All right.   Let's turn to DTX-1068 in your exhibit

    13     binder.

    14                    MR. ALUL:    Alex, can you put up DTX-1529

    15     instead, because that was actually moved into evidence.              So

    16     let's just, for the screen, let's put up 2159.

    17     BY MR. ALUL:

    18     Q.        Dr. Moreton, you have DTX-1068 in your exhibit

    19     binder.

    20     A.        Yes, I do.

    21                    MR. ALUL:    Alex, if you could put up DTX-1529.

    22     Okay.

    23                    THE TRIALanywhere HOST:      Sorry, Mr. Alul.     I

    24     don't seem to have that.

    25                    MR. ALUL:    All right.   Don't worry about that
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     1     then.    Don't worry about that for now.

     2     BY MR. ALUL:

     3     Q.       Do you recognize this document, Dr. Moreton?

     4     A.       Yes.    It's a citizen's petition filed on behalf of

     5     Silvergate to the FDA in support of Epaned NDA application.

     6     Q.       Okay.    I'd like to turn your attention -- I'm going

     7     to use the DTX numbers on the bottom right-hand side, DTX-7

     8     and 8.

     9                           I'm going to start with the last word on

    10     DTX-6, furthermore, and I will just go ahead and read into

    11     the record the next sentence:       Furthermore, Epaned enalapril

    12     maleate oral solution one milligram per milliliter contains

    13     the buffering agent citric acid and sodium citrate.           These

    14     buffering agents act together to keep Epaned and enalapril

    15     maleate oral solution one milligram per millimeter in a

    16     stable pH band.      Example:   Impacting shelf life --

    17     stability, and are thought to protect enalapril after

    18     ingestion from premature hydrolysis in the stomach's acidic

    19     environment.

    20                      What is Silvergate telling the FDA here?

    21     A.       Silvergate is telling the FDA that not only does the

    22     citric acid protect -- the sodium citrate buffer protect the

    23     drug on stability, but it also protects the enalapril after

    24     ingestion because the acidic environment in the stomach and

    25     the temperature could induce premature hydrolysis of the
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     1     drug.

     2     Q.      Do you see the second full paragraph?         I will read

     3     this into the record where it says, Furthermore, the stomach

     4     is an acidic environment and has an elevated temperature

     5     relative to the storage temperature of enalapril maleate

     6     solution.    Thus, the citric acid sodium citrate buffer

     7     system, which protects enalapril maleate oral solution in

     8     storage, is also thought to protect enalapril from

     9     hydrolysis in the elevated temperature's acidic environment

    10     of the stomach.

    11                   Any change in the amount of citric acid or

    12     sodium citrate, removal of one or more of these non-active

    13     ingredients or replacement with different buffering

    14     components could materially affect the amount of enalapril

    15     that gets hydrolyzed in the stomach to the minimally

    16     bioavailable enalapril.      This could unexpectedly result in

    17     subtherapeutic dosing and diminish systemic exposure in

    18     children.

    19                   Doctor, what is Silvergate telling FDA there.

    20     A.      In my opinion, Silvergate is telling the FDA that the

    21     enalapril protects the material in the stomach because the

    22     acidic environment and the higher temperature, body

    23     temperature, would induce -- make the reaction go quicker,

    24     and they are also saying that any change in the amount of

    25     citric acid or sodium citrate or removal of it would --
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     1     could materially affect the amount of enalapril that gets

     2     hydrolyzed and therefore could affect the results in

     3     subtherapeutic dosing and diminish the systemic exposure in

     4     patients, in children.

     5                    So they are saying the sodium citrate and citric

     6     acid are crucial, critical to the performance of the Epaned

     7     formulation in vivo.

     8     Q.      And to protect the enalapril in vivo, would you want

     9     a buffer system with a higher buffering capacity or lower

    10     buffering capacity?

    11     A.      Higher buffering capacity.

    12     Q.      So I believe this is this is a nice segue into your

    13     opinions regarding whether the maleic acid sodium maleate

    14     buffer system that Dr. Byrn alleges is in Bionpharma's ANDA

    15     product functions in substantially the same way as the

    16     claimed citric acid sodium citrate buffer.

    17                    Let's turn to DDX-1533 in your slide deck where

    18     I believe you summarize your opinion on this, and if you

    19     could provide it for the Court.

    20     A.      Yes.   So it's my opinion that maleic acid and the

    21     buffer limitations do not operate in the same way.

    22                    Buffer species concentration is a good measure

    23     of buffer capacity and buffer species concentrations of the

    24     claimed buffer considerably and sub -- are -- sorry, are

    25     considerably and substantially larger than the alleged
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     1     maleic acid/sodium maleate.

     2     Q.      Dr. Moreton, what exactly is buffer species

     3     concentration?

     4     A.      Buffer species concentration is the amount of the

     5     buffer components there present in the formulation, so in

     6     the case of the Epaned patent, the patent, the claimed

     7     inventions, it would be the total of sodium citrate and

     8     citric acid.

     9     Q.      Okay.    Let's actually go back to claim 1 of the '745

    10     patent, PTX-3.     And I would like to focus on the buffer

    11     limitation and specifically, the numerical ranges in front

    12     of each of citric acid and sodium citrate.

    13                     Do you see those, Dr. Moreton?

    14     A.      Yes, I do.

    15     Q.      What do those mean?

    16     A.      Well, these are the range of concentrations that are

    17     the -- that the patent, that are claimed in the patent.            So

    18     the citric acid has to be present in about 0.8 to about

    19     3.5 milligrams per millimeter and the sodium citrate has to

    20     be present in about 0.1 to about 0.8 milligrams per

    21     millimeter.

    22     Q.      Are these concentration ranges the same for the

    23     buffer limitations for the asserted '987 patent claims?

    24     A.      Yes, they are.

    25     Q.      Do these concentration ranges signify a certain
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     1     concentration of buffer species?

     2     A.        Yes, they do.    It's quite easy to calculate them.

     3     It's a very simple arithmetic multiplication.

     4     Q.        And I believe you've done that in your next few

     5     slides.    If you could walk the Court through DDX-1534 and

     6     1535.

     7     A.        Okay.    So here, we're looking at the minimum total

     8     claimed buffer species calculation.        So in the '745 and '987

     9     patents, the minimum amount of citric acid is 0.8 milligrams

    10     per ml and the minimum amount of sodium citrate is about

    11     0.1 milligrams per ml.

    12                       So 0.8 milligrams per ml of citric acid, when

    13     you do the calculations, represents 4.16 times ten to the

    14     minus six mols of citric acid and the 0.1 milligrams per ml

    15     of sodium citrate represents 3.88 times ten to the minus

    16     seven mols of citric acid.       So the total concentration of

    17     citric acid and citrate ions are simply the addition of

    18     those two numbers, which is 4.55 times ten to the minus

    19     six.

    20                       So on the right-hand figure, demonstrative, we

    21     are looking at the maximum level, so the maximum levels in

    22     the patents are 3.5 milligrams citric acid and

    23     0.8 milligrams of sodium citrate, and when we do the sums,

    24     then we get 2.13 times ten to the minus five mols of buffer

    25     species.
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     1     Q.      Okay.    And, again, assuming the concentration of

     2     maleic acid that Dr. Byrn alleges is present in Bionpharma's

     3     ANDA product is correct, were you able to calculate the

     4     buffer species concentration for that?

     5     A.      Yes, I was.

     6                     MR. ALUL:   So let's go to DDX-1536.

     7     BY MR. ALUL:

     8     Q.      And --

     9     A.      Okay.

    10     Q.      -- if you could walk the Court through that.

    11     A.      Yes, okay.

    12                     So here, in Bionpharma, what Dr. Byrn alleges is

    13     the maleic acid species in Bionpharma's product,

    14     0.236 milligrams of maleic acid.

    15                     And there is no sodium maleate added so the

    16     whole buffer species here is just maleic acid.          So that

    17     represents 2.03 times 10 to the minus 6 mols of maleic acid

    18     and maleate anion combined.

    19     Q.      And I believe your next slide, DDX-1537, compares the

    20     buffer species concentration of maleic acid/sodium maleate

    21     alleged to be in Bionpharma's ANDA product with the buffer

    22     species concentration of the claimed citric acid/sodium

    23     citrate buffers.     Is that correct?

    24     A.      Yes, that's correct.      So --

    25     Q.      And -- yes.     Go ahead.   I'm sorry.     Please, go ahead.
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     1     A.      So what I have done here is simple division, if you

     2     will.   The buffer species concentrations of the minimum

     3     claim is divided by the maleic acid maleate species in

     4     Bionpharma's ANDA products, and also the maximum buffer

     5     species of the claims is also divided by the same number.

     6                    And so we get at the minimum buffer species

     7     concentration, the amounts of buffer in the claims is 2.24

     8     times the amount that could be present if what Dr. Byrn

     9     alleges is correct in the Bionpharma's ANDA product.

    10                    And then in the -- for the maximum claimed

    11     buffer species concentration, you know, the difference is

    12     a 10.5 fold difference.      So 10.5 times as much buffer in

    13     the, in the citric acid/sodium citrate buffer in the claims

    14     compared to what could be present, according to Dr. Byrn, in

    15     the Bionpharma ANDA product.

    16     Q.      And based on that, do you believe that the maleic

    17     acid/sodium maleate buffer that Dr. Byrn alleges is present

    18     in Bionpharma's ANDA product achieves substantially the same

    19     result as the claimed buffer limitations?

    20     A.      No, I do not.

    21                    MR. ALUL:   And I believe you have a slide on

    22     this.

    23                    Let's turn to 1538.

    24     BY MR. ALUL:

    25     Q.      Could up explain what you have here.
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     1     A.      So I don't agree that they're the same because the

     2     buffer capacity of the buffer limitations is substantially

     3     higher than the buffer capacity of the alleged maleic

     4     acid/sodium maleate.

     5     Q.      Based on what you have opined on thus far, do you

     6     have an opinion as to whether the maleic acid/sodium maleate

     7     that Dr. Byrn alleges is present in Bionpharma's ANDA

     8     product is substantially different from the claimed citric

     9     acid and sodium citrate buffers?

    10     A.      Yes, I do.    And I believe it is substantially

    11     different.

    12     Q.      So, Dr. Moretan, how exactly did Bionpharma formulate

    13     an enalapril liquid formulation that is stable,

    14     bioequivalent, and therapeutically equivalent to Epaned

    15     without including a buffer?

    16     A.      Well, they judiciously chose the excipients to come

    17     up with a formulation that was approximately the right pH

    18     and did not change much on stability.

    19     Q.      Do you understand that Silvergate's expert, Dr. Byrn,

    20     essentially argues that because Bionpharma's ANDA product is

    21     stable during its shelf life, the maleic acid/sodium maleate

    22     buffer he alleges is present must be insubstantially

    23     different from the claimed citric acid/sodium citrate

    24     buffers?

    25     A.      Yes, I have heard that; and I respectfully disagree.
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     1     Q.        Why do you disagree?

     2     A.        Because stability is not just a function of the

     3     buffer.    It is, it is the whole formulation that conjugates

     4     to stability.

     5     Q.        Okay.    And are you also familiar with Dr. Byrn's

     6     criticism that buffer species concentration and buffer

     7     capacity are irrelevant because they're not expressly

     8     recited in the Epaned patents?

     9     A.        Yes, I am aware; and I, again, I respectfully

    10     disagree with Dr. Byrn.

    11     Q.        And why do you disagree?

    12     A.        Well, I agree that they're not mentioned, but as I

    13     showed in my calculations, they're implicitly in there

    14     because it's a very simple calculation.         And when you add

    15     buffer, you add buffer species, and you can calculate that.

    16     And we do it almost daily in the pharmaceutical industry

    17     when we're in formulation development.

    18     Q.        Where, specifically, are buffer species concentration

    19     and buffer capacity implicit in Silvergate's Epaned patents?

    20     A.        In the buffer limitation in claim 1, the levels of

    21     buffer that are the levels of the sodium citrate -- or

    22     concentrations of the sodium citrate and citric acid, they

    23     imply that buffer species are there.         Otherwise --

    24     Q.        Do you --

    25     A.        Sorry.
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     1     Q.      Go ahead.

     2     A.      Otherwise, when you put these things into the

     3     solution, they're buffer species.        Whether you express them

     4     as mols or milligrams per milliliter, they're still buffer

     5     species.

     6     Q.      Okay.    Do you have an opinion on whether a finding

     7     that the maleic acid/sodium maleate that Dr. Bryn alleges

     8     is present in Bionpharma's ANDA product is equivalent to the

     9     claimed citric acid/sodium citrate buffer limitations that

    10     would vitiate those claim limitations?

    11     A.      Yes, I do.

    12     Q.      And what is your opinion on that?

    13     A.      I believe they would be vitiate the claims because

    14     the whole essence of the Bionpharma product is to avoid

    15     sodium citrate and citric acid.

    16                     And if the -- the whole point is that it's clear

    17     that Silvergate expected and required more buffer than was

    18     ever present in the -- with the enalapril -- from the

    19     enalapril maleate well over and above what was there.

    20                     And so to equate them is, in my opinion, negates

    21     the whole aspect of the buffer.

    22                     MR. ALUL:   Okay.   Let's turn to DDX-1540, which

    23     summarizes your opinions.

    24     BY MR. ALUL:

    25     Q.      I believe the final opinion you have given in this
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     1     case pertains to Bionpharma's factual defense on the

     2     preservative limitation.         Is that correct?

     3     A.      Yes.   That's correct.

     4     Q.      And I believe your next slide, 1541, compares the

     5     preservative limitations -- the preservative limitation to

     6     methylparaben and propylparaben in Bionpharma's ANDA

     7     product; correct?

     8     A.      Yes.   So the preservative limitation in both patents

     9     is about 0.7 to about 1.2 milligrams per milliliter of

    10     sodium benzoate.

    11                    And Bionpharma's product does not contain

    12     sodium benzoate.     It contains methylparaben and

    13     propylparaben.

    14     Q.      And you understand that Silvergate --

    15                    THE COURT:       Apologies.

    16                    MR. ALUL:    I'm sorry.       Yes, Your Honor.

    17                    THE COURT:       I'm going to interrupt you.     I'm

    18     going to take a break before we do this last opinion.

    19                    Let's go, let's bring the public back in and

    20     I'll tell them we're going to take a short break.

    21                    MR. ALUL:    Understood.

    22                    (Sealed portion ends.)

    23                                 *      *     *

    24                    THE COURT:       Okay.   You may proceed.

    25                    MR. ALUL:    Thank you, Your Honor.
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     1                                 DIRECT EXAMINATION

     2     BY MR. ALUL:

     3     Q.      Dr. Moretan, I believe we were look at 1540 in your

     4     slide deck which summarized your opinions in this case.            And

     5     I think the last one we're going to discuss today is your

     6     opinion concerning Bionpharma's factual defense to the

     7     preservative limitation.

     8                     MR. ALUL:    Can we get 1540 up?

     9                     Thank you.

    10                     And we're going to jump from there, actually, to

    11     1541.

    12     BY MR. ALUL:

    13     Q.      Dr. Moretan, I believe you have a slide prepared --

    14     I'm sorry.

    15                     Dr. Moretan, do you understand that Silvergate

    16     and Dr. Byrn allege that the methylparaben and propylparaben

    17     preservatives used in Bionpharma's ANDA product are

    18     equivalent to the claimed sodium benzoate; correct?

    19     A.      That's correct, yes.

    20     Q.      Do you have an opinion on this?

    21     A.      I respectfully disagree.

    22     Q.      Okay.    I believe your slide 1542 compares the

    23     structures of all three compounds.

    24                     What can you tell us about structural

    25     differences?
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     1     A.       Well -- excuse me.     The parabens are esters of

     2     para-benzoic acid, so it's a methyl ester and the propyl

     3     ester.   The methyl and propylparaben, respectively.

     4                      Sodium benzoate is just sodium salt of benzoic

     5     acid.

     6                      The parabens work in different ways than sodium

     7     benzoate, and there are different physical properties as

     8     well.

     9     Q.       Have you prepared any liquid formulations that use

    10     sodium benzoate as a preservative?

    11     A.       Yes, I have.

    12     Q.       Does sodium benzoate itself have antimicrobial

    13     properties?

    14     A.       No.   Sodium benzoate is inactive.      You have to

    15     convert it to benzoic acid, which is below pH 5, in order

    16     for it to exert its effect.

    17     Q.       Okay.    I believe your next slide, DDX-1543, compares

    18     additional properties; is that correct?

    19     A.       Yes, it does.

    20     Q.       And if you could walk the Court through this slide.

    21     A.       So the parabens, methyl and propylparaben, are

    22     lipophilic compounds.      Sodium benzoate is hydrophilic.        And

    23     this is reflected in their solubility in water.

    24                      So lipophilic means lipid-loving or fat-loving.

    25                      Hydrophilic means water-loving.
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     1                     And the solubility of the methylparaben in water

     2     is about 1 and 400 parts, and propylparaben is even less

     3     soluble; it is 1 in 2,500 parts, where sodium benzoate is

     4     soluble in 1 in 1.8 parts.

     5                     But the methyl and propylparaben are soluble in

     6     propylene glycol, which is a cosolvent, 1 in 5 and 1 in 3.9

     7     respectively, and the optimal pH for the antimicrobial

     8     activity of the parabens is in the range of 4 to 8 and

     9     sodium benzoate, 2 to 5.

    10     Q.      Okay.    Let's talk about solubility first.

    11                     If a formulator wants to use methylparaben

    12     and/or propylparaben in aqueous solution but, as you say,

    13     they are lipophilic compounds, how does a formulator get

    14     them in a solution?

    15     A.      There's a couple of ways.

    16                     They can use the sodium salts, which is what

    17     Silvergate did in their studies.

    18                     Or you can dissolve them in a cosolvent, such as

    19     propylene glycol, which is what Bionpharma did.

    20                     And then when you add the solution, the

    21     cosolvent solution to the water in the, in the product, the

    22     preservatives remain solubilized in the cosolvent water

    23     mixture.

    24     Q.      Does sodium benzoate need anything special to assist

    25     with its solubility in aqueous solution?
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     1     A.      No, it is readily soluble in water at room

     2     temperature.

     3     Q.      Would a skilled formulator preparing an enalapril

     4     liquid formulation find the relative solubilities of

     5     methylparaben, propylparaben, and sodium benzoate an

     6     important factor to consider?

     7     A.      Yes, they would, because you have to tailor your

     8     manufacturing process to the properties of your ingredients.

     9     Q.      Okay.    Let's focus on pH for a second.

    10                     Can you explain to the Court why pH is relevant

    11     to the antimicrobial activity of preservatives in

    12     pharmaceutical liquids?

    13     A.      Thus, we've heard pH effects the ionization of

    14     ionizable compounds.      And so for -- as I said, sodium

    15     benzoate, the active of component is benzoic acid.           So you

    16     have to drop the pH to below 5 in order for it to work.

    17                     If you have a pH above 5, then it's ionized and

    18     it is inactive.

    19                     Similarly for the methylparaben and

    20     propylparaben, their optional pH for antimicrobial activity

    21     is pH 4 to pH 8.

    22                     If you go above that pH, then they're inactive

    23     and may even be hydrolyzed to de-inactive hydroxybenzoic

    24     acid.

    25     Q.      And I believe you -- just to make sure the record is
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     1     clear, I believe you said that sodium benzoate at a pH above

     2     5 is not ionized; correct?

     3     A.      It's not ionized, correct.

     4     Q.      Okay.

     5     A.      Sorry.    Above pH 5 it is ionized.

     6     Q.      It is ionized, okay.        Okay.

     7                     And then between pH 2 and 5, it is ionized or

     8     not ionized?

     9     A.      It is not ionized.

    10     Q.      What was your source of authority for these physical

    11     and chemical properties?

    12     A.      The Handbook of Pharmaceutical Excipients.

    13     Q.      Okay.    And I think we looked at the entries for

    14     methylparaben and propylparaben earlier.

    15                     MR. ALUL:   Can you please turn to DTX-1102.

    16     BY MR. ALUL:

    17     Q.      Is this the entry for sodium benzoate in the

    18     Handbook?

    19     A.      Yes, it is.

    20     Q.      And you relied on this entry for the data presented

    21     in DTX-1543?

    22     A.      Yes, I do.

    23                     MR. ALUL:   Okay.    Let's jump to DDX-1544 on your

    24     slide deck and take a look at antimicrobial properties.

    25     BY MR. ALUL:
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     1     Q.      Do methylparaben and propylparaben exert their

     2     antimicrobial effects in substantially the same way as

     3     sodium benzoate?

     4     A.      No, they do not.

     5     Q.      Could you explain why?

     6     A.      Parabens are effective against yeasts and molds and

     7     gram-positive and gram-negative bacteria, and they're

     8     generally antimicrobial.       But they work in a way where they

     9     disrupt membrane transport processes or inhibit the

    10     synthesis of DNA or RNA in the bacteria, yeasts, and molds.

    11                     And they are, in fact, bactericidal and

    12     fungicidal.

    13                     Sodium benzoates, on the other hand, is only

    14     effective under acidic conditions, and it enter the

    15     bacterial cell and inhibits the fermentation of glucose.

    16                     And it is considered bacteriostatic and

    17     fungistatic, not bactericidal and fungicidal.

    18                     So bacteriocidal and fungicidal means they kill

    19     the microorganisms.

    20                     Bacteriostatic and fungistatic means they

    21     inhibit the growth of microorganisms.

    22     Q.      Did you rely on certain literature to support your

    23     opinions on antimicrobial activity?

    24     A.      Yes, I did.

    25     Q.      Okay.    Let's take a look at that.      Let's go to DDX-25
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     1     in your exhibit binder.

     2                     Can you identify this document for the Court?

     3     A.      Yes.    This is a paper by Freese and co-workers and it

     4     details the function of lipophilic acids as antimicrobial

     5     food additives and it details the way they work.           It

     6     mentions methyl and propylparaben and it also mentions

     7     benzoic acid sodium benzoate and it just mentioned that they

     8     have different modes of action as well.

     9     Q.      Let's turn to DTX-1090 in your exhibit binder.

    10                     Can you identify this reference for the Court?

    11     A.      So this is another paper, this one by, I think it's

    12     Nes and Eklund, and it's the effect of parabens on DNA, RNA

    13     and protein synthesis in two bacteria, escherichia E. coli

    14     and bacillus.

    15                     It goes on to discuss the effects of parabens on

    16     inhibiting the DNA, RNA and protein synthesis in these two

    17     bacteria.

    18     Q.      Let's turn to DTX-1084 in your exhibit binder.

    19                     Can you identify this?

    20     A.      This?

    21     Q.      Yes, please.

    22     A.      So this is a paper by, I think it's, yes, Flasinski

    23     and colleagues and it really details the interaction between

    24     parabens and the lipid membrane components in monolayers in

    25     the aqueous solution phase.       It's not in the live organisms,
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     1     but they've taken those components of the lipid membrane and

     2     they've looked at how they interact or how parabens interact

     3     with those lipid components in vitro.

     4     Q.      Let's turn to --

     5     A.      Sorry.

     6     Q.      Go ahead, please.

     7     A.      But it does explain how the parabens work in vivo.

     8     Q.      Let's go to DTX-1100 in your exhibit binder.

     9                    Can you identify this reference for the Court?

    10     A.      Yes.   This is a paper by Valkova and colleagues, and

    11     it's about hydrolysis of parabens and, excuse me, by a

    12     resistant strain of a bacterium, but it does explain how

    13     they work and how they inhibit RNA, DNA.

    14     Q.      I would like to draw your attention to the first

    15     paragraph on the cover page of this Valkova reference

    16     and in particular the last two sentences of that first

    17     paragraph.

    18                    Do these two sentences in any way support an

    19     opinion you've given earlier today?

    20     A.      Yes, it does, because here it mentions that, or

    21     states that propylparaben is considered more active against

    22     most bacteria, but because the latter is more soluble in

    23     water, they are often used as a mixture in commercial

    24     preparations and that's my experience, too.

    25                    MS. DEVINE:   Objection, Your Honor.       This is
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     1     undisclosed support for his opinion.

     2                   THE COURT:    All right.    Mr. Alul, do you want to

     3     tell us where there is support for the opinion?

     4                   MR. ALUL:    Your Honor, it's in his expert

     5     report.    He relies on it when he talks about parabens.          I'm

     6     happy to show the Court where it's cited in his report.

     7                   THE COURT:    I'm not sure that that suggestion is

     8     he hasn't cited the reference.        I think it's the specific

     9     opinion that he has given.

    10                   MS. DEVINE:    That's correct, Your Honor.

    11                   MR. ALUL:    I don't understand Rule 26 to

    12     suggest that he has to explain each and every part of

    13     every reference in his expert report.         He just provides a

    14     summary.

    15                   This reference talks about and deals with

    16     parabens.    He talks about it in connection with parabens in

    17     his expert report, in particular regarding their activity

    18     and stuff like that.      But it's a sentence in there.       It's

    19     about parabens.     It's about how often they are used.        It's

    20     just related.

    21                   THE COURT:    I mean, what exactly are you

    22     objecting to?

    23                   MS. DEVINE:    His opinion about the mixture of

    24     parabens being something common has been an issue and the

    25     lack of support for it.
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     1                    Dr. Moreton's report has been an issue.        I

     2     deposed him on it.      I deposed him on it.     He did not

     3     identify these references for his support.          This is the

     4     first time I'm hearing of it.

     5                    THE COURT:    Hold on.   He hasn't expressed the

     6     opinion that it is common?

     7                    MS. DEVINE:   Yes.

     8                    THE COURT:    Hold on.   All your objection to is

     9     now citation of the support for this opinion?

    10                    MS. DEVINE:   That's correct.

    11                    THE COURT:    I'm not even sure if that's an

    12     expert opinion.     Is there going to be any objection to this

    13     exhibit coming into evidence?

    14                    MS. DEVINE:   No, there is no objection to that.

    15                    THE COURT:    All right.   I'm going to overrule

    16     the objection and we'll charge that time to the plaintiff.

    17     Go ahead.

    18                    MR. ALUL:    Thank you, Your Honor.     Thank you,

    19     Your Honor.

    20     BY MR. ALUL:

    21     Q.      Dr. Moreton, you can finish your thought regarding

    22     these last two sentences.       Does it support an opinion you

    23     gave earlier today?

    24     A.      Yes, it does, because it explains that while

    25     propylparaben is more active than methylparaben, because of
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     1     the solubility differences, they're often used as a mixture

     2     in commercial preparation.

     3     Q.      Okay.    And which opinion earlier did you give that

     4     this language supports?

     5     A.      That they are most commonly used together.

     6     Q.      Okay.    If you turn to DTX-1093 in your exhibit

     7     binder, can you identify this reference for the Court?

     8     A.      Yes.    This is a reference by Ponsgavee and it details

     9     the effects of sodium benzoate on on human cells actually,

    10     but it does give information on the way that sodium benzoate

    11     and benzoic acid works as antimicrobial.

    12     Q.      All right.    Let's go to Exhibit DTX-1099 in your

    13     exhibit binder.

    14                     Can you identify this reference for the Court?

    15     A.      So this is a reference by Warth, I think that's how

    16     he pronounced it.     It looks at the mechanism of action of

    17     benzoate acid on yeast and the effects of the glycolytic

    18     metabolite levels, production and intercellular pH.           And it

    19     explains that benzoic acid, sodium benzoate and benzoic acid

    20     at below pH five, it goes into the cell and then inhibits

    21     the fermentation of glucose and that inhibits the growth of

    22     the microorganism, the metabolism and growth of the

    23     microorganism.

    24     Q.      Now, based on your opinions on the differences in

    25     physical, chemical and antimicrobial properties between
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     1     methylparaben and propylparaben on the one hand and sodium

     2     benzoate on the other, do you have an opinion as to whether

     3     the methylparaben and propylparaben used in Bionpharma's

     4     ANDA product is substantially different than the sodium

     5     benzoate limitations of the asserted claims?

     6     A.      Yes, I do.

     7     Q.      And what is that opinion?

     8     A.      It's my opinion that there are substantial

     9     differences.

    10     Q.      Okay.    Let's turn to DDX-1546 to 1551 and just

    11     summarize your opinions for the Court with respect to the

    12     specific claims.

    13                     Starting with claim four of the '745 patent,

    14     based on the opinions you've given today, do you have an

    15     opinion as to whether Bionpharma's ANDA product infringes

    16     asserted claim 4 of the '745 patent under the doctrine of

    17     equivalents?

    18     A.      Yes, I do, and it is my opinion that Bionpharma's

    19     ANDA product would not infringe claim 4 of the '745 patent

    20     under the doctrine of equivalents.

    21     Q.      Okay.

    22                     MR. ALUL:    I'm sorry, Your Honor.    At this point

    23     we can unseal.

    24                     THE COURT:   Okay.   Then we will do that, please.

    25                     (End of portion under seal.)
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     1                                    *      *     *

     2                       THE TRIALanywhere HOST:        The courtroom is

     3     sealed.

     4                       THE COURT:       Thank you.   Go ahead.

     5                       MS. DEVINE:      Thank you, Your Honor.

     6                                CROSS-EXAMINATION

     7     BY MS. DEVINE:

     8     Q.        Sir, is it your opinion that when a claim

     9     specifically calls for an element by its chemical identity,

    10     for example, sodium benzoate, and not by a general category,

    11     for example, a preservative, any other preservative like

    12     methylparaben, propylparaben cannot be equivalent to sodium

    13     benzoate?

    14     A.        Not the literal equivalent, but I understand that

    15     the contention is the Doctrine of Equivalents and that's

    16     different.

    17     Q.        The Doctrine of Equivalents is different than literal

    18     equivalents?       Is that your opinion?

    19     A.        Can be.    Can be, yes.         That's my understanding.   I'm

    20     not a lawyer, but that's my understanding.

    21     Q.        Okay.    So to be clear, it's your opinion that when

    22     there is a claim that calls for an ingredient by chemical

    23     identity rather than a category, then some other chemical

    24     identity cannot be equivalent; correct?

    25     A.        Literal equivalent, no.
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                                    Moreton - cross

     1                     MS. DEVINE:    Let's go to DDX-1529.

     2                     THE WITNESS:    Is that in your box, or is it --

     3     BY MS. DEVINE:

     4     Q.      I apologize, sir.      It's one of your slides.      We're

     5     just going to pull it up.

     6     A.      Sorry.    Sorry.     I thought you said DTX.

     7     Q.      I apologize.     I should have told you that.

     8     A.      Thank you.

     9     Q.      Okay.    So here, sir, on the left-hand side, you state

    10     that the buffer function is to maintain a pH beyond any pH

    11     maintenance provided by acid dissociated from enalapril;

    12     correct?

    13     A.      That's correct.       Yes.

    14     Q.      Okay.    From enalapril salt, I misspoke.       I apologize.

    15     A.      Yes, okay.

    16     Q.      And to reach this conclusion, you assume that the

    17     claims all require enalapril salts; correct?

    18                     MR. ALUL:    Objection.   Objection as to form.

    19                     THE COURT:    You can try again, Ms. Devine.

    20     BY MS. DEVINE:

    21     Q.      Do all of the asserted claims require an enalapril

    22     salt?

    23     A.      I think the word is enalapril or enalapril salts, but

    24     I may not be completely accurate there.

    25     Q.      Do you agreement with me that the asserted claims
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     1     cover enalapril freebase?

     2     A.      If it's enalapril or a pharmaceutically accepted

     3     salt, yes.

     4     Q.      And in the case where it's enalapril freebase, there

     5     would be no pH maintenance provided by acid dissociated from

     6     enalapril salt; correct?

     7     A.      It wouldn't be provided by the acid dissociated, but

     8     enalapril is itself an acid.

     9     Q.      Sir, my question is, in the case of the claimed

    10     embodiments that use freebase, there would be no pH

    11     maintenance provided by acid dissociated from enalapril

    12     salt; correct?

    13     A.      Sorry.    Say that again, please.

    14     Q.      In the case of the claims where the embodiment is the

    15     enalapril freebase, there would be no pH maintenance

    16     provided by acid dissociated from enalapril salt; correct?

    17     A.      Correct.    Yes.

    18     Q.      Sir, do you agree that the enalapril maleate in

    19     Bionpharma's ANDA product is fully solubilized in the

    20     formulation?

    21     A.      Yes.

    22     Q.      And in Bionpharma's ANDA product, if the enalapril

    23     and maleate associates, they will rapidly dissociate;

    24     correct?

    25     A.      It's a equilibrium setup.       They associate/dissociate
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     1     quite quickly.

     2     Q.      You agree that the amount of mols of maleic acid in

     3     Bionpharma's ANDA product must remain constant regardless of

     4     whether it is in its acidic form, which is maleic acid, or

     5     its conjugated base form, which is maleate; correct?

     6     A.      That's correct, yes.

     7     Q.      And you agree that both maleic acid and citric acid

     8     are polyprotic acids; correct?

     9     A.      Yes, they are.

    10     Q.      Do you agree that both maleic acid and citric acid

    11     contain acidic ionizable hydrogens and their respective

    12     carboxyl acid groups; correct?

    13     A.      Correct.

    14     Q.      And you agree that the sodium hydroxide in

    15     Biopharma's ANDA product fully dissociates when added to the

    16     solution; correct?

    17     A.      Correct.

    18     Q.      Let's pull up DDX-1527, please.        And, Doctor, this is

    19     another one of your slides.

    20     A.      Thank you.

    21     Q.      Sir, you agree that when the hydroxide is added to

    22     this formulation that represents Bionpharma's ANDA product,

    23     it will react with the hydrogen with the lowest pKa first;

    24     correct?

    25     A.      That is correct, yes.
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     1     Q.      And if you assume that there is not sufficient amount

     2     of strong base to raise the pH significantly, you agree that

     3     according to the Henderson-Hasselbalch equation, an acid

     4     with a pKa that is greater than two units above the pH of

     5     the formulation will not dissociate in the presence of a

     6     strong base like sodium hydroxide; is that correct?

     7     A.      Say that again, please.

     8     Q.      Sure.    We're going to assume that there's not

     9     sufficient amount of sodium hydroxide, strong base, to raise

    10     the pH significantly, and based on that assumption, you

    11     agree that according to the Henderson-Hasselbalch equation,

    12     an acid with a pKa that is greater than two units above the

    13     pH of the solution will not dissociate in the presence of

    14     the strong base?

    15     A.      It will predominantly be unassociated, but it's not

    16     an either/or, it's a, what do you want to call it?           It's

    17     kind of a probability-type relationship, so it predominantly

    18     will be in the unionized state.

    19     Q.      Thank you.

    20                     At a pH of less than five when sodium benzoate

    21     is added to the solution, the result is antimicrobial

    22     effects; is that correct?

    23     A.      That's correct, yes.

    24     Q.      And at a pH of less than five when sodium benzoate is

    25     added to the solution, the result is effects against yeast;
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     1     is that correct?

     2     A.      That's correct, yes.

     3     Q.      And the mixture of methylparaben and propylparaben

     4     in the solution exerts antimicrobial effects; is that

     5     correct?

     6     A.      Correct.

     7     Q.      And the mixture of methylparaben and propylparaben

     8     in the solution exerts effects against yeast; is that

     9     correct?

    10     A.      Correct.

    11     Q.      And do you agree that Bionpharma's ANDA product is

    12     bioequivalent to Silvergate's Epaned; is that correct?

    13     A.      That's what I've been informed, yes.

    14     Q.      And you do not dispute that the maleic acid and the

    15     sodium maleate in Bionpharma's ANDA product may have some

    16     buffering capacity; correct?

    17     A.      May have some buffering capacity, but not a lot.

    18     Q.      Sir, do you recall what the release specification for

    19     pH is for Bionpharma's ANDA product?

    20     A.      I think it's 3.2 to 3.4.

    21     Q.      Good memory.     Do you agree that that release

    22     specification for pH for Bionpharma's ANDA product, which is

    23     3.2 to 3.4, is quite narrow?

    24     A.      It's relatively narrow, yes.

    25     Q.      Could we please pull up another slide, DDX-1534.
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     1                     Sir, do you recall these calculations that you

     2     discussed on your direct that are reflected in DDX-1534?

     3     A.      Yes, I do.

     4     Q.      Okay.    And do you recall that the minimum amount of

     5     the claim that you calculated is 4.55 times ten to the minus

     6     six mols?

     7     A.      That's correct.

     8     Q.      Perhaps it would be easiest to move two slides

     9     forward.    Could we go to -- let's go to DDX-1537, which I

    10     believe has all the numbers on it.

    11                     And, sir, do you recall that the range that

    12     you calculated is essentially 4.55 times ten to the minus

    13     six to 2.13 times ten to the minus five mols?          That's

    14     correct?

    15     A.      That's correct, yes.

    16     Q.      And if we put them in equivalent units, would you

    17     agree with me that it would be 4.55 to 20.13 times ten to

    18     the minus six?

    19     A.      Actually, no.     It's 4.55 to 21.3.

    20     Q.      I apologize.     Let me say that again.      Would you agree

    21     with me that if we put them in equivalent units, the range

    22     would be 4.55 to 21.3 times ten to the minus six?

    23     A.      Correct, yes.

    24     Q.      And that distance within the range is a range of

    25     about 15 times tone to the minus six; is that correct?
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     1     A.       An arithmetic range, you mean?

     2     Q.       Correct.

     3     A.       Sorry.    Something like that, yes.

     4     Q.       All right.    And you would agree with me that the

     5     deviation of the amount in the Bionpharma product from the

     6     low end of the range is about 2.5 times ten to the minus

     7     six; correct?

     8     A.       Say that again, please.

     9     Q.       Sure.    You would agree with me that the deviation of

    10     the amount in the Bionpharma ANDA product from the low end

    11     of the claimed range is about 2.55 times ten to the minus

    12     six?

    13     A.       I'd have to, I'd have to work out the things on

    14     paper.

    15     Q.       Sure.    But looking at this now, the --

    16     A.       Oh, sorry.    Sorry.   You mean just subtract the 2.03

    17     from 4.55?

    18     Q.       Correct, sir.

    19     A.       Okay.    Sorry.   I misunderstood.    So that would be

    20     about 2.52.

    21     Q.       Times ten to the minus six; correct?

    22     A.       Times ten to the minus six, yes.

    23     Q.       So can we pull up DTX-1100.

    24                      Sir, do you recall testifying about this paper

    25     towards the end of your direct testimony?
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     1     A.      Yes, I do.

     2     Q.      And do you recall reading a quote from this paper

     3     that states that methylparaben and propylparaben are

     4     "commonly used together"?

     5     A.      Yes, I do.

     6     Q.      And would you agree with me that commonly used

     7     together is not the same as always used together?

     8     A.      That's correct and I never said that.

     9     Q.      Let's go to DTX-1095.

    10                    Sir, do you remember testifying on direct about

    11     the sections in the handbook of pharmaceutical excipients?

    12     A.      Yes.

    13     Q.      About methylparabens and propylparabens?

    14     A.      Yes, I do.

    15     Q.      Thank you, sir.

    16                    MS. DEVINE:   If we could go in 095 to page 605

    17     at the top, Mr. McQueen, please.

    18                    And the paragraph, the second paragraph in the

    19     left-hand column beginning, Owing.        I'm sorry.    One more

    20     paragraph down.     There we go.

    21     BY MS. DEVINE:

    22     Q.      And, sir, this paper reads, Methylparaben together

    23     with propylparaben has been used for the preservation of

    24     various parenteral pharmaceutical formulations; is that

    25     correct?
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     1     A.        That's correct.

     2     Q.        What's the difference between a parental formulation

     3     and an oral formulation?

     4     A.        Parenteral formulations are intended to be sterile.

     5     They're used by injection.        Oral formulations are taken by

     6     the mouth.

     7     Q.        So you would agree that a parenteral formulation and

     8     oral formulation are different?

     9     A.        Only different routes of administration.        They're

    10     still based on --

    11     Q.        Sir, it's a yes-or-no question.       Are they different?

    12     A.        In what way?

    13     Q.        Are they formulated differently?       Are there different

    14     concerns in their formulation?

    15                      MR. ALUL:    Objection.    Objection, Your Honor.

    16     Compound question.

    17                      THE COURT:    All right.   Break it down, Ms.

    18     Devine.

    19     BY MS. DEVINE:

    20     Q.        Would you agree with me that parenteral and oral

    21     formulations are formulated differently?

    22     A.        Yes.

    23     Q.        And we've looked just now at DTX-1095, DTX-1096 and

    24     the other Handbook of Pharmaceutical Excipients.

    25                      MS. DEVINE:   If you could pull it up please,
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     1     quickly, Mr. McQueen.

     2                   And if we could go to the second page, please,

     3     and the paragraph -- I'm looking for the paragraph right

     4     above the table in the right-hand column that starts

     5     propylparaben, and I promise I will give you the correct

     6     paragraph this time.

     7     BY MS. DEVINE:

     8     Q.      And, sir, you would agree that this is the same

     9     statement in DTX-1096 that we just read in DTX-1095; is that

    10     correct?

    11     A.      That's correct.

    12     Q.      And this, too, relates to parental formulations; is

    13     that correct?

    14     A.      Yes, it does.

    15     Q.      All right.    Could we please go to PTX-3 at Table C1.

    16                   MS. DEVINE:    I apologize, Your Honor.       We've

    17     been having a little slowness with our videos this morning.

    18                   THE COURT:    Okay.

    19     BY MS. DEVINE:

    20     Q.      Doctor, do you recall testifying about these

    21     formulations earlier?

    22     A.      Yes, I do.

    23     Q.      And would you agree that none of the formulations in

    24     Table C1 reflect the formulation that contains only a form

    25     of methylparaben and propylparaben mixed together without
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     1     some other preservative?

     2     A.        Correct.

     3                    MS. DEVINE:      Thank you, sir.    I have no other

     4     questions.

     5                    THE COURT:       All right.   Redirect?

     6                    MR. ALUL:    Your Honor, no redirect for me.       I

     7     just have a few exhibits that I would like to move in.            I

     8     think we can unseal the courtroom.           I hope the courtroom was

     9     sealed.    I can't remember.

    10                    MS. DEVINE:      I sealed it.

    11                    MR. ALUL:    All right.

    12                    THE COURT:       Okay.

    13                    MR. ALUL:    Go ahead, Your Honor.

    14                    THE COURT:       We'll ask to unseal the courtroom,

    15     please.

    16                    TRIALanywhere HOST:      The courtroom is open.

    17                    (End of portion under seal.)

    18                          *      *      *

    19                    THE TRIALanywhere HOST:        The courtroom is

    20     sealed.

    21                    THE COURT:       Thank you.

    22                    You may proceed when you are ready.

    23                                DIRECT EXAMINATION

    24     BY MR. SABA:

    25     Q.        So, Dr. Gemeinhart --
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     1     A.      (Coughing)    Excuse me.

     2     Q.      -- what were you asked to do in this case?

     3     A.      In this case, I was first asked to look at and

     4     respond to Dr. Beckton's assertions on infringement.

     5                   He gave ideas, and to examine those and respond

     6     to them.

     7                   Specifically, to analyze whether the accused

     8     single malic acid ingredient in Amneal's ANDA product was

     9     equivalent to the claimed buffer comprising citric acid and

    10     sodium citrate.

    11                   Then also to analyze Silvergate -- if Silvergate

    12     is precluded from asserting the Doctrine of Equivalents due

    13     to prosecution history estoppel.

    14     Q.      And just generally, how did you go about forming your

    15     opinions in this case?

    16     A.      I started with the patents themselves, the four

    17     asserted patents, and their file histories.

    18                   I reviewed them and went into the details.

    19                   I reviewed Dr. Buckton's infringement reports

    20     and his cited materials.

    21                   I looked at the scientific evidence and

    22     testimony relating to citric acid and sodium citrate, and

    23     malic acid.

    24                   The accused equivalents.

    25                   I looked at the claim construction which talk
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     1     "about" to mean "approximately."

     2                   And then other than that, looked at the plain

     3     and ordinary meaning.      How would I take it?      How would a

     4     person that was in the field take that meaning.

     5                   And then I applied legal standards as they were

     6     supplied by counsel, because I'm not a lawyer.

     7     Q.      What general legal standard did you apply on

     8     infringement?

     9     A.      Very simply, the patentee must prove by a

    10     preponderance of evidence that the accused product must

    11     meet each claim limitation, either literally or under the

    12     Doctrine of Equivalents.

    13     Q.      And on the Doctrine of Equivalents, specifically what

    14     legal standards in general did you apply?

    15     A.      So, first, we have to look at each limitation on a

    16     limitation-by-limitation basis.

    17                   You can't remove a limitation.        You can't read

    18     it away.    Every limitation has to be important.         So it has

    19     to have consequence.

    20                   If a limitation was written to be in a narrow

    21     way, it should be interpreted that way.         And that's, again,

    22     the way we have to read them.

    23                   To determine if a Doctrine of Equivalents should

    24     be applied or is true, there are two general tests:           One of

    25     them is the function-way-result test and the second is, that
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     1     should be applied, is the insubstantial difference test.

     2     Q.      And then finally on prosecution history estoppel, did

     3     you apply the legal standards on DDX-209?

     4     A.      I did, yes.

     5     Q.      Did you also consider the definition of a person of

     6     ordinary skill in the art or a POSA in this case?

     7     A.      I did.    And, first, I applied, and I, in my report, I

     8     included Amneal's description of a POSA, and I also examined

     9     Dr. Buckton's that was presented in his report.

    10                    And when I read them, they look very similar to

    11     each other.

    12                    And in Dr. Buckton's reply report he agreed, and

    13     I heard him testify that he agreed they were very similar to

    14     each other.    I agree they are very similar to each other.

    15     Q.      Did you meet the proposed definitions of a POSA as of

    16     March 2016?

    17     A.      I absolutely think I do, yes.

    18     Q.      And would any of your opinions change depending on

    19     which definition the Court adopts?

    20     A.      Not in any way.

    21     Q.      So, Dr. Gemeinhart, what did you ultimately conclude

    22     from your analysis?

    23     A.      To summarize my opinions, Silvergate has not proven

    24     infringement for any claim, any asserted claim, for any of

    25     the patents:
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     1                   The '008 patent, which are claims 3, 8, 9, and;

     2     10.

     3                   The '442 patent, which are claims 9, 10, 21, and

     4     29;

     5                   The '745 patent, which are 4, 7 and 10;

     6                   The '987 patent, which are claims 7, 20, 23, and

     7     30.

     8                   Amneal's single malic acid ingredient is not

     9     equivalent to the two citric acid and sodium citrate

    10     ingredients required in every asserted claim.

    11                   Silvergate is also preclude from asserting that

    12     Doctrine of Equivalents against Amneal's malic acid

    13     ingredient due to prosecution history estoppel.

    14     Q.      So let's take a quick look at the specific language

    15     of the claim limitations at issue.        Can you please tell us

    16     what those are for the '008 and '442 patents?

    17     A.      So for the '008 and the '442 claims, each of the

    18     asserted claims rely on independent claim.          They include the

    19     limitation of a buffer comprising about 1.82 milligrams per

    20     milliliter citric acid and about 0.15 milligrams per

    21     milliliter sodium citrate dihydrate.

    22     Q.      And then for the '745 and '987 patents, what are the

    23     claim limitations at issue?

    24     A.      Parallel to that, the citric acid and sodium

    25     citrate claim limitations, all of the asserted claims within
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     1     the '745 and '987 patents require a limitation in the

     2     independent claim of a buffer comprising about 0.8 to about

     3     3.5 milligrams per milliliter citric acid and about 0.1 to

     4     about 0.8 milligrams per milliliter sodium citrate.

     5     Q.      So, Dr. Gemeinhart, what is your understanding of

     6     what the claimed buffer requires?

     7     A.      Quite simply, the claimed buffer requires two

     8     specific ingredients: in a weak acid and a weak base

     9     specifically in these cases.       So literally it would be

    10     citric acid and sodium citrate, but a weak acid and a weak

    11     base.

    12     Q.      Does the patent, the shared patent specification,

    13     provide any guidance on this understanding?

    14     A.      Yes, they do.     There is a lot of description of the

    15     weak acids and weak bases to make up the buffers.

    16                   So in this case, there is a description of what

    17     comprises a buffer.      And in the initial aspect of the

    18     specification within the disclosure on a buffer, the buffer

    19     is described as comprising, first, citric acid; and that is

    20     the initial highlighted in yellow.

    21                   Later on, it describes that it could be

    22     something -- it could be citric acid and sodium citrate, and

    23     then later it goes down to describe it could comprise citric

    24     acid and sodium citrate dihydrate.

    25                   So in each of those locations, it describes it
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     1     as being something else, but clearly, based on the latter of

     2     those, it describes it as being a weak acid and a weak base.

     3     And based on the dihydrate, it is not just a weak acid and a

     4     weak base, but those are ingredients.         And that latter is

     5     clearly a solid ingredient because of the dihydrate.

     6                     And that is clearly described as being a solid

     7     ingredient that would be added.

     8     Q.      And how does this disclosure at PTX-1, Column 13,

     9     lines 30 to 42, how does it inform your understanding of the

    10     claimed buffer?

    11     A.      Again, it's very clear.       These ingredients that are

    12     being added are a weak acid and a weak base that are being

    13     added to that solution as solid ingredients, that are being

    14     added to that -- to form that buffer, to create the given

    15     conditions for that buffer.

    16     Q.      Were there any other disclosures that informed your

    17     understanding of the claims?

    18     A.      Yeah.    The disclosure describes a lot of different

    19     aspects of the buffer and gives several examples for how you

    20     can -- to enable this, the invention.

    21                     In this case, I'm highlighting Example E.

    22     Example E gives several, and this is actually six, different

    23     compositions for the enalapril maleate formulations.

    24                     Specifically, and what I'll highlight here, is

    25     that there are citric acid anhydrous and sodium citrate
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     1     anhydrous that are described, both of those being very

     2     specifically included as ingredients that are there based on

     3     the fact that they are described as anhydrous, which are

     4     clearly solid ingredients that are going to be added to

     5     create the buffers.

     6                   These two included are throughout each of the

     7     examples that are listed, A through E, basically every

     8     single example throughout the patent -- the specification.

     9     Q.      And what, if anything, would a POSA take from this

    10     disclosure in Column 37 in view of the claims?

    11     A.      Again, very clearly, the inventors, as they're

    12     describing it, are outlining the fact that they're

    13     describing a buffer system that includes a weak acid and a

    14     weak base ingredient that are being added to create the

    15     invention.

    16     Q.      Does the patent specification say anything about

    17     malic acid that is the accused equivalent in Amneal's ANDA

    18     product?

    19     A.      It does.    It includes it under a different section.

    20     Q.      I'm sorry.    Let me ask.     Does the patent

    21     specification say anything about buffering agents other than

    22     citric acid and sodium citrate?

    23     A.      It does.    That is actually what you have up here and

    24     what I have up here.

    25                   This is the list of additional buffers that are
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     1     within the specification.       And there is a long list there

     2     here of different buffers, many of whom that are included

     3     that cover a range of different conditions or that could be

     4     included within the specification, or within the

     5     formulation.

     6     Q.      And so for this disclosure, PTX-1 at Column 13, lines

     7     7 and 27, what, if anything, would a POSA take from this in

     8     view of what was claimed?

     9     A.      The inventors knew of many buffers that they could

    10     include within the invention.       And they chose to very

    11     narrowly select their buffer to be specifically citric acid

    12     and sodium citrate.

    13     Q.      So now does the specification say anything about

    14     malic acid?

    15     A.      Malic acid is included in a later section and that's

    16     what's shown here.

    17     Q.      What, if anything, would a POSA take from this

    18     disclosure?

    19     A.      Very simply, that the inventors clearly understood

    20     that malic acid existed and that they knew that they could

    21     have included it within their formulation.

    22     Q.      Dr. Gemeinhart, were you present during Dr. Buckton's

    23     background testimony on buffering and pH?

    24     A.      I was, yes.

    25     Q.      Do you have anything to add to that background?
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     1     A.      I do.    I think there's -- there are some things I

     2     could clarify and the way that it was described.

     3                     So, and I will start with some ideas that I

     4     think get across the idea of what happens when you first add

     5     a weak acid to a solution and we'll start with water.

     6                     I think it had been really clearly described and

     7     I will try not to belabor this too much.         I know we've spent

     8     a lot of time talking about acids and bases.

     9                     When you add a weak acid to a solution, there

    10     are protons or acid in solution.        We've established that

    11     pH is the measured logarithm of the number of protons that

    12     are in solution.     Add a pH of about seven where the water

    13     is, there will be some in solution.        But as you add that

    14     weak acid, you will drive down the number of or the pH, but

    15     you will increase the number of protons that are in

    16     solution.

    17                     Adding a weak acid will only drive down the pH

    18     and the addition of a small amount of weak acid will pretty

    19     rapidly drive down that pH depending on what the pKa of that

    20     weak acid is.

    21                     So it has one single thing that it can do.        It

    22     can donate that acid, that proton to the solution and it

    23     only has that one.      Its ability to do that is one

    24     directional and the more you add, the lower the pH will go.

    25                     The base, on the other hand, it does the
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     1     opposite thing.     You will start with water.       Again, pH seven

     2     approximately for water.       You will have a given number of H

     3     plus in solution, the proton.

     4                   As you add the base, the weak base, the number

     5     of protons in solution will be consumed.         The H plus will go

     6     away.    The pH will go up and it doesn't have the capability

     7     of doing anything else.      It only goes up.      Any small amount

     8     of that weak base, it immediately will go up.

     9                   You only have one direction which you can go as

    10     you add that weak base, so the protons are dissipated or

    11     consumed.    We've used different words to mean the same

    12     thing, but effectively, you lose protons from solution.

    13     Q.       How did this background relate to the claim citric

    14     acid ingredient at issue here?

    15     A.       Citric acid is, and it would do the same kind of

    16     thing that I described for a standard or generalized weak

    17     acid.    As you add that citric acid to a solution of water,

    18     there will be addition of protons or H plus into the

    19     solution and you will drive down the pH of the solution.

    20                   The amount of pH change will be proportional to

    21     the amount of acid you add.       So the only way you control it

    22     is by the amount of acid that you add and it will be very

    23     rapid.

    24                   Once you add a very small amount of the acid,

    25     you will very rapidly approach the pKa and then you will go
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     1     below that pKa very rapidly.       So that's the way that that is

     2     the weak acid works, is you do work at a pH that is

     3     typically around and below the pKa of the weak acid and it

     4     donates the acid to the solution.

     5     Q.        And can you explain how does citric acid decrease pH?

     6     A.        Yes.   So this is another way of showing the chemistry

     7     and Dr. Buckton and several others have shown the chemistry

     8     of what happened, and this is an alternate way, the way that

     9     I have typically seen the chemistry.

    10                           And I'll start in the upper left corner.

    11     I start with a citric acid as a solid.         The gray to me is

    12     designated as a solid.      It goes into solution as an

    13     ingredient.

    14                      As you add the citric acid, and it's a small

    15     amount, there will be an equilibrium that is set first at

    16     3.13 pKa equilibrium.

    17                      Now, I've grayed out the other equilibrium

    18     reactions that occur simply because when only add citric

    19     acid, that is the primary equilibrium, is that first

    20     equilibrium when you only add citric acid.

    21                      The others do occur and the way Dr. Buckton

    22     showed it was that you have multiple other things that might

    23     happen.    Any of those three carboxylic acids may ionize, and

    24     that's true, but the typical way of showing it, at least the

    25     way that I've typically shown it, is that all three of them
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     1     occur kind of independently at the different pH's.

     2                     So those two happen and that donation of the

     3     proton is shown at that equilibrium point and it's occurring

     4     very specifically with that weak acid at that point, and

     5     that's what a weak acid does and I think that's very clear

     6     in the way that a weak acid works.

     7     Q.      And now turning to sodium citrate, what happens in

     8     view of what you've described when sodium citrate is added

     9     to water?

    10     A.      So as I described for the generalized weak base, you

    11     take a little bit of that sodium citrate, you begin to add

    12     it to a solution.     You will begin to consume the acid that

    13     is in that water.     The pH will rise as the protons are

    14     consumed and the pH will go up.

    15                     So that weak acid has the capability upon

    16     addition to solution to increase the pH of the solution.

    17     Q.      And with respect to sodium citrate, how does it

    18     increase pH?

    19     A.      Okay.    So similar to the chemistry that I showed and

    20     we move over to the right side now and the upper side is

    21     that sodium citrate dihydrate.

    22                     So, and, I again designated the two waters are

    23     up there that's kind of giving me the idea that it's the

    24     dihydrate for the solid.       It dissolves in the solution.       The

    25     water goes away as it goes in dissolution.          The second
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     1     equilibrium is the salts dissociate away from the, from the

     2     sodium citrate, forming the tri-anion or tribasic citric.

     3                   If that base is put into solution by itself in

     4     water, it will form an equilibrium and consume acid with the

     5     water.   That primary equilibrium, if it's only water and

     6     sodium citrate, will be that 6.4 pKa.         It will maintain

     7     and it will only increase the pH as you add more sodium

     8     citrate.

     9                   So it will start at seven and go from seven to

    10     eight to nine, but there will be a little bit of that

    11     dianion that's formed as it consumes a little bit of the

    12     protons that are present.

    13                   I leave again off the lower end because if all

    14     you do is add sodium citrate to solution, those lower ends,

    15     because you're keeping it at the higher pH, that's a lower

    16     proportion event.     And, again, I'm focusing when you only

    17     add sodium citrate to solution in this case and that's the

    18     way that this specific ingredient works when you add it to

    19     water.

    20     Q.       Does the scientific literature, does it reflect its

    21     basic nature, sodium citrate?

    22     A.       Absolutely, it does.

    23     Q.       Let's pull up DTX-2087, please.       What is this

    24     exhibit?

    25     A.       This is the Handbook of Excipients.        It's a book.
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     1     Q.      And if we can flip to page 5 of the handbook, this

     2     document.    Is this the entry for sodium citrate dihydrate?

     3     A.      Yes, it is.

     4     Q.      And turning to the next page six under the heading

     5     typical properties, what does this describe about sodium

     6     citrate?

     7     A.      I will focus specifically on the very first line

     8     under typical properties, which is the acidity or alkalinity

     9     and in parentheses at the end it describes five percent

    10     aqueous solution, so if you make a five percent solid in

    11     water, you will obtain a pH of 7 to 9.         So basically, it's

    12     clearly showing that you'll end up with a basic solution

    13     when you add this excipient into solution of water and it's

    14     only that single excipient in the water.

    15     Q.      And we can now turn back to the slide.         And if you

    16     would tell us how the citric acid and sodium citrate

    17     ingredients work in combination.

    18     A.      So the combination and the way I refer to it at times

    19     is buffer pair, the combination of the two.          And I've

    20     already described how citric acid alone in the upper left

    21     corner and how sodium citrate in the upper right-hand corner

    22     each independently work when you dissolve them into

    23     solution.

    24                           Citric acid dissolves into solution and

    25     forms the citric acid in solution.        The sodium citrate
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     1     dihydrate will dissolve forming the citrate -- excuse me,

     2     the sodium citrate in solution then dissociating from the

     3     citrate.

     4                   What's different is if you add the two of them,

     5     you can control the proportion of the two in a way where you

     6     can create a pH that is between the two extremes.           So if you

     7     want to create a buffer that has any pH between the regions

     8     that you want to work, you can control that, and

     9     pharmaceutical scientists know this very well.          There are

    10     tables that you can go to and you know that you can get so

    11     many variants of one and so many variants of the other and

    12     mix them together.

    13                   And just kind of as an idea, if you take, and I

    14     will use molar instead of grams, half, or one mol of sodium

    15     citrate and one mol of citric acid, you will get a pH of

    16     approximately seven -- 4.76 right in the middle.

    17                   If you get something that is closer to the

    18     other, to the low end, you get three-quarters of one --

    19     three quarters of citric acid and one quarter of sodium

    20     citric, you'll end up closer to the 3.13, or the other way

    21     around.

    22                   It's a system that works that is designed, and

    23     how it works is you control it by putting both ingredients

    24     into a solution to achieve a known pH that is between the

    25     two situations.     It's not on the extreme.       It's in the
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     1     middle.    So you have great control of where you are going

     2     and you can control the buffer capacity by knowing exactly

     3     how much you have of both.

     4                    So you have control of multiple things at once.

     5     You just -- you don't have -- you have control by using

     6     both.

     7     Q.        So turning to the malic acid in Amneal's product,

     8     what happens to the pH when malic acid is dissolved in

     9     water?

    10     A.        So malic acid is a weak acid.      You take malic acid,

    11     and just like as I described with the generic acid, you take

    12     that malic acid, you put it into a solution, or into water.

    13     The pH of that water will very rapidly drop.          The pH will

    14     go from that neutral pH towards the pKa and then below the

    15     pKa, and whatever the amount you add, that will determine

    16     exactly what the pH will be.       And if you are adding an

    17     appreciable amount of the malic acid, it will probably be

    18     below the pKa.

    19     Q.        And how does malic acid alone work to create pKa?

    20     A.        So just like with the chemistry, if you add that

    21     single solid ingredient or single ingredient into a

    22     solution, that malic acid in the unionized form of dissolve

    23     into solution.     It has the capability only to donate the

    24     proton, the acid.

    25                          The pKa in this case is 3.4.       It will
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     1     undergo a bit of that equilibrium with its ion, with it's

     2     anion, and so there will be that equilibrium that because

     3     you've only added that one ingredient, the predominant

     4     species will be that unionized form unless you add something

     5     else to the solution that's going to change that

     6     equilibrium.       So adding just the acid, you only have the

     7     capability to donate an acid.

     8     Q.        So let's turn to your specific opinions on

     9     infringement.

    10                       Would you please summarize those for us?

    11     A.        So, and I'll start off with the very basic.

    12                       Amneal's ANDA product does not infringe under

    13     the Doctrine of Equivalents.

    14                       Dr. Buckton's infringement theory would vitiate

    15     the sodium citrate claim limitation.         It also contradicts

    16     the idea that it was a foreseeably narrowing claim.

    17                       Dr. Buckton's function-way-result analysis, it's

    18     flawed.    It's also insufficient to prove that they're in

    19     equivalence.

    20                       The evidence also shows no infringement under

    21     the function-way-result and insubstantial differences test.

    22     Q.        Let's start with the -- your first opinion.        What is

    23     the basis for your opinion on vitiation?

    24     A.        Okay.    So -- and for vitiation, every piece to a

    25     limitation needs to be important.        And when I read this,
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     1     it's very simple.     The buffer has to have a weak acid and a

     2     weak base.    And it lists that there is citric acid and

     3     sodium citrate dihydrate, a weak acid and a weak base.

     4                   In my opinion, and the way that it's presented,

     5     Dr. Buckton ignores the fact that there is a base ingredient

     6     that is present.     There clearly needs to be both of those

     7     two ingredients.

     8     Q.      Did you hear Dr. Buckton's testimony on the

     9     dissociation or equilibrium of malic acid in solution, it's

    10     a different species?

    11     A.      Oh, absolutely.     Yes, I did.

    12     Q.      Why is that not sufficient for infringement?

    13     A.      There's a few reasons.      And the very simplest is,

    14     anything is -- there is no real reason why you would need to

    15     write citric acid and sodium citrate dihydrate.

    16                   If you would write -- and I won't put out simple

    17     things, but you wouldn't need to be that descriptive.            Any

    18     acid or any -- and any acid that would be described could

    19     meet that idea of something that any weak acid that would

    20     dissociate would meet that limitation.

    21                   So the idea that something that would dissociate

    22     wouldn't fit the way that a POSA would think about something

    23     from this, the way that claim is written.          So I can't agree

    24     with that idea.

    25     Q.      And what is the basis for your opinion on foreseeably
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     1     narrow claiming here?

     2     A.        So, again, there are a number of buffers that are

     3     clearly described in there.

     4                    And also that are written in there as being

     5     single and multiple.

     6                    This is written in a way that is very, very

     7     specific.    It's just a POSA would look at this and know that

     8     it is very narrow.      Pretty simple.

     9     Q.        So let's turn to your second basis for

    10     noninfringement.

    11                    Can you explain your, or how Dr. Buckton's

    12     function-way-result articulation is flawed, as you said?

    13     A.        All right.   So when we think about the

    14     function-way-result and how it captures really any

    15     formulation is the way that I think of this.          If we go to

    16     the function, his function is that it adjusts and stabilizes

    17     the pH.

    18                    If you think about the limitations that are

    19     already present, there is clearly a limitation that is

    20     present wherein the pH of a formulation is less than about

    21     3.5.

    22                    So a function that adjusts and stabilizes the

    23     pH is already present as another limitation.          And my

    24     understanding is that would not be necessary.          Why would you

    25     write a limitation that -- or have a function for one
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     1     limitation that is already described by another limitation?

     2                   The way it works:      Neutralizes excess acid and

     3     base.   That is the definition of what happens, and that is

     4     really the definition of what pH is.         It's the concentration

     5     of acid and base.

     6                   So the neutralization is the control or the

     7     neutralization of acid and base.

     8                   So, again, the way is described by that other

     9     limitation, the result, pH adjustment and stability

    10     described by the pH of the formulation being less than about

    11     3.5.

    12                   So the function, way and the result, at least so

    13     far, really is described as being that one piece.

    14                   Now, the result does have the maintenance and

    15     chemically stable formulation.        But as came up already, that

    16     is already read into the wherein the formulation is stable

    17     at about 5 plus or minus 3 degrees for at least 12 months.

    18                   So although there is that second piece, it

    19     clearly is another claim limitation.         And as somebody who

    20     has -- is an inventor, I understand that you don't want to

    21     write claim limitations that are overlapping in ways.

    22                   But I think a POSA would look at it the same

    23     way.    You don't want to have limitations that have that

    24     overlap.

    25                   So it doesn't make sense to me.        It makes citric
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     1     acid and sodium citrate inconsequential.

     2     Q.       Now, Dr. Gemeinhart, assume for a moment that the

     3     way identified by Dr. Buckton is not simply a definition of

     4     stabilizing pH.

     5                      Do you then have any opinions on whether malic

     6     acid is equivalent here?

     7     A.       Okay.    And malic acid is a weak acid.      There -- if we

     8     look at the claim limitation, there is no way that malic

     9     acid can neutralize excess acid.

    10                      You put malic acid in a solution, it cannot

    11     neutralize excess acid.

    12                      And I have seen no evidence it says it could,

    13     so ...

    14     Q.       Do you have any other issues with Dr. Buckton's

    15     characterization of his function-way-results?

    16     A.       So the function-way-results, in reviewing

    17     information, I came across on this idea that, this document

    18     that describes a function that Silvergate represented to the

    19     Food and Drug Administration regarding the function of the

    20     citric acid and sodium citrate buffer.         Specifically for the

    21     Epaned commercial -- excuse me, the commercial embodiment of

    22     the patent claims.

    23     Q.       Now, Dr. Gemeinhart, just pausing right there.          Why

    24     would a POSA consider Silvergate's citizen petition to FDA

    25     to be relevant here?
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     1     A.      So Silvergate described to the FDA that these are

     2     true information about what they believe the citric acid and

     3     sodium citrate buffer does in the commercial embodiment of

     4     this patent.

     5                    So if citric acid and sodium citrate functions

     6     in this way, according to Silvergate, it's surprising to me

     7     that in this patent discussion, it's not something that is

     8     being discussed in the function-way-result analysis that is

     9     being discussed.

    10                    So as a scientist, I thought it was something

    11     that was important, that should be considered.

    12                    MR. SABA:   So let's take a look at what

    13     Silvergate told FDA in DTX-2159.

    14     BY MR. SABA:

    15     Q.      Can you describe that?

    16     A.      So, and I may leave off a word or two and I apologize

    17     for that.    But hopefully I'll get the most of them.

    18                    Epaned oral solution, 1 milligram per

    19     milliliter, contains the buffering agents citric acid and

    20     sodium citrate.     These buffering agents act together to keep

    21     Epaned (enalapril maleate) oral solution, 1 milligram per

    22     milliliter, in a stable pH band (for example, impacting

    23     shelf life and stability), and are thought to protect

    24     enalapril, after ingestion, from premature hydrolysis in the

    25     stomach's acidic environment.
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     1     Q.       How does this representation inform your opinions on

     2     infringement here?

     3     A.       Basically, that Silvergate believes that citric acid

     4     and sodium citrate has demonstrated or shown that citric

     5     acid and sodium citrate are thought to function and have an

     6     impact on how stable the system is or the -- in the stomach

     7     environment.

     8                     So that this function in the claim, and

     9     specifically in the claim limitation for the buffer, to have

    10     this activity.     And that should be considered in the

    11     function-way-results.

    12     Q.       And did you find anything else in Silvergate's

    13     petition to FDA that supports your opinions?

    14     A.       Yes.   Use of a critically defined buffer system, and

    15     citric acid and sodium citrate, to maintain the optimal pH

    16     of Epaned in intestinal fluids and maintain stability during

    17     its residence time is required to maintain the

    18     below-described pH and temperature-dependent degradation to

    19     enalaprilat.

    20                     Continuing a little bit later:

    21                     The oral solution must therefore maintain pH

    22     stability during storage, and after oral administration and

    23     during -- and duration of exposure in the gastrointestinal

    24     tract.

    25     Q.       And how do these representations, which are DTX-2159
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     1     at pages 5 to 6, how do these inform your opinions on

     2     infringement?

     3     A.      So, again, it's -- I think it is very clear that the

     4     idea that the sodium citrate and citric acid buffer should

     5     be considered in the function-way-result and how they -- how

     6     the function-way-result is analyzed, and that should not be

     7     ignored when you are looking at the function-way-result

     8     test.

     9     Q.      Dr. Gemeinhart, how does pH stabilization in the

    10     gastrointestinal tract differ from in the bottle, in

    11     solution?

    12     A.      The pH of a system does change in storage, in a

    13     bottle, in vitro.

    14                   It usually is small amounts.       It depends on how

    15     quickly things degrade.

    16                   Once we take something orally, when it gets to

    17     the stomach, there can be a very rapid change, and the pH

    18     in your stomach can be as low as 1.        As it moves through --

    19     and the temperature om your stomach can be typically around

    20     37 degrees, from storage at room temperature, which depends,

    21     but usually is around 25 degrees, but the pH in your

    22     intestines can go up to 8.

    23                   And the degradation in those different pHs and

    24     how quickly it changes, there can be a significant amount of

    25     degradation of this.
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     1                   And, clearly, Silvergate was concerned that

     2     there could be degradation of enalapril to enalaprilat from

     3     the digestive system.      So that was something they were

     4     concerned with.

     5     Q.       Now, how does this pH stabilization in the

     6     gastrointestinal tract relate to your opinion on

     7     infringement by analysis?

     8     A.       So there is no evidence that it happens, and it

     9     hasn't really even been considered.        So I think it should be

    10     considered.

    11     Q.       Let's turn now to your third basis you provided for

    12     no infringement.

    13                   And tell us, what is your opinion on the proper

    14     description of function-way-results here?

    15     A.       So a proper function-way-results of the citric acid

    16     and sodium citrate in Silvergate's claimed formulation,

    17     first, you have to look at it on a limitation-by-limitation

    18     basis.   So I'll start with citric acid.

    19                   Citric acid adjusts, stabilizes the pH in the

    20     environment of enalapril in solution and beyond.

    21                   The way that it works is it is an acid

    22     ingredient that immediately donates protons and participates

    23     in a long-term equilibrium.

    24                   The result is it helps to maintain the pH in

    25     solution and beyond.
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     1                    Now, the second ingredient or the second

     2     limitation, it adjusts and stabilizes the pH in the

     3     environment of enalapril in solution and beyond.

     4                    There is similarity between them, but they each

     5     participate.

     6                    The way that sodium citrate works is it's a

     7     base ingredient that immediately consumes protons and

     8     participates in a long-term equilibrium.         Consumes the

     9     protons.    Very different from the way that citric acid

    10     works.

    11                    Now, the result is it helps to maintain pH in

    12     solution and beyond.

    13                    So I think that is the proper way to do this

    14     function-way-result on a limitation-by-limitation basis.

    15     Q.       Dr. Gemeinhart, what are you referring to in your

    16     function and result where you say "in solution and beyond"?

    17     A.       The solution is that storage idea.        The in vitro

    18     prior to administration.

    19                    The beyond is after administration.        Thinking

    20     about the citizen's petition idea that Silvergate has put

    21     out there.

    22     Q.       So aside from your opinions that you have already

    23     covered with respect to after administration, can you

    24     explain why there is no equivalents under your analysis of

    25     function-way-result?
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     1     A.      I tend to be a visual person, so I think this really

     2     gets it across.

     3                    The citric acid and sodium citrate in the claim,

     4     there are two things.      There is a citric acid ingredient

     5     that dissolves in solution and form -- that forms citric

     6     acid when it is put in.

     7                    Sodium citrate goes in, is there upon addition.

     8                    Two ingredients there.

     9                    Malic acid, on the other side, malic acid you

    10     put it in, there is an acid.       Malic acid cannot consume that

    11     acid when it's added.      So there is only one ingredient.        It

    12     only does one of the ways.

    13                    So very simply, malic acid does not consume

    14     protons like sodium citrate.

    15     Q.      Are there any other differences that support your

    16     opinions on infringement?

    17     A.      Yes.   There are a number of differences between

    18     citric acid and malic acid.       There are similarities and a

    19     chemist, a pharmaceutical scientist would look at these and

    20     say, they're kind of similar to each other.

    21                          There are things that you look at them,

    22     but looking at them immediately jumps out and putting them

    23     on top of each other, the fact that there are these

    24     different species, and I've highlighted the fact that when

    25     you add these and you think about how they work, the fact
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     1     that that four species of citric acid is present upon

     2     addition, that is an important piece that's meaningful.            The

     3     fact that that four pKa is relevant even if it's there for

     4     only a period.

     5                   So those are there.      When you consider that

     6     lowest pKa, the proportion of the unionized and ionized

     7     species in that lowest equilibrium are different between the

     8     malic acid and the citric acid.        That hasn't really been

     9     discussed much, but that is something that meaningful when

    10     consider that lowest, that lowest region.

    11                   So we look at these, and there are a number of

    12     different things that are different between these two

    13     molecules.    They're meaningful throughout the differences

    14     between these.

    15     Q.      And before we turn to the file history, what is

    16     your -- what are your bases for your opinions of no

    17     infringement under the insubstantial differences test?

    18     A.      So everything that I discussed for the function, way,

    19     result test is really a description of the fact that there

    20     is substantial differences between malic acid and the

    21     combination of citric acid and sodium citrate.          So there

    22     just clearly are differences and that function, way, result

    23     test summarizes them very well.

    24                   A POSA, and I described this in the tutorial

    25     where I described the fact of a buffer pair and I described
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     1     it using that wording, that a citric acid with sodium

     2     citrate mixed together, they can form a specific pH and hold

     3     it there with a buffer capacity.        That's something any POSA

     4     would know.    That is a substantial difference than just

     5     adding a malic acid single ingredient obtaining what is

     6     probably going to be a very low pH when you add a large

     7     amount of, a relative amount of malic acid.

     8                   There also has been no real evidence of anything

     9     about buffering capacity and I think that's a substantial

    10     difference that would be noted if it were discussed.

    11     Q.      Let's --

    12                   THE COURT:    Mr. Saba, if you are ready to move

    13     onto the prosecution history, we're going to have to wait

    14     for that until tomorrow.

    15                   Is that where you're headed?

    16                   MR. SABA:    That is exactly where I'm headed.

    17                   THE COURT:    All right.    Let's bring the public

    18     back in and we'll finish up for tonight.

    19                   (End of sealed portion.)

    20

    21            I hereby certify the foregoing is a true and accurate
           transcript from my stenographic notes in the proceeding.
    22

    23                                     /s/ Brian P. Gaffigan
                                          Official Court Reporter
    24                                       U.S. District Court

    25
